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   9                        UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
  10
     SERENA FLEITES and JANE DOE                       CASE NO. 2:21-cv-4920
  11 NOS. 1 through 33,
                                                       COMPLAINT
  12                 Plaintiffs,
  13                                                       1. VIOLATIONS OF FEDERAL
                                v.
                                                              SEX TRAFFICKING LAWS
  14 MINDGEEK S.A.R.L. a foreign entity;                      [18 U.S.C. §§ 1591, 1594,
     MG FREESITES, LTD., a foreign                            1595]
  15 entity; MINDGEEK USA                                  2. RECEIPT, TRANSPORT,
     INCORPORATED, a Delaware                                 AND DISTRIBUTION OF
  16 corporation; MG PREMIUM LTD, a
     foreign entity; RK HOLDINGS USA                          CHILD PORNOGRAPHY
  17 INC., a Florida corporation, MG                          [18 U.S.C. §§ 2252, 2252A,
     GLOBAL ENTERTAINMENT INC., a                             2255]
  18 Delaware corporation,                                 3. RACKETEERING
     TRAFFICJUNKY INC., a foreign                             [18 U.S.C. §§ 1962]
  19 entity; BERND BERGMAIR, a foreign                     4. PUBLIC DISCLOSURE OF
     individual; FERAS ANTOON, a
  20 foreign individual; DAVID                                PRIVATE FACTS
     TASSILLO, a foreign individual;                       5. INTRUSION INTO PRIVATE
  21 COREY URMAN, a foreign individual;                       AFFAIRS
     VISA INC., a Delaware corporation;
  22 COLBECK CAPITAL DOES 1-10; and                        6. PLACING PLAINTIFFS IN
     BERGMAIR DOES 1-10                                       “FALSE LIGHT”
  23
                                                           7. COMMON LAW
  24                Defendants.                               MISAPPROPRIATION OF
                                                              LIKENESS
  25
                                                           8. STATUTORY
  26                                                          MISAPPROPRIATION OF
                                                              LIKENESS
  27                                                          [California Civil Code § 3344]
  28                                                       9. DISTRIBUTION OF

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   1                                                   PRIVATE SEXUALLY
                                                       EXPLICIT MATERIALS
   2                                                   [California Civil Code §
                                                       1708.85]
   3                                               10. NEGLIGENCE
   4                                               11. UNJUST ENRICHMENT
                                                   12. UNFAIR COMPETITION
   5                                                   [California Business &
   6                                                   Professions Code §§ 17200,
                                                       17500]
   7                                               13. CIVIL CONSPIRACY
   8                                           DEMAND FOR JURY TRIAL
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   1        Plaintiffs Serena Fleites and Jane Doe Nos. 1 through 33 (collectively,
   2 “plaintiffs”), through their undersigned counsel, for their complaint against
   3 MindGeek S.a.r.l.; MG Freesites, Ltd. d/b/a Pornhub (“Pornhub”); MindGeek USA
   4 Incorporated (“MindGeek USA”); MG Premium Ltd.; RK Holdings USA Inc.; MG
   5 Global Entertainment Inc.; TrafficJunky Inc. d/b/a Trafficjunky.com (collectively
   6 “MindGeek”); Bernd Bergmair; Feras Antoon; David Tassillo; Corey Urman; Bernd
   7 Bergmair Does 1-10; and Colbeck Capital Management LLC Does 1-10 (MindGeek
   8 together with Bergmair, Antoon, Tassilllo, and Urman, Bergmair Does1-10, and
   9 Colbeck Capital Does 1-10, the “MindGeek Defendants”); and Visa Inc. (“Visa”)
  10 (collectively, “defendants”) for sex trafficking in violation of 18 U.S.C. §§ 1591 and
  11 1595, for receipt, transport, and possession of child pornography in violation of 18
  12 U.S.C. §§ 2252, 2252A, and 2255, racketeering in violation of 18 U.S.C. § 1962, and
  13 state statutory and common law violations, allege as follows:
  14                                   INTRODUCTION
  15        1.     MindGeek is the most dominant online pornography company in the
  16 world. It is also one of the largest human trafficking ventures in the world. And it
  17 is likely the largest non-regulatory repository of child pornography in North America
  18 and well beyond.
  19        2.     This is a case about rape, not pornography. It is a case about the rape
  20 and sexual exploitation of children.    It is a case about the rape and sexual
  21 exploitation of men and women. And it is a case about each of these defendants
  22 knowingly and intentionally electing to capitalize and profit from the horrendous
  23 exploitation and abuse of tens of thousands of other human beings so they could
  24 make more than the enormous sums of money they would have otherwise made
  25 anyway.
  26        3.     Mindgeek is a classic criminal enterprise run, according to those who
  27 know it best, “just like the Sopranos.”   The “bosses” at the head of this criminal
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   1 enterprise are Mindgeek CEO Feras Antoon and financier Berg Bergmair,
   2 representing a group of uber-wealthy owners of the company.       These owners, the
   3 “over-bosses” of the enterprise, are unknown to the public and even to Antoon
   4 because they do not want to be publicly associated, or even risk being publicly
   5 associated, with the criminal enterprise they fund and from which they profit.
   6 Indeed, until recently Bergmair had no identifiable public identity let alone
   7 identifiable connection to MindGeek.     Instead, he literally secreted himself from the
   8 world, hiding behind a false professional identity, an extensively scrubbed internet
   9 fingerprint, and extreme rules of secrecy.
  10        4.     Antoon and his Montreal-based MindGeek “crew,” dubbed internally
  11 the “Bro-Club,” likewise take extraordinary measures to keep their identities and
  12 activities unknown. Like Bergmair, they assume fake identities, expending
  13 considerable resources to scrubbing as much of their online fingerprint as possible,
  14 and insist on extreme secrecy and security measures in MindGeek’s business
  15 dealings even with respect to other MindGeek employees.
  16        5.     The reason for this extreme aversion to visibility and scrutiny is because
  17 the most powerful online pornography company in the world was built and sustained
  18 in material parts on child pornography, rape, and human trafficking. In the arms
  19 race to be the number one result in the Google search engine for porn, the defendants
  20 knew it would be a huge advantage to have more content than anyone else.        In the
  21 science of Search Engine Optimization, content is king and the unrestricted
  22 accumulation of content is a driving factor in determining which website leads in
  23 Google search results.
  24        6.     The defendants embraced a business model in which they not only
  25 allowed users to populate their platform with virtually any type of pornographic
  26 content, they would carefully analyze those users and others who were drawn to such
  27 content to induce them to load more, watch more, live more on the Mindgeek
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   1 platform. In the course of doing so, these defendants developed a detailed
   2 understanding of all the content on their platform, including non-consensual content,
   3 and nonetheless elected to monetize that content.
   4         7.    In doing so, the defendants succeeded in creating a bustling marketplace
   5 for child pornography, rape videos, trafficked videos, and every other form of non-
   6 consensual content.       They intentionally elected to not employ any effective
   7 monitoring of what was being uploaded, or process for removing content that was
   8 exploitive and illegal.     To the contrary, in the rare instance where the defendants
   9 were forced to remove content from their platform, whistleblowers have confirmed
  10 that they subsequently would reupload the content to their platform.
  11         8.    Not only did these defendants allow users to populate MindGeek’s
  12 platform with non-consensual content, and restore the non-consensual content of
  13 those users when removed, they also acquired and populated the MindGeek platform
  14 with their own non-consensual content.       The MindGeek defendants frequently
  15 purchased in bulk trafficked content from known trafficking areas such as Eastern
  16 Europe, Asia, and South America.        In doing so, they used third-parties to upload
  17 that content in a way that made it look like user uploaded content.     In executing this
  18 scheme, MindGeek used its byzantine international corporate structure of hundreds
  19 of sham shell corporation to mask the process and launder the payments.
  20         9.    Put simply, a central element of the business plan that the MindGeek
  21 used to become the dominant online pornography company in the world was the
  22 maximum use of non-consensual content.          That business plan worked.    And the
  23 Mindgeek defendants got rich.       Also knowingly profiting along with them, were
  24 major American credit companies and banks, including in particular here, defendant
  25 Visa, who was uniquely suited to stop this exploitation but chose instead to
  26 participate in the profiteering.
  27         10.   Left devastated were the thousands of human being who were
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   1 victimized not simply by their original abuser, but then again, and again, and again
   2 by MindGeek’s monetization of that exploitation.        Plaintiffs in this case are thirty-
   3 four such human beings victimized first by their original abuser, and then repeatedly
   4 by the defendants in this case.
   5                                         PARTIES
   6 Plaintiffs
   7         11.    Plaintiff Serena Fleites is an individual who is now at the age of
   8 majority.     As alleged herein, Ms. Fleites is a victim of child sex trafficking. At all
   9 relevant times, Ms. Fleites was a resident of California.
  10         12.    Jane Doe No. 1 is an individual who is now at the age of majority. As
  11 alleged herein, Jane Doe No. 1 is a victim of child sex trafficking. Jane Doe No. 1
  12 currently resides in California within this judicial district.   The recorded sexual
  13 assaults described herein took place in California, Maryland, Pennsylvania, Florida,
  14 and New York.
  15         13.    Jane Doe No. 2 is an individual who is now at the age of majority. As
  16 alleged herein, Jane Doe No. 2 is a victim of child sex trafficking. At all relevant
  17 times, Jane Doe No. 2 was a citizen of the United Kingdom.
  18         14.    Jane Doe No. 3 is an individual who is now at the age of majority. As
  19 alleged herein, Jane Doe No. 3 is a victim of child sex trafficking. At all relevant
  20 times, Jane Doe No. 3 was a resident of Colorado.
  21         15.    Jane Doe No. 4 is an individual who is now at the age of majority. As
  22 alleged herein, Jane Doe No. 4 is a victim of child sex trafficking. At all relevant
  23 times, Jane Doe No. 4 was a resident of California.
  24         16.    Jane Doe No. 5 is an individual who is now at the age of majority. As
  25 alleged herein, Jane Doe No. 5 is a victim of child sex trafficking. At all relevant
  26 times, Jane Doe No. 5 was a resident of Rhode Island.
  27         17.    Jane Doe No. 6 is an individual who is now at the age of majority. As
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   1 alleged herein, Jane Doe No. 6 is a victim of child sex trafficking. At all relevant
   2 times, Jane Doe No. 6 was a citizen of the United Kingdom.
   3        18.    Jane Doe No. 7 is an individual who is now at the age of majority. As
   4 alleged herein, Jane Doe No. 7 is a victim of child sex trafficking. At all relevant
   5 times, Jane Doe No. 7 was a resident of Missouri.
   6        19.    Jane Doe No. 8 is an individual who is now at the age of majority. As
   7 alleged herein, Jane Doe No. 8 is a victim of child sex trafficking. At all relevant
   8 times, Jane Doe No. 8 was a citizen of Colombia.
   9        20.    Jane Doe No. 9 is an individual who is now at the age of majority. As
  10 alleged herein, Jane Doe No. 9 is a victim of child sex trafficking. At all relevant
  11 times, Jane Doe No. 9 was a citizen of Colombia.
  12        21.    Jane Doe No. 10 is an individual who is now at the age of majority. As
  13 alleged herein, Jane Doe No. 10 is a victim of child sex trafficking. At all relevant
  14 times, Jane Doe No. 10 was a citizen of Thailand.
  15        22.    Jane Doe No. 11 is an individual who is now at the age of majority. As
  16 alleged herein, Jane Doe No. 11 is a victim of child sex trafficking. At all relevant
  17 times, Jane Doe No. 11 was a citizen of Thailand.
  18        23.    Jane Doe No. 12 is an individual who is now at the age of majority. As
  19 alleged herein, Jane Doe No. 12 is a victim of child sex trafficking. At all relevant
  20 times, Jane Doe No. 12 was a citizen of Thailand.
  21        24.    Jane Doe No. 13 is an individual who is now at the age of majority. As
  22 alleged herein, Jane Doe No. 13 is a victim of child sex trafficking. At all relevant
  23 times, Jane Doe No. 13 was a citizen of Thailand.
  24        25.    Jane Doe No. 14 is a victim of sex trafficking. At all relevant times,
  25 Jane Doe No. 14 was a citizen of Canada.
  26        26.    Jane Doe No. 15 is a victim of sex trafficking. At all relevant times,
  27 Jane Doe No. 15 was a resident of California.
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   1         27.    Jane Doe No. 16 is a victim of sex trafficking. At all relevant times,
   2 Jane Doe No. 16 was a resident of Ohio.
   3         28.    Jane Doe No. 17 is a victim of sex trafficking. At all relevant times,
   4 Jane Doe No. 17 was a resident of Arizona.       Jane Doe No. 17 currently resides in
   5 California within this judicial district.
   6         29.    Jane Doe No. 18 is a victim of sex trafficking. At all relevant times,
   7 Jane Doe No. 18 was a resident of Nevada.
   8         30.    Jane Doe No. 19 is a victim of sex trafficking. At all relevant times,
   9 Jane Doe No. 19 was a resident of California. Jane Doe No. 19 currently resides in
  10 California within this judicial district.
  11         31.    Jane Doe No. 20 is a victim of sex trafficking. At all relevant times,
  12 Jane Doe No. 20 was a resident of Nevada.
  13         32.    Jane Doe No. 21 is a victim of sex trafficking. At all relevant times,
  14 Jane Doe No. 21 was a resident of Nevada.
  15         33.    Jane Doe No. 22 is a victim of sex trafficking. At all relevant times,
  16 Jane Doe No. 22 was a resident of Utah.
  17         34.    Jane Doe No. 23 is a victim of sex trafficking. At all relevant times,
  18 Jane Doe No. 23 was a citizen of Thailand.
  19         35.    Jane Doe No. 24 is a victim of sex trafficking. At all relevant times,
  20 Jane Doe No. 24 was a citizen of Thailand.
  21         36.    Jane Doe No. 25 is a victim of sex trafficking. At all relevant times,
  22 Jane Doe No. 25 was a citizen of Thailand.
  23         37.    Jane Doe No. 26 is a victim of sex trafficking. At all relevant times,
  24 Jane Doe No. 26 was a resident of Illinois.
  25         38.    Jane Doe No. 27 is a victim of sex trafficking. At all relevant times,
  26 Jane Doe No. 27 was a citizen of the United Kingdom.
  27         39.    Jane Doe No. 28 is a victim of sex trafficking. At all relevant times,
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   1 Jane Doe No. 28 was a citizen of the United Kingdom.
   2         40.   Jane Doe No. 29 is a victim of sex trafficking. At all relevant times,
   3 Jane Doe No. 29 was a resident of North Carolina.
   4         41.   Jane Doe No. 30 is a victim of sex trafficking. At all relevant times,
   5 Jane Doe No. 30 was a resident of Texas.
   6         42.   Jane Doe No. 31 is a victim of sex trafficking. At all relevant times,
   7 Jane Doe No. 31 was a resident of Oklahoma.
   8         43.   Jane Doe No. 32 is a victim of sex trafficking. At all relevant times,
   9 Jane Doe No. 32 was a citizen of Oklahoma.
  10         44.   Jane Doe. No. 33 is a victim of sex trafficking. At all relevant times,
  11 Jane Doe No. 33 was a citizen of Oklahoma.
  12 Defendants
  13         45.   Defendant MindGeek S.a.r.l. is a foreign entity organized and existing
  14 under the laws of Luxembourg. MindGeek S.A.R.L. conducts business in the
  15 United States, including in this District.    MindGeek S.a.r.l., formerly known as
  16 Manwin owns and operates over 100 pornographic websites, production companies,
  17 and brands including Pornhub, RedTube, Tube8, YouPorn, PornIQ, gaytube,
  18 Thumbzilla, Peeperz, PornMD, Xtube, Brazzers, Babes.com, Reality Kings, Digital
  19 Playground, Twistys, Men.com, Mofos, MyDirtyHobby, SexTube, and Webcams.
  20 MindGeek also manages websites including Wicked Pictures, lesbea.com, and
  21 Playboy. MindGeek S.a.r.l. owns and/or controls the majority of the pornography
  22 on the Internet, much of which it distributes for free, to any person with a web
  23 connection, regardless of age.     Although incorporated in Luxembourg, MindGeek
  24 S.a.r.l. operates out of Montreal, Canada, and has satellite offices in, among other
  25 places, Los Angeles, California.
  26         46.   Defendant MG Freesites, Ltd. (“MG Freesites”) (d/b/a Pornhub) is a
  27 foreign company incorporated in the Republic of Cyprus with a principal place of
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   1 business at 195-197 Old Nicosia-Liamassol Road, Block 1 Dali Industrial Zone,
   2 Cyprus, 2540. MG Freesites conducts business in the United States, including in
   3 this District.    MG Freesites is a wholly owned subsidiary of MindGeek S.a.r.l.
   4 MG Freesites, Ltd. owns, operates, and/or manages one or several of the
   5 pornographic websites owned by MindGeek, including Pornhub, and is controlled
   6 and operated by directors, officers, and employees working in MindGeek’s offices in
   7 the United States and Canada.      MG Freesites’ servers containing its redundant
   8 library of pornographic content are located in Waltham, Massachusetts as well as
   9 elsewhere in the United States and the world.
  10         47.      Defendant MindGeek USA Incorporated (“MindGeek USA”) is a
  11 corporation incorporated in the state of Delaware, with its principal place of business
  12 of 21800 Oxnard Street, Suite 150, Woodland Hills, California.      MindGeek USA is
  13 a wholly owned subsidiary of MindGeek S.a.r.l., either directly or through
  14 intermediary companies also under the control of MindGeek S.a.r.l.
  15         48.      Defendant MG Premium Ltd. (“MG Premium”) is a foreign company
  16 incorporated in the Republic of Cyprus with a principal place of business at 195-197
  17 Old Nicosia-Liamassol Road, Block 1 Dali Industrial Zone, Cyprus, 2540,
  18 conducting business throughout the United States, including within this District.
  19 MG Premium is a wholly owned subsidiary of MindGeek S.a.r.l., either directly or
  20 through intermediary companies also under the control of MindGeek S.a.r.l.
  21         49.      Defendant RK Holdings USA Inc. (“RK Holdings”) is a corporation
  22 incorporated in the state of Florida, with its principal place of business at 1094 South
  23 Ocean Boulevard, Palm Beach, Florida, conducting business throughout the United
  24 States, including within this District.   RK Holdings is a wholly owned subsidiary of
  25 MindGeek S.a.r.l., either directly or through intermediary companies also under the
  26 control of MindGeek S.a.r.l.
  27         50.      Defendant MG Global Entertainment Inc. (“MG Global Entertainment”)
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   1 is a corporation incorporated in the state of Delaware, with its principal place of
   2 business of 21800 Oxnard Street, Suite 150, Woodland Hills, California.         MG
   3 Global Entertainment is a wholly owned subsidiary of MindGeek S.a.r.l., either
   4 directly or through intermediary companies also under the control of MindGeek
   5 S.a.r.l.
   6         51.      Defendant Trafficjunky Inc. (d/b/a Trafficjunky.com) is a company
   7 organized and existing under the laws of Canada with a principal place of business in
   8 Montreal, though it conducts business throughout the United States, including within
   9 this District.    Trafficjunky Inc. is a wholly owned subsidiary of MindGeek S.a.r.l.,
  10 either directly or through intermediary companies also under the control of
  11 MindGeek S.a.r.l.
  12         52.      Defendant Bernd Bergmair (also known as Bernard Bergemar and
  13 Bernard Bergemair) is a resident of Hong Kong, China and is the majority owner of
  14 MindGeek.
  15         53.      Defendant Feras Antoon is a resident of Canada and is the co-owner and
  16 CEO of MindGeek.
  17         54.      Defendant David Tassillo is a resident of Canada and Chief Operating
  18 Officer of MindGeek.
  19         55.      Defendant Corey Urman is a resident of Canada and Vice President,
  20 Product Management, Video Sharing Platform of MindGeek.
  21         56.      Defendant Bernd Bergmair (“Bergmair”) Doe(s) 1-10, are investors
  22 with Bergmair whose identities are presently unknown to plaintiffs, who financed,
  23 directed, participated in, and otherwise facilitated the MindGeek enterprises’ illegal
  24 activities set forth herein.
  25         57.      Defendant Colbeck Capital Management LLC (“Colbeck Capital”)
  26 Doe(s) 1-10, are investors in Colbeck Capital whose identities are presently unknown
  27 to plaintiffs, financed, directed, participated in, and otherwise facilitated the
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   1 MindGeek enterprises’ illegal activities set forth herein.
   2         58.   Defendant Visa Inc. (“Visa”) is a corporation incorporated in the state of
   3 Delaware with a principal place of business at P.O. Box 8999, San Francisco,
   4 California.   Visa recognized MindGeek as an authorized merchant and processed
   5 payment to its websites including but not limited to Pornhub.
   6         59.   As set forth herein, MindGeek has incorporated dozens of subsidiaries
   7 and sister companies around the world for the purpose of avoiding liabilities and to
   8 hide the identity of the entities and individuals behind its corporate actions.
   9 Consistent with this objective, MindGeek S.a.r.l, and all other MindGeek entities
  10 operate as a single business enterprise solely dedicated to producing, distributing,
  11 and monetizing pornography on the Internet.       In doing all acts alleged herein, and as
  12 a business generally, MindGeek S.a.r.l., MG Freesites, Ltd., MindGeek USA, MG
  13 Premium, RK Holdings, MG Global Entertainment, and TrafficJunky Inc. and all of
  14 their subsidiary and sister companies were and are alter egos of one another.
  15         60.   In particular, the MindGeek Defendants operate as a single business
  16 entity by, among other things, (a) commingling their funds and other assets, failing to
  17 segregate funds between them, and diverting corporate funds and assets without
  18 authorization for noncorporate uses; (b) treating each other’s assets as their own; (c)
  19 issuing shares of one another to themselves and third parties haphazardly and without
  20 authority; (d) holding themselves out as being personally liable for the debts of each
  21 other; (e) failing to maintain minutes and corporate records, and confusing the
  22 records of the separate entities; (f) using the same business locations and employing
  23 the same employees; (g) failing to adequately capitalize the entities; (h) using each
  24 other as a conduit for a single venture of themselves; (i) failing to maintain arm’s
  25 length relationships among themselves; and (j) diverting assets without consideration
  26 from/to one another to the detriment of creditors, including Plaintiffs.   Recognition
  27 of the privilege of separate existences between the MindGeek Defendants would
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   1 promote injustice, unfairness, and fraud.     Any separateness is to be disregarded.
   2 As such, the MindGeek Defendants are jointly and severally liable in this action as
   3 alter egos.
   4         61.     In doing all things alleged herein, the MindGeek Defendants were
   5 agents, servants, representatives, partners, joint venturers, affiliates, parents,
   6 subsidiaries, and/or employees of each other in the acts and/or omissions herein
   7 alleged.      The MindGeek Defendants were acting within the course and scope of
   8 their authority as such agents, servants, representatives, partners, joint venturers,
   9 affiliates, parents, subsidiaries, and/or employees and with the permission,
  10 authorization, consent, and ratification of each other.
  11                              JURISDICTION AND VENUE
  12         62.     This action arises under the Trafficking Victims Protection Act
  13 (“TVPA”), 18 U.S.C. §§ 1589-1595, the Racketeer Influenced and Corrupt
  14 Organizations Act (“RICO), 18 U.S.C. §§ 1961-1968, federal child pornography and
  15 sexual exploitation laws, 18 U.S.C. §§ 2252A, 2255, and state statutes and common
  16 laws.
  17         63.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
  18 and has supplemental jurisdiction over pendent state-law claims under 28 U.S.C. §
  19 1367. This Court has personal jurisdiction over defendants pursuant to, inter alia,
  20 18 U.S.C. § 1965 because each defendant transacts business on a systematic and
  21 continuous basis in the United States and this District, and/or has engaged in tortious
  22 misconduct here in violation of U.S. law, Rule 4(k)(2) of the Federal Rules of Civil
  23 Procedure which provides a federal forum for claims over the foreign defendants,
  24 and under the California long-arm statute, Cal. Civ. Proc. § 410.10, because each
  25 defendant, directly and through agents, transacts business within the state; committed
  26 tortious acts and omissions within the state; committed tortious injury in the state
  27 caused by an act or omission outside the state; regularly does business, engages in
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   1 persistent course of conduct, and derives substantial revenue from services rendered
   2 in the state; owns, uses, and possesses real property within the state; or is registered
   3 to do business in and has consented to personal jurisdiction in this state.
   4         64.    Among other things, defendants (i) directed their activities at United
   5 States citizens and California residents, (ii) derived benefit from United States
   6 citizens’ and California residents’ activities, (iii) created a substantial connection
   7 with the United States and the state of California, (iv) engaged in significant
   8 activities in the United States, including within California, (v) created continuing
   9 contractual obligations between MindGeek and United States entities and citizens,
  10 including California citizens, and (vi) caused foreseeable harm to plaintiffs in this
  11 country, state, and district.
  12         65.    Defendants have offices throughout the United States, including in this
  13 State and in this District and conduct business directly related to the tubesites at issue
  14 in this case both in this District and throughout the United States.    Specifically,
  15 MindGeek USA maintains an established place of business at 21800 Oxnard Street,
  16 Suite 150, Woodland Hills, California 91367.        Defendant Visa’s principal place of
  17 business is located at P.O. Box 8999, San Francisco, California.
  18         66.    Moreover, the MindGeek Defendants conduct business in this country
  19 and state through a network of shell entities which are registered to do business in the
  20 United States and California, conduct business in this country and state, committed
  21 tortious acts in this country and state, and committed tortious acts outside the country
  22 and state that caused harm in the United States, California and this District.      These
  23 putative shell entities, agents, and alter egos, include, but are not limited to,
  24 California-based entities MG Billing U.S. Corp, Pornhub.com, MG Freesites Ltd,
  25 MG DP Corp., MindGeek LLC, MG Holdings Ltd, and U.S. based entities Probiller
  26 Inc., MG Processing Corp., RK Holdings USA Inc., MG Global Entertainment Inc.,
  27 and MG Billings U.S., Defendants MindGeek S.a.r.l., MG Freesites, Ltd., MindGeek
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   1 USA, and TrafficJunky Inc.
   2         67.    The illegal materials that MindGeek Defendants and its agents and alter
   3 egos recruit, fund, produce, modify, disseminate, advertise, and monetize are created
   4 in the United States, including in among other locations this state, uploaded in this
   5 country and state, and stored on servers in the United States.
   6         68.    Furthermore, MindGeek derives substantial profits from U.S-based
   7 operations, including from California-based users.      MindGeek’s tubesites are some
   8 of the most trafficked websites on the internet, generating an enormous amount of
   9 revenue—over $460 million in 2018. More recent estimates suggest that figure is
  10 low, as the online porn industry as a whole—which is dominated by MindGeek—
  11 may generate as much as $97 billion per year.       By comparison, Netflix generates
  12 approximately $11.7 billion in annual revenue.       In 2020, MindGeek’s tubesites
  13 received an average of 3.17 trillion monthly web impressions, more than internet
  14 giants Amazon (2.58 trillion), Netflix (2.47 trillion), and Reddit (1.55 trillion), a
  15 significant percentage of which is comprised of U.S.-based users and generated from
  16 U.S.-based user uploads, including in California.
  17         69.    MindGeek profits from United States users, including California
  18 residents by, inter alia, (i) selling targeted advertising directed at United States based
  19 citizens and California residents on free pornographic videos hosted on MindGeek’s
  20 tubesites, (ii) selling MindGeek’s Pornhub Premium service to United States
  21 residents and California residents for $9.99 per month, and (iii) directly selling
  22 United States citizens and California residents a license to view MindGeek’s
  23 ModelHub content.
  24         70.    Additionally, MindGeek partnered and shared advertising revenue with
  25 numerous sex traffickers who reside in the United States and California and uploaded
  26 sexually explicit videos of U.S. and California-based plaintiffs without their
  27 knowledge or consent.      MindGeek made monthly payments to these sex traffickers
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   1 based on the number of times each video was streamed.
   2         71.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because
   3 a substantial part of the events or omissions giving rise to this action occurred in this
   4 District.     Further, MindGeek maintains an office in this judicial district and
   5 conducts substantial business within the district. Finally, several Plaintiffs reside in
   6 this judicial district.
   7                               FACTUAL BACKGROUND
   8 A.      MindGeek’s Racketeering Enterprise: “It’s Just Like the Sopranos.”
   9         72.     Appropriately dubbed, “The Monsanto of Porn,” MindGeek is a classic
  10 criminal enterprise carried out through wide-ranging criminal activities, including,
  11 but not limited to, human trafficking; child pornography; criminal copyright piracy;
  12 internet hacking, stalking, and doxing; blackmail and extortion; mail and wire fraud;
  13 embezzlement, bank and creditor fraud; tax evasion; and money laundering. The
  14 company’s top management and shadowy international financiers and their investors
  15 are the “bosses” of this Enterprise and, together with their “capos,” run its rackets
  16 and schemes.
  17         73.     The vehicles for these rackets and schemes are an internet pornography
  18 platform led by the flagship website “Pornhub” and an international network of ever-
  19 changing sham shell companies.        Through these two elements, the Enterprise
  20 secures hundreds of millions of dollars in illicit monies each year, diverts them to the
  21 Enterprise members without paying any taxes, and masks the criminality under the
  22 guise of legitimate adult entertainment and an impenetrable corporate structure.
  23         74.     The Enterprise viciously defends its concealed criminal activities from
  24 exposure. When it senses a threat of exposure, the Enterprise responds like any
  25 lawless, rouge actor: it lies, attacks, smears, bribes, blackmails, extorts, and
  26 otherwise intimidates any perceived threat by any means necessary.
  27         75.     For example, MindGeek targeted long-time porn industry journalist
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   1 Mike South because of revealing exposés he was publishing. Initially, MindGeek
   2 used promised advertising revenue and lucrative partnership opportunities to bribe
   3 South. When South rebuffed those offers, he began receiving threats.         Ultimately,
   4 he found a box outside his front door containing matches, a fire truck, and fire
   5 extinguisher, and the blunt message, “I’m sorry your house burnt down.”        He has
   6 since carried a gun at all times.
   7        76.    An anti-trafficking activist investigating MindGeek was subjected to
   8 such serious threats she told other activists doing the same, “I hope you have a
   9 saferoom.”     The warning was prescient. Those activists, and their extended
  10 families, were also targeted with threats of physical violence and death, vandalism,
  11 public smears, invasions of privacy, doxing, hacking, and other illegal and extortive
  12 behaviors designed to discredit, intimidate, and silence.
  13        77.    Exploitation victims who dared to speak out or even demand relief from
  14 MindGeek were similarly targeted.         After one victim retained counsel, she began
  15 receiving threatening messages, received intimidating visits at home and work, and
  16 had her tires slashed. She said she feared for her life. She then disappeared.
  17 After weeks of unsuccessful attempts to reach her, a mysterious text was received by
  18 her lawyer from an unidentified person who claimed to be her roommate and
  19 reported she had been in a car accident and was in a coma.       Although this person
  20 promised to provide further information, no further contact was received.       No such
  21 incident could be confirmed.        The victim’s whereabouts and condition are still
  22 unknown.
  23        78.    According to one MindGeek insider, the executive “bosses” oversaw a
  24 “very disturbing” misogynistic organization in which porn performers were referred
  25 to as “whores” and “product.”        Repeated reports about sexual assault of performers
  26 on MindGeek productions or affiliated productions were not just ignored but joked
  27 about, and the victims who dared complain were blacklisted from further work and
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   1 their content deplatformed or greatly diminished on MindGeek’s pornographic sites.
   2 Reported rapes of female staff in Montreal were likewise not only ignored, but
   3 retaliated against.   Similarly, victims of rape, trafficking, or other non-consensual
   4 exploitation on MindGeek’s platform were ignored, shamed, and sometimes mocked
   5 when they asked MindGeek to remove videos of their abuse from its porn platform.
   6 Representative of MindGeek’s ethos toward exploitation, an official MindGeek
   7 social media representative posted about sex tapes (which constitute a material
   8 amount of the exploitive material on MindGeek’s platform), “don’t do a sex tape if
   9 you are not ok with it being leaked.”
  10        79.    This was not a random aberration.        Rather, it reflected an ethos the
  11 “bosses” instilled from the top; a culture of not merely indifference but of embracing
  12 and celebrating non-consensual, exploitive content.         There is perhaps no better
  13 embodiment of what is called internally “the Bro Culture” ethos than the public
  14 comments of MindGeek’s long-time exclusive “Brand Ambassador,” Asa Akira,
  15 endorsing and defending sex with 13 year-olds and exhibiting disdain for the laws
  16 protecting minors and for “snitches” who dare object to such abuse:
  17               This 13-year-old? . . . His attitude was amazing. But, you
  18               know what? . . . if I were single and we were sitting in the
  19               jacuzzi and he was like, “Hey, you know, like, I’ve never
  20               f***ed a girl. (Asterisks added) Do you want to?” I think
  21               I’d say yes.    No, that definitely... no one, no one would
  22               consider that rape . . . except maybe his mom. . . . And
  23               that’s only if she’s, like, a total bitch. . . . Yeah . . . and the
  24               law. Whatever. [David Choe - Are we being delusional? Is
  25               there anyone that has a problem with that?] No! Why
  26               would I go [to jail]? Who’s gonna tell? No snitching.
  27               Snitches get snitches.... it would not ruin his life. It would
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   1                only improve it. . . . He . . . for the rest of his life, he could
   2                tell this story. “I was such a cool kid that when I was 13, I
   3                f***ed a porn star.” (Asterisks added). [David Choe -
   4                We’re not talking about the law right now!] Jesus! [David
   5                Choe - Fu- f*** the law! (Asterisks added).What are you, a
   6                f***ing, like do-gooder or something] (Asterisks added).
   7                (AA) Snitch! [(David Choe - What are you, the protector
   8                of 13-year-olds or something?) (Critter – “I think
   9                somebody has to”)] (AA) What nerd (laughs) . . . I think
  10                there are 13- year-old girls out there that might be ready to
  11                be f***ing, but not that many. (Asterisks added). Like, 15,
  12                yeah. There’s- . . . quite a few that are ready. . . .I would
  13                not finger this 13-year-old’s asshole [David Choe- If you’re
  14                a young boy and a- an older woman f***s you and she’s fat
  15                and ugly, then it’s rape.] (Asterisks added). (AA) - It’s
  16                rape. (laughs).
  17         80.    These public comments while stunning to most, were neither a surprise
  18 nor a problem for MindGeek because it was a precise reflection of the lawless and
  19 exploitive culture and ethos instilled and demanded in the MindGeek Enterprise.
  20 Indeed, they selected Asa Akira as their sole “Brand Ambassador” precisely because
  21 she perfectly and loudly embodied this very lawless ethos in her own personal brand
  22 long before MindGeek asked her to embody them on its behalf.              By way of example
  23 only, before she was hired as MindGeek’s Brand Ambassador Akira had made the
  24 following widely publicized comments celebrating rape, pedophilia, incest, and anti-
  25 Semitism: (a) “Is GHB the rape drug. Asking for a friend” (9/8/2011); (b) “it’s not
  26 really rape unless its anal rape, right? . . . “what the f*** is marital rape you can’t
  27 rape the willing . . . Shoutout to my pedophiles” (9/27/2011) (asterisks added).; (c)
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   1 “If loving Japanese rape porn is wrong, then I don’t want to be right” (1/29/2011);
   2 (d) “Also, I’m pretty proud of myself for making it this far in life without having to
   3 register as a sex offender” (2/29/12); (e) “It only hurts if you resist” (1/23/13);
   4 (f) “Gay incest should be legal” (12/9/14); (g) “adulthood is knowing the difference
   5 between good rape and bad rape” (10/31/13); (h) “Why not f*** a jew for Hitler’s
   6 birthday” (4/20/15) (asterisks added); and (i) “not one but TWO sightings of Hassidis
   7 Jews today.” (11/28/09.)
   8         81.   The embrace of non-consensual content by the Enterprise is reflected in
   9 the numerous news reports of widespread and easily found child pornography and
  10 other exploitive content on the MindGeek Platform.        This includes the December 4,
  11 2020 bombshell New York Times report entitled, “The Children of Porn Hub,” the
  12 Dr. Oz segment on January 27, 2021 referred to as “The Victims of Pornhub,” and
  13 the December 9, 2020 New York Times follow up article “An Uplifting Update, on
  14 the Terrible World of Pornhub.”
  15         82.   In 2021, the Canadian House of Commons opened up an inquiry into
  16 MindGeek’s exploitation and monetization of child pornography, rape, trafficked,
  17 and other non-consensual video and photographic content, and is reportedly
  18 considering perjury charges for false testimony by “bosses” and defendants Antoon,
  19 Tassillo, and Urman, who falsely testified to the House, among other things that
  20 MindGeek is a proud partner of and reports every instance of child sex abuse
  21 material (“CSAM”) to the National Center for Missing and Exploited Children
  22 (“NCMEC”) as required by law (which was repudiated by subsequent testimony and
  23 report) when it becomes aware of it, removes such content from its platform (not
  24 true), and employs technology and other measures to ensure such content is never
  25 reuploaded to its platform or any other platform (not true).
  26         1.    MindGeek’s Basic Revenue Model
  27         83.   On its face, the MindGeek business model looks like other internet
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   1 media business models like YouTube.        MindGeek owns a group of “tubesites” that
   2 contain free, purportedly user populated, digital pornography.        Users are drawn to
   3 the MindGeek tubesites by the ability to access free content, and to upload and
   4 exchange free content.     MindGeek uses the traffic generated by that free content to
   5 (a) advertise additional pornographic sites that offer paid content that are either
   6 owned by MindGeek or by third-parties; (b) sell advertising for other products and
   7 services it or third-parties offer; and (c) harvest user data for its own business
   8 marketing and development purposes and to sell to third parties.
   9         84.   Within this model, MindGeek has various relationships with
  10 users/customers and third-party’s offering products or services.       MindGeek has a
  11 relationship with those who use its tubesites for free to access and share content.
  12 These customers provide (a) content that helps populate the tubesites; (b) traffic and
  13 advertising “impressions” which generate income from third-party advertisers; (c)
  14 “paid” conversions in which a free tubesite user purchases content, services, or other
  15 products; and (d) data MindGeek can use to create and improve its content business
  16 as well as package or sell raw to third-parties looking to do the same.
  17         85.   MindGeek also has a relationship with third-parties it allows to use its
  18 internet advertising platform to sell products and services.    MindGeek owned
  19 affiliates themselves sell products and services to tubesite users.     Third parties also
  20 can upload content and get paid a percentage of MindGeek’s revenue for advertising
  21 “impressions” and paid customer “conversions” on traffic to, and interactions with,
  22 their content and ads accompanying it. Third parties with their own pay websites,
  23 products, and services also pay to advertise on MindGeek’s platform based on the
  24 number of impressions those advertisements receive and conversions or purchases as
  25 a result of those impressions, and they also may share in revenue with MindGeek
  26 generated by impressions and conversions on their content.
  27         86.   For example, on MindGeek’s flagship tubesite Pornhub, any user could
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   1 upload content without a formal relationship with MindGeek.         MindGeek uses that
   2 content to attract more users and generate income.
   3         87.      Other users can also become so-called “verified” users and members of
   4 MindGeek’s “ModelHub” program and receive a share of the income associated with
   5 traffic to their content.    This incentivizes users to post content and the additional
   6 content further attracted still more users.    The ModelHub type arrangement allows
   7 seemingly independent third-parties, including porn performers, to individually
   8 generate revenue streams by posting content they produce, acquire, or repackage.
   9         88.      Third-parties might also be “content partners” who created content,
  10 products, or services with their own distinct brand sold on and through MindGeek’s
  11 platform via that third-party’s tubesite “channel” and for which MindGeek and the
  12 third-party share revenue.
  13         89.      Third-parties with their own pay sites, products or services would also
  14 secure customers from MindGeek by simply advertising on MindGeek’s platform
  15 sometimes simply paying an advertising fee, sometimes some share of the revenue.
  16 These third-parties could be selling products and services entirely independent of
  17 porn, like ketchup and clothes or other adult-themed products and services such as
  18 “dating” services or sex paraphernalia or purportedly enhancing substances.        These
  19 third-parties would purchase such advertising through ad companies, like MindGeek
  20 owned affiliate TrafficJunky, which provides an interface through which third-parties
  21 can bid to purchase advertising space, filter and target its advertising, and create the
  22 advertising.
  23         90.      Third-parties also purchase the vast amounts of data mined from the
  24 billions of user interactions with MindGeek’s platform and the analytics MindGeek
  25 has performed on that data.       This data can be used to refine the third-party’s own
  26 webservices or to simply secure potential customer information and details for
  27 solicitations.
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   1        91.    Central to the economics of all these relationships is the traffic to the
   2 tubesites.   The more traffic, the more attractive the tubesites are to advertisers and
   3 content partners, the more ad impressions and customer conversions generating
   4 revenue, the more data to optimize and increase traffic, impressions, and
   5 conversions, and the more content to attract more user traffic.     This is a reinforcing
   6 dynamic.     As traffic increases, content and product and service optimization
   7 increases, which, in turn, increases traffic even more.
   8        92.    The Gold Standard was to be at the top of the search results on search
   9 engines like Google.    To do this, MindGeek is deeply focused on Search Engine
  10 Optimization or SEO.      SEO is the science of optimizing a website’s ability to garner
  11 top search rankings and depends on many factors but most prominently the amount
  12 of content and how effectively it is described.    Publicly, MindGeek does not even
  13 mention on its corporate website that it is involved in pornography. Rather, it
  14 describes itself exclusively as a technology company skilled in SEO and related
  15 services.
  16        2.     The “Bro-Club”
  17        93.    According to whistleblowers with first-hand knowledge, the MindGeek
  18 Criminal Enterprise is run exactly like an organized crime family: “It’s just like the
  19 Sopranos,” described one insider.     At the head of that crime family is Feras Antoon,
  20 the CEO of the company.       Feras Antoon and his select group of “made” men at
  21 MindGeek refer to themselves as the “Bro-Club.”        Bro-Club membership comes
  22 with the opportunity to make substantial monies participating in the Enterprise’s
  23 criminal activities.   Indeed, as one person close to members of the Bro-Club
  24 explained, “[t]he only thing that mattered was how much money can you bring into
  25 the enterprise.   That was the only metric for your advancement. Similar to what
  26 you see in Sopranos.”
  27        94.    The Bro-Club is comprised of members of Antoon’s extended family
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   1 from Canada, Lebanon, and Syria and a select few additional “made” members.
   2 “All top executives were members of the Bro-Club, and most Syrian or Lebanese
   3 relations of Antoon,” according to one whistleblower.       These “made” members
   4 earned their “bones” not through bona fide skills or credentials, but because they had
   5 demonstrated an eagerness to participate in its criminal activities, a paramount
   6 appetite for money, and a willingness to participate without objection, inquiry, or
   7 disclosure of illicit activities to advance in the organization.
   8         95.   For example, Feras Antoon’s brother Mark was one of his right-hand
   9 men, with responsibility for some of the Enterprise’s most sensitive operations even
  10 though he had no bona fide credentials for doing so.      As one insider who worked
  11 with him explained, he “knows nothing about running a company but runs stuff like
  12 kickbacks and similar side arrangements with third-party and affiliates companies.
  13 That is why he is in the company.      This was discussed in meetings. Every single
  14 individual would try to impress him because he was a key player.”
  15         96.   Similarly, Edy Kaba was made the head of the organization’s European
  16 operations based out of Cyprus even though he had neither the credentials nor ability
  17 to understand, let alone manage, basic business functions. As one whistleblower
  18 described, “anyone with the most basic background in business administration or
  19 finance knew more than him.”       Nevertheless, he received the position along with
  20 substantial money, lavish perks, and a luxurious lifestyle in Cyprus to run
  21 MindGeek’s international operation because, according to a whistleblower, “he was
  22 related to Antoon, was seen as loyal, willing to do illegal things, and remain silent
  23 about them.”
  24         97.   Even the seemingly critical position of Chief Technology Officer of this
  25 purportedly leading technology company was initially given to an Antoon relative,
  26 Karin Mouaffi, without the resume to rate the job.      Experienced MindGeek
  27 programmers and developers consistently complained and were extremely frustrated
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   1 with his inept leadership. But his loyalty to the Enterprise was beyond question and
   2 thus he was in charge of the technology central to so many of its criminal schemes.
   3         98.   The Bro-Club “capos” also included some who had previously formed
   4 successful tubesites or porn advertising companies that were sold to or otherwise
   5 partnered with MindGeek.       Although teaming with MindGeek meant these
   6 individuals needed to share their revenues, they joined the Enterprise nevertheless
   7 “to cover your ass and be on safe ground” because, per an insider,
   8               it provided protection from overseas folks who are bad
   9               guys involved in bad stuff. People were really scared
  10               about their lives because the groups providing content for
  11               their sites were real pimps. If you are running your own
  12               site and you know these pimps might do harm to you, you
  13               join Tony Soprano’s team.       Make less money but no one
  14               will shoot you in the street.
  15         99.   The “pimps” being referred to were the known traffickers in Eastern
  16 Europe and Asia from whom the Enterprise and those who typically joined it bought
  17 substantial pornography.
  18         100. This core group of “bosses” controlled all the elements of MindGeek’s
  19 business through which the Enterprise executed and masked its criminal schemes.
  20 In particular, they controlled its finances, technology, content acquisition, formatting,
  21 moderation, website operation and optimization, and the byzantine network of
  22 overseas international affiliates and partners through which the Bro-Club executed
  23 many of its schemes.     They did so through “capos” and “soldiers” looking to enter
  24 the Bro-Club.     These directors and vice-presidents were directly supporting the
  25 Enterprise’s illegal activities that ran off the MindGeek platform.
  26         101. While doing so, they were groomed, tested, and weeded out depending
  27 on whether they embraced, avoided, or rejected questionable, unethical, and illegal
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   1 activities.   That grooming and testing process began immediately even for low level
   2 employees who were exposed to “pretty f***ed up sh*t,” (asterisks added) according
   3 to one former employee.       The goal of the grooming was obvious the former
   4 employee explained: “that’s the thing, it is true that you do get very desensitized to
   5 certain things. . . . after like months or a year, it[’]s true that you don’t see bodies
   6 anymore, you don’t even really care what’s going on, how many people are involved,
   7 what is the woman doing.”
   8         102. This desensitization was reinforced by supervision that made clear
   9 management did not care about appropriateness, legality, or ethics.        A former
  10 employee explained: “if someone finds something that shouldn’t be there, would the
  11 manager raise it as an issue, and say ‘hey, I just saw this and we should do something
  12 about it?’ Absolutely not.”
  13         103. This structure provided the Bro-Club with, in Feras Antoon’s words,
  14 “plausible deniability”; revealed which employees should be promoted and
  15 separated; and chilled insiders with questions or objections.      As one whistleblower
  16 explained, “illegal or risky things were pushed down to low level people to ensure
  17 ‘plausible deniability,’” and, if they did them, “it showed you are devoted so much
  18 you are willing to do illegal or unethical stuff with comfort and silence.”      One
  19 former insider explained, “they referred to directors and managers as ‘parachutes’ if
  20 this goes wrong. . . .    They keep them in the dark, tell them to approve shady
  21 things like ads and partnerships and credit card transactions but never in writing.
  22 Then they would be able to say it was someone else’s decision if it went wrong.”
  23         104. There was extreme secrecy and security attached to the Bro-Club’s
  24 deliberations, decision, actions, and activities.    Due to fears of recording, phones
  25 were excluded from important meetings of senior Bro-Club members, especially
  26 when they met with the Enterprise’s financiers, and displaying a phone in any
  27 meeting was not done.       The executive offices from which the Bro-Club operated
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   1 were physically separated from regular employees and protected by strict security
   2 measures, including cameras and security personnel to ensure not even MindGeek
   3 personnel entered the floor.
   4         105. Particularly guarded were the finance offices.     Only certain personnel
   5 were allowed to even enter these offices; others were permitted only when certain
   6 other designated personnel were present; and doors were locked and shades drawn
   7 when unoccupied for any amount of time.
   8         106. Moreover, employees were closely monitored, especially any who were
   9 suspected of harboring doubts or objections to any MindGeek practices.          Employee
  10 emails and Skype messages are routinely reviewed.        Company car GPS records
  11 were tracked and drivers questioned after trips beyond certain limits or to certain
  12 locations of concern.
  13         107. The Enterprise’s paramount focus on secrecy was reflected in the Bro-
  14 Club’s obsession with suspected “snitches.”      This ubiquitous Bro-Club term
  15 included not only those who they suspected of speaking outside the MindGeek
  16 organization, but also those who spoke up or objected internally.      The latter were
  17 not just viewed as a risk of disclosure outside MindGeek, but also as a risk of
  18 fomenting and encouraging objections to practices inside MindGeek.         As
  19 individuals were considered for promotion, the Bro-Club always discussed, “whether
  20 they could be trusted.    Whether they were a snitch,” according to a whistleblower.
  21 Even a suspicion by a single Bro-Club member that an individual was a “snitch”
  22 would not merely block their advancement, but ultimately result in them being
  23 pushed out of the company entirely. Such individuals would either be frozen out
  24 and elect to leave, be set up to fail in stage assignments, or simply be told that there
  25 was a “consensus” that they should be let go without any explanation as to why or on
  26 whose word.
  27         108. For those who chose or were forced to leave MindGeek, their departure
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   1 was often not the end of their experience.    It was a core understanding internally
   2 that if you threatened the Enterprise, “it would come after you,” according to one
   3 whistleblower.     This included investigating the personal lives of former employees
   4 and their extended families.    Targeted individuals could expect to have their
   5 spouses, parents and siblings, neighbors, and community members, as well as their
   6 employers, co-workers, and business partners, receive anonymous post-cards, emails,
   7 in-person “visits,” and social media message smearing. These intimidation tactics
   8 would typically include revealing the individuals worked in porn or their sexual
   9 identity and hacking and distributing, or threatening to distribute, personal messages
  10 and photographs.
  11         3.     The Financiers
  12         109. While the Bro-Club had daily operational control over MindGeek’s
  13 business, they were not the exclusive “bosses.”     Also in control were the actual
  14 owners of MindGeek.       The owners were comprised of a group of uber wealthy
  15 individuals, families, and groups represented by several former Goldman Sachs
  16 financiers.    These financiers offer “special situations” investments in which uber
  17 wealthy investors can receive oversized returns and evade taxes.      Oversized returns
  18 are available because the business being funded was or very likely was engaged in
  19 illegality and other legal risk that established, legitimate, and responsible Wall Street
  20 financial firms would not finance.     MindGeek was a poster child for such risk.
  21         110. From its birth, the Enterprise now known as MindGeek was awash in
  22 criminality.    That criminality manifested itself almost immediately in law
  23 enforcement investigations in Europe and the United States. In the late 2000’s, the
  24 United States was investigating MindGeek (then Mansef) for money laundering and
  25 arms dealing. In 2009, the Secret Service seized $6.4 million from the company’s
  26 bank accounts and those of its then nominal owners as a result.
  27         111. To get out from under that public scandal, the company was putatively
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   1 sold to German Fabian Thylman, who was funded by unknown investors from
   2 Eastern Europe.    This syndicate of money invested over $350 million in the form of
   3 secured debt to acquire the distressed company.    They did not do so directly,
   4 however, but through the boutique investment banking firm Colbeck Capital, run by
   5 two former Goldman Sachs investment bankers.       The loan was secured by all of
   6 MindGeek’s assets, including its intellectual property and provided substantial
   7 control over management and the company’s operations. Despite it being a secured
   8 loan, the interest rate was a whopping 24%, reflecting the unwillingness of legitimate
   9 mainstream capital to invest in the company because of the innumerable red flags of
  10 illegality.
  11        112. Thylman and his owner group appointed Antoon and the current
  12 leadership team and worked aggressively to grow the business and establish the
  13 Pornhub brand as mainstream.      Nevertheless, the company continued to be dogged
  14 by investigations into money laundering, tax evasion, human trafficking, and child
  15 pornography.     The byzantine, multi-national financial and corporate structure Grant
  16 Thornton, Thylman, and the current management created largely delayed and
  17 frustrated the investigations as intended. Nevertheless, in 2012, Thylman, was
  18 arrested and extradited from Belgium to Germany on charges he had used that
  19 byzantine corporate structure to evade taxes.   But the other investigations
  20 continued, including into suspect child pornography.
  21        113. With Thylman in jail, owners and the management scrambled to save
  22 the company, and sought again to ostensibly switch ownership. The management
  23 team and financiers scrambled to seemingly “clean wash” the company, cover its
  24 tracks, and claim a new regime was taking over.    However, the existing loan’s
  25 onerous terms, as well as the Bro-Club’s syphoning off of all cash not used to pay the
  26 loan, left MindGeek no options for buying out Thylman, paying off the loan, and
  27 executing a transition that would be publicly credible.
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   1         114. Ultimately, the solution came in the form of shadowy financier Bernd
   2 Bergmair.      Like the principals of Colbeck Capital before him, Bergmair was a
   3 former Goldman Sachs investment banker who had left to provide niche financing
   4 for legally dubious ventures Goldman Sachs and similar Wall Street firms would not
   5 fund. Representing one group of uber wealthy investors, he had purchased Pornhub
   6 competitor RedTube, in which he served as the titular CEO.
   7         115. Bergmair took extreme steps to conceal not just his identity, but his very
   8 existence.     He expended substantial sums scrubbing almost any references of
   9 himself from the internet and went by various alias, including Bernard Bergman.
  10 Indeed, when forced to put in an affidavit in a United States District Court litigation
  11 involving RedTube, he lied under oath that his name was Bernard Bergman.              He
  12 took such extraordinary measures because he and his investors were fully aware of
  13 the legally dubious nature of the business they owned and ran, and some of these
  14 investors were themselves the subject of international legal scrutiny or associated
  15 with those who were.       The investors were so uneasy being associated with this
  16 business, they were rabid about even their financier becoming known.
  17         116. At the time investors and management were trying to save MindGeek
  18 (then Manwin) in 2012-13, RedTube, unlike Manwin/MindGeek had substantial cash
  19 reserves that Manwin/MindGeek could use to buy out Thylman, restructure the
  20 Colbeck Capital debt, and pay down liabilities necessary for an ostensible fresh start.
  21         117. Ultimately, a transaction was consummated in which Colbeck Capital’s
  22 investor’s debt was restructured, RedTube and Manwin merged becoming
  23 MindGeek, and RedTube’s cash and further capital from Bergmair’s investors was
  24 invested in the form of similarly onerous secured debt and controlling stakes in
  25 critical subsidiaries.    The capital was used to buy-out Thylman and pay off certain
  26 critical third-party liabilities.   Some of those critical liabilities were to third-parties
  27 MindGeek’s business needed to survive, others were to third-parties that MindGeek’s
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   1 executives believed needed to get paid for them personally to survive.
   2        118. Despite their centrality to the transaction, and control of the company
   3 going forward, the identities of Bergmair’s investors, as well as Bergmair’s real
   4 identity remained unknown even to Feras Antoon.       To the public, Antoon and other
   5 members of the Bro-Club were falsely reported to be the owners of the business.        It
   6 was understood that the existence of other owners was never to be mentioned.
   7        119. Although the Bro-Club led by Antoon remained in daily operational
   8 control of the restructured MindGeek, they now answered to Bergmair on behalf of
   9 the new owners.     Bergmair and his owner group conducted extensive due diligence
  10 before proceeding with the transaction and were fully aware of the fraudulent
  11 international corporate structure through which MindGeek conducted its illicit
  12 business and on which it (and the new owners) depended.      The transaction was
  13 falsely portrayed as a “clean wash” of the company.    The “new” company was
  14 portrayed publicly and to European authorities as a technology company specializing
  15 in Search Engine Optimization and committed to the best practices and technology to
  16 ensure the business was free of illegal content and activities. In fact, nothing had
  17 changed except for Thylman’s exit and the new partnership between the Bro-Club
  18 and Bergmair’s owner group.
  19        120. Like the Colbeck Capital financing before it, the Bergmair financing
  20 contained usurious interest rates, draconian rights to all MindGeek assets upon a
  21 default, and the right to control and remove management.     Much more than
  22 Thylman, Bergmair exercised daily direct oversight and control over the strategic
  23 operations of MindGeek, closely managing financial operations, business plans, and
  24 even the technology that was critical to the internet porn company’s business.
  25 Indeed, his technology involvement was so extensive, programmers and developers
  26 complained incessantly about what they considered his uninformed meddling.
  27        121. In exercising control for the Owner Group, Bergmair was in regular
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   1 contact with and giving approvals to the Bro-Club on major MindGeek decisions.
   2 He received regular briefings on the financial performance of the Enterprise, was
   3 briefed on all activities designed to meet its financial commitments to the owners,
   4 and approved those initiatives material to that requirement.
   5         122. As part of the “clean wash” of the organization, all European managers
   6 and directors were suddenly terminated and replaced with Bro-Club members related
   7 to Feras Antoon.     Antoon’s relative Edy Kaba was placed in charge of all
   8 international operations despite his lack of business or financial management
   9 credentials and experience.       Those operations were consolidated in Cyprus because
  10 it was viewed as posing the least law enforcement risk, and Kaba relocated to Cyprus
  11 from Montreal.
  12         4.    The Fake Pornhub Façade
  13         123. After the rebranding, the Enterprise worked hard to depict MindGeek
  14 not as a company in the business of online pornography, but as one of the world’s
  15 leading technology companies providing cutting edge Search Engine Optimization
  16 (“SEO”) and online and marketing data services.        Its corporate website mentions
  17 nothing about the world’s largest pornography site Pornhub, which was MindGeek’s
  18 flagship tubesite, or its surrounding constellation of other pornographic sites, partner
  19 sites, and businesses.
  20         124. And it worked even harder to portray its flagship tubesite, Pornhub, as
  21 well as its other tubesites as “wholesome,” legitimate, responsible, and mainstream.
  22 MindGeek expended substantial resources and effort ensuring that its tubesites had
  23 all the indicia of legitimate internet media websites, including a polished appearance,
  24 comprehensive terms of service, policies, and customer service functions, and
  25 multiple layers of interaction.     As part of this effort, MindGeek aggressively
  26 promoted itself in mainstream mediums with substantial advertising and marketing
  27 as well as a swarm of high profile publicity stunts promoting various social or other
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   1 topical causes.    This effort included billboard ads in Times Square, ads on
   2 snowplows during blizzards, breast and testicular cancer campaigns, promotions for
   3 racial equality and voting rights, pop-up shops on Valentine’s day, and
   4 environmental campaigns like Save the Oceans, Save the Pandas, and Save the Bees.
   5        125. It also attempted to publicly align itself with anti-exploitation entities
   6 despite embracing exploitation itself. For example, in 2020 MindGeek began
   7 making donations to the European anti-child porn exploitation network called
   8 InHope.
   9        126. But these public images were a fraudulent front for a platform through
  10 which the Enterprise ran its rackets and schemes.      MindGeek was not in the
  11 business of providing SEO services to anything other than primarily the Enterprise’s
  12 pornography platform and its partners and was exclusively devoted to running that
  13 business for the enrichment of its owners and Bro-Club members.         To do that, the
  14 Enterprise had to generate enough cash to pay the substantial “nut” of principal and
  15 enormous interest owed to the owners, while at the same time siphoning off the
  16 remaining cash and value in innumerable schemes executed through the company’s
  17 impenetrable and ever shifting international network of sham shell companies.
  18        127. The public image of its actual pornography business was a fraud also.
  19 The highly polished webpages of Pornhub and its other tubesites were falsely
  20 portrayed to look like mainstream, legitimate tubesites, albeit about pornography,
  21 with extensive terms of service, complaint and customer service functions, and
  22 misleading promotional content to portray Pornhub as mainstream, harmless, and
  23 legitimate.    But all of this was window-dressing.
  24        128. The extensive terms of service were never enforced or intended to be
  25 enforced.     To the contrary, those stated terms, policies, and restrictions were
  26 anathema to the actual business model MindGeek was pursuing.          According to
  27 those terms of service, content depicting racism, hate, incest, and children (even by
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   1 adults) were all banned but nevertheless omnipresent on the platform.       Indeed,
   2 numerous versions of “underage,” “teen,” and “incest” were consistently among the
   3 most searched search terms and popular results in MindGeek’s algorithmic video and
   4 search term tubesite suggestions.    Likewise, numerous versions of “drunk,”
   5 “drugged,” “passed out,” and others indicating incapacitation were also among
   6 search terms sought most often by users and suggested by MindGeek.
   7        129.      MindGeek was not only acutely aware of the popularity of these
   8 categories of search terms and the type of content they represented, its SEO
   9 aggressively solicited such content and instructed users to title, tag, and describe
  10 their content to include these very terms and upload this very type of content.
  11        130. This process was an explicit and overt solicitation of all forms of users
  12 and partners to provide such content because MindGeek’s business plan was to
  13 provide supply for any pornography for which there was a demand.          Likewise, there
  14 was no real complaint or customer service functions because actually enforcing the
  15 terms of service or accepting any restrictions on content was contrary to the actual
  16 business model MindGeek was implementing.
  17        131. Also false was the image of Pornhub and its associated free tubesites as
  18 comprised primarily of user uploaded content.      This was an important fraud for the
  19 Enterprise because it believed it provided legal protection under United States law,
  20 and it misdirected apparent responsibility for systemic illegality away from
  21 MindGeek.
  22        132. In fact, however, vast amounts of the content on these sites, although
  23 appearing to be uploaded by individuals independent of MindGeek were produced,
  24 acquired, and uploaded by MindGeek, sometimes directly and sometimes through
  25 affiliates and partners.   This content was not merely acquired for MindGeek, but it
  26 was formatted by MindGeek, which edited the scenes and length, provided the titles
  27 and tags, and uploaded it to appear as if it was posted by individuals.
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   1        133. In addition to MindGeek’s own production and uploading of apparently
   2 user-generated content, a substantial amount of the content it placed on its sites was
   3 from bulk uploads of pirated copyrighted materials that MindGeek or third-parties it
   4 commissions pirated. Indeed, whistleblowers reported personnel in MindGeek’s
   5 Montreal headquarters “ripping” content from DVD’s in a regular overnight
   6 operation and uploading that content to Pornhub and the other tubesites as
   7 independently uploaded content.     This was just one of the many schemes MindGeek
   8 utilized to systemically pirate copyrighted materials and use them to support Pornhub
   9 and its other tubesites.
  10        134. Even content that was actually user-generated was edited and published
  11 by MindGeek formatters before upload.       These formatters based in Cyprus and
  12 Canada would provide or modify titles, descriptions, and tags, and edit videos in
  13 order to maximize SEO, ad impressions, and customer conversions.        MindGeek has
  14 repeatedly maintained publicly that every video on its sites went through this
  15 process.
  16        135. Another scheme was the reuploading of all materials that despite
  17 MindGeek’s best efforts had to be taken down because it had received a DMCA
  18 copyright violation notice or a directive from authorities or a victim’s lawyer to
  19 remove child pornography or other illegal content.     Although MindGeek would
  20 begrudgingly comply with such legal requirements, as set forth more fully below, it
  21 would only disable the videos, not delete the webpage, title, tags, or comments.
  22 Nor would it delete the video, even of child pornography, from its server.
  23 MindGeek has repeatedly stated publicly that it kept every video ever uploaded on its
  24 servers even when they were disabled from its sites. It did this for a simple reason:
  25 content was king in MindGeek’s operations, and disabled content would be
  26 reuploaded to the system by MindGeek in a manner that appeared it had been
  27 uploaded by users and not MindGeek.
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   1         136. Moreover, MindGeek pushed all content posted on any of its tubesites,
   2 regardless of initial sourcing, to its other tubesites, which it again falsely portrayed as
   3 posted by a user other than MindGeek.
   4         137. Finally, MindGeek’s intensive search engine optimization function
   5 scrutinized all content, particularly content that its analysis indicated was trending or
   6 otherwise effective in driving traffic, gaining ad impressions, generating
   7 “conversions.”     This process was applied to all content, regardless of category or
   8 subject being portrayed, and content that was effective would be modified and often
   9 duplicated to optimize its SEO further.     Moreover, where analytics indicated any
  10 content could be optimized better, it too would be modified to do so.
  11         138. Thus, regardless of initial sourcing, vast amounts of the content on all of
  12 MindGeek’s tubesites was uploaded there by MindGeek, not users as it was
  13 engineered to appear; even content uploaded by users was reviewed, modified, and
  14 optimized by MindGeek; and all content regardless of where and by whom it was
  15 initially uploaded was then transferred by MindGeek on its other sites and sometimes
  16 third-party partner sites.   That is, all the individual content on MindGeek’s
  17 tubesites, as well as the entire tubesite product itself, was a MindGeek production
  18 and product.     MindGeek’s tubesites were user generated in a fictional sense only.
  19         139. It was this fraudulently portrayed internet platform and MindGeek’s
  20 byzantine international network of sham shell companies through which the
  21 Enterprise: (a) paid for, populated the website with, and separately profited from
  22 content produced through human trafficking and slavery and pirated copyright
  23 materials; (b) permitted known criminal organizations to steal customer credit card
  24 and personal identifying information, commit credit card fraud, and blackmail
  25 customers; (c) defrauded MindGeek advertisers, marketers, and other third-parties;
  26 (d) evaded taxes and laundered monies by “bleeding” value out of the organization to
  27 the Bro-Club and other Enterprise members via sham investments and expenses; and
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   1 (e) paid for and executed blackmail, extortion, harassment, defamation, and hacking
   2 against those the Enterprise viewed as a threats.
   3 B.     The Enterprise’s Criminal Rackets and Schemes
   4        1.      The Fraudulent Network of Sham Shell Companies
   5        140. From its inception, MindGeek’s corporate structure was created and
   6 maintained to facilitate and mask criminal conduct and insulate the company and
   7 Enterprise from criminal and civil culpability. This structure consisted of hundreds
   8 of sham shell companies scattered throughout the world. While a handful of these
   9 shell companies had bona fide relationships to MindGeek’s business operations, the
  10 vast majority of them existed solely as vehicles through which to execute the
  11 Enterprise’s rackets and scams and evade taxes.     There was no bona fide business
  12 reason for this putative SEO company or its pornographic internet business to utilize
  13 this excessively complicated international network of sham shell companies.
  14        141. Consequently, despite generating hundreds of millions in revenue
  15 annually, MindGeek pays effectively no taxes anywhere.       Instead, by the time those
  16 revenues are funneled through the hundreds of international sham shell companies,
  17 the parent company records massive losses, not profits.    And because these sham
  18 shell companies are so numerous, and so dispersed across so many jurisdictions, no
  19 one jurisdiction can easily investigate the evasion or even be incentivized to do so.
  20 The same is true about the numerous other criminal schemes similarly effectuated
  21 through this network.
  22        142. Consistent with its illicit purpose, this network was in constant
  23 metamorphosis. MindGeek created, dissolved, and then replaced sham shell
  24 companies on a monthly and sometimes daily basis, often with virtually the same
  25 names.      These sham shell companies had no bona fide business or substantive
  26 economic purpose, directors, officers, employees, or offices (let alone functional
  27 offices).    There was, likewise, no bona fide business purpose for the network sheer
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   1 complexity and opaqueness or its constantly quantum like dissolution and creation of
   2 entities.   This shell game existed exclusively to implement and mask the
   3 Enterprise’s criminal schemes, evade taxes, launder money, and insulate Enterprise
   4 members from culpability.
   5         143. As a whistleblower explained, “spreading the corporate structure out in
   6 hundreds of shells located in dozens of jurisdictions allowed spreading of
   7 transactions out such that they did not raise suspicion in any one country, and even if
   8 they did it was very difficult for that jurisdiction to investigate the suspicion when
   9 much of the information was in other jurisdictions.”
  10         144. Often, the Bro-Club would appoint a single nominal director in these
  11 sham shell entities from among low-level Enterprise members or MindGeek
  12 employees (such as executive assistants). These purported “directors” knew
  13 nothing about the shell’s purpose, existence, or operations; exercised no control over
  14 its bank accounts or “operations”; were paid handsomely for the no-show job and the
  15 substantial legal risk associated with it; were pure proxies and agents from the Bro-
  16 Club members who appointed and directed them; were frequently questioned by
  17 authorities without having any information to provide because they were figureheads
  18 controlled by the Bro-Club leaders; and were replaced regularly according to an
  19 appointed schedule so as to further impede the ability of authorities to investigate.
  20         145. As an insider explained,
  21               they created companies on a daily and monthly basis and
  22               used vendors to launder money and make payments.         Had
  23               a schedule for switching directors so none were there too
  24               long and would pay them premium to assume the risk of
  25               not knowing what was going on.      When investigations
  26               happen they delete everything from the system.      They
  27               used these affiliates to launder and mask transactions with
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   1               entities that had bank red flags, were banned, were business
   2               partners under investigations. They get paid but they
   3               launder the payments.    Not through the corporate bank
   4               accounts. I know that it happened.     I talked to the
   5               vendors and knew they got paid but could see it did not
   6               come out of the corporate accounts.
   7        146. These sham shell companies would be used in various ways not just to
   8 mask criminal involvement, but also to “bleed” and launder cash out of the
   9 organization to criminal partners and Enterprise members (especially the Bro-Club).
  10 These transactions, typically in the form of loans, investments, or vendor payments
  11 to third-parties, would result in net operating losses to MindGeek.     Indeed, over the
  12 last 3-5 years, MindGeek has accumulated substantial net operating losses despite
  13 hundreds of millions of dollars in annual revenue.   Those “lost” monies, however,
  14 were transferred to third-parties in which Enterprise members had an interest or
  15 financial arrangement.
  16        147. An insider explained the process as follows: An obscure affiliate in a
  17 low regulatory risk jurisdiction would transfer funds to middlemen/agents who
  18 commissioned and purchased cheap pornographic content from human traffickers.
  19 The MindGeek payments for this trafficked content would be “shadow payments”
  20 made from one of its obscure sham shell companies to a middleman without any
  21 invoice or paper trail.   Rather, a price would simply be agreed upon orally and a
  22 payment made to the agent middlemen.
  23        148. That trafficked content would be delivered to a different third-party for
  24 formatting and uploading. The third-parties who received, formatted, and uploaded
  25 the content were a mix of Enterprise affiliates, MindGeek partner channels, and a
  26 network of entities who would be paid to generate thousands of phony user uploads.
  27 That third-party typically would receive compensation for its service either via
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   1 “ghost payments” laundered through their existing revenues stream for MindGeek
   2 partners or directly through a different sham shell company.
   3        149. Thus, partner channels, many of whom ran their own network of shell
   4 companies, would be compensated for this work by higher monthly revenue share
   5 payments and one-time bonuses under their partner contracts to mask the payments.
   6 For non-MindGeek partners, payments would be laundered through MindGeek’s
   7 obscure sham shell companies or its corrupt payment processors holding its credit
   8 card payments (such as was done frequently with MindGeek payments processor
   9 Wirecard before it collapsed as a massive fraud).      These banks and processors
  10 participated in the schemes because MindGeek would pay them exorbitant fees and,
  11 for some, permitted them to use MindGeek’s platform for their own credit card and
  12 identity theft schemes.
  13        150. Enterprise members would receive their cut of that consideration from
  14 the third-party via revenue sharing or some other financial kickback.       Regarding
  15 this scheme to acquire cheap trafficked content in bulk, one Enterprise member
  16 explained to an insider, “We can do this and we just pay more to launder the money.”
  17        151. One whistleblower described the process of “bleeding” money out of the
  18 system to bogus “vendors” at inflated prices as follows:
  19               I remember one time we were talking about why the texts
  20               on PornHub were so awful. Like why was it written so
  21               poorly, and their translations from other countries were so
  22               bad.     I remember one person who worked there over 10
  23               years, he was like uh “yeah, they just like to keep doing
  24               them.”     Like I guess they get fairly cheap translators, from
  25               the old times, like they always liked to have something to
  26               spend money on that was outside of the company. I mean,
  27               I’m not an expert, but no one spends money because they
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   1               like to. So it’s a weird thing. According to this coworker
   2               there is a well, there is money they need to spend. . . . its
   3               not a secret that Mansef already had issues with money
   4               laundering. And its not a secret that Fabian had issues with
   5               money laundering, I mean I am not surprised a lot of things
   6               never changed.
   7         152. Some of these schemes directly benefited MindGeek and its operational
   8 affiliates, and indirectly the Bro-Club and its financiers via payments on the
   9 outstanding loans and compensation to executives.        Many other schemes, however,
  10 benefited the Bro-Club, MindGeek’s financiers and owners, and their co-conspirators
  11 directly, and MindGeek merely provided the platform through which this was
  12 accomplished.     In these schemes, Enterprise members or their associates and
  13 partners would use their control over MindGeek to cause it to transact with shell
  14 companies they owned, or (more often) companies owned by others from whom the
  15 Enterprise members would be paid.        “This is where they make their money,” a
  16 whistleblower said about members of the Bro-Club.
  17         153. In another scheme the Bro-Club would use its control over MindGeek to
  18 give favorable advertising placement to so-called affiliate channels or partners using
  19 the site as a feeder for their own paysites. In exchange, Enterprise members would
  20 receive a cut of that third-party’s profits as a kickback.   This defrauded others who
  21 had bid and paid more for priority placement on the site by diverting traffic from
  22 their sites to the ones paying the Bro-Club. In other instances, the Bro-Club would
  23 simply place ads for these affiliates ahead of those of unrelated affiliates who had bid
  24 more for that placement.
  25         154. Feras Antoon and other Enterprise members also had their own third-
  26 party shells with which to transact with MindGeek, and which they would favor.
  27 For example, Antoon had a shell company through which he would sign exclusive
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   1 deals with unknown porn performers and then use their control over MindGeek to
   2 promote those performers and increase the value of their content.
   3        155. The Bro-Club would also use control over MindGeek to permit known
   4 criminal organizations to use its sites to steal credit card information and personal
   5 identifying information and then receive a kickback or cut of the resulting illicit
   6 revenues.    As one whistleblower explained:
   7               Often when we talked to the company top management and
   8               they would say that they were making money in other
   9               ways.    Unlike a legitimate company, this company had no
  10               real capital management system. That permitted them to
  11               use capital to fund other businesses, including those that
  12               were not in porn. This included groups in the Ukrainian
  13               company accused by FBI of hacking. Why did they allow
  14               ads for bogus items like penis enlargement when you know
  15               it is a fraud?     Because those groups paid much more than
  16               market for those ads because it was really a way of
  17               searching for personal identifying information and using
  18               the data or selling the data to others. It would be used for
  19               blackmail. It alerted them that the user had been on
  20               Pornhub and then they would blackmail them by saying
  21               they knew what they were watching. Of course, MindGeek
  22               knows the purpose for this stuff. You need to get
  23               approval for advertising and they do research on the ads
  24               and the companies.       They knew the companies were not
  25               legitimate and the ads are fraudulent on their face.   These
  26               and other side operations would have revenues sharing with
  27               the people running MindGeek, but not through MG.
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   1               Executives would get paid to permit these the platform to
   2               be used for purposes other than maximizing the value of
   3               MindGeek.     In conversations with members it was
   4               obvious the Bro-Club had other revenue streams around
   5               Pornhub. 100% sure of that.     It was discussed.    I would
   6               put my hand in fire on it. Everyone gets a cut.
   7        156. Whistleblowers described one such scheme as follows:          Enterprise
   8 members or those associated with them would create “partner” accounts on
   9 MindGeek and use stolen credit cards to pay for memberships and content from those
  10 partner accounts as well as manufacture false traffic, ad impressions, and
  11 membership conversions. Independent of these partner entities, MindGeek would
  12 also use its sham shell companies and third-party agents to pay enterprise members
  13 or associates to use fraudulent credit cards to generate advertising impressions and
  14 thereby secure advertising revenues from those fraudulent impressions.
  15        157. Even though the bulk of these charges would likely be charged back
  16 eventually, MindGeek would pay the “partners” their share of the fraudulent notional
  17 revenue generated from the purchases as well as the actual revenue advertisers would
  18 pay MindGeek from the fraudulent ad impressions generated.        Even though these
  19 transactions triggered numerous red flags with MindGeek’s finance department, the
  20 Bro-Club and its capos would nevertheless direct finance to ignore the red flags and
  21 approve the transactions and payments.     Often, finance would be told to “not worry,
  22 we know those guys.”
  23        158. As part of these schemes, various steps would be taken to circumvent
  24 banking laws and oversight.    For example, the Bro-Club implemented $1 trial
  25 memberships and associated entities would use stolen credit cards to buy such
  26 memberships. The nominal transaction amount would not trip credit card company
  27 review and thus not be flagged as potentially fraudulent.     Although the Bro-Club
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   1 understood the fraudulent trial memberships would never translate into an actual
   2 paying membership, it had MindGeek nevertheless pay fees to the “partners” for
   3 generating a membership. As a result of these scams, MindGeek maintained a
   4 significant number of its large partner accounts that consistently broke even or lost
   5 money and which would have otherwise been terminated but for the fact they were
   6 part of the Enterprise.
   7        159. More egregiously, MindGeek devoted substantial time and resources to
   8 engineering its credit card transaction flow to avoid tripping credit card flags.   One
   9 such scheme was called “load balancing.”      In “load balancing” MindGeek would
  10 work with the same payment processors it used to commit its various credit card
  11 schemes to mingle suspect transactions with “clean” transactions.      This would cause
  12 the percentage of suspect transactions to remain below the percentage likely to
  13 trigger banking scrutiny, holds, and restrictions.
  14        160. There are various criteria banks use in this formula including the types
  15 of content and memberships being purchased.          As part of this scheme, MindGeek
  16 would enhance its ability to mask the fraudulent transactions by (a) paying its corrupt
  17 payment processors to fraudulently mix its payments with those of non-MindGeek
  18 entities; and (b) using credit cards MindGeek acquired (through, for example, pre-
  19 paid accounts) to generates its own clean transactions.
  20        161. In sum, the Enterprise used MindGeek and its network of sham shell
  21 companies to perpetuate a long-running and elaborate pattern of illegal schemes
  22 through which the Enterprise members enriched themselves. In addition, the
  23 Enterprise used this network of sham shell companies to mask their illicit activities,
  24 launder money, and evade taxes by making it difficult for any one jurisdiction to see
  25 suspicious transactions of magnitude and effectively investigate isolated transactions
  26 let alone the overall operation of the Enterprise’s schemes.    Finally, the Enterprise
  27 used the network of sham shell companies to defraud creditors and victims of their
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   1 illicit activities by surreptitiously “bleeding” and laundering assets out of
   2 jurisdictions in which MindGeek is likely to be sued and out of the MindGeek
   3 corporate structure entirely so as to make it more difficult or impossible for victims
   4 and other creditors to get obligations paid.
   5         2.    The Enterprise’s Human Trafficking Venture
   6               i.     The Pre-Online Porn Industry
   7         162. Prior to the explosion of online pornography, there was a relatively
   8 effective federal and state statutory framework policing child pornography, other
   9 non-consensual content, and copyright piracy in the porn industry.
  10         163. First, federal law mandates that “producers” of pornographic material
  11 verify the age of all performers via government issued identification; maintain
  12 specified signed records of such verification for inspection; and mark all
  13 pornographic materials with disclosures certifying this verification had been
  14 completed and where the records could be inspected. It was a federal felony to fail
  15 to meet these requirements.     The statute also makes it a federal crime “for any
  16 person” to “sell or transfer or offer for sale or transfer” any pornographic material
  17 that did not contain the required age verification disclosures.   This imposed a
  18 compliance obligation on those through whom producers sold pornography.
  19         164. Second, federal and state laws throughout the United States criminalize
  20 child pornography and impose near strict criminal liability for possessing or
  21 distributing such content.
  22         165. Third, federal and state laws also criminalized, among other things, sex
  23 trafficking as well as benefiting from a sex trafficking venture, such as the
  24 commercialization of pornography produced with trafficked individuals.          These
  25 anti-trafficking laws provided substantial criminal and civil sanctions for producing
  26 or monetizing non-consensual pornography.
  27         166. Fourth, copyright laws likewise imposed substantial criminal and civil
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   1 sanctions for the willful copyright piracy.
   2         167. Collectively, these various legal regimes effectively policed child
   3 pornography, non-consensual content, and copyright infringement in the pre-online
   4 industry.
   5                ii.   MindGeek Embraces Illegal Content To Dominate Online
   6                      Porn
   7         168. The explosion of online porn devastated the established porn industry
   8 and disabled the existing mechanism to police pornography. MindGeek was central
   9 to this disruption and resulting lawlessness in porn. From inception, MindGeek
  10 embraced under-age, non-consensual, and pirated content in its business; solicited,
  11 patronized, paid for, and placed such illegal content on its internet pornography
  12 platform; and aggressively lied about and concealed these facts.
  13         169. MindGeek’s motivation for its lawless business model was its singular
  14 priority of SEO:     that is, its objective to be the top result in any internet search for
  15 pornography and thereby maximize its website traffic, advertising impressions,
  16 customer conversions, and data harvesting.        Indeed, MindGeek publicly portrayed
  17 itself not as a porn company, but as a leading advertising, marketing, data, and SEO
  18 company.
  19         170. Several factors dominate SEO, particularly relevant content volume,
  20 effective content description, and website traffic.     Substantial content, effectively
  21 described, is the most important SEO factor. In addition, a website’s search engine
  22 prominence increases as more people visit it while searching for particular content.
  23         171. The birth of pornographic websites launched an arms race for maximum
  24 content responsive to all likely search topics; detailed “long-tail” descriptions, titles,
  25 and tags for that content; and maximum traffic and data capture.         As one
  26 whistleblower explained,
  27                what happen[ed] with Pornhub . . . is the fight they have on
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   1               Google results. And that’s where Pornhub lives or dies. . .
   2               . the fight they’ve had with sites like Xvideos, or
   3               XHamster, or XXX and XVideos . . . the fight they’ve had
   4               with rankings is just crazy.   And that’s the thing, . . . it[’]s
   5               about the long searches, it[’]s about the long tail that are
   6               the few searches but enough to matter.      And that’s where
   7               instead of you looking for one keyword, you’re looking for
   8               longer strings of words. And whoever is having more
   9               content and more diverse content, wins.
  10         172. To “win,” MindGeek intentionally elected to put no restrictions on the
  11 content it would accept, offer, and commercialize.      Like a soft-drink company
  12 selling different beverage types and flavors to capture all existing consumer tastes,
  13 MindGeek sought to service demand for all pornographic tastes, including tastes for
  14 child pornography, rape, extreme violence, racism and hate, and other illegal acts like
  15 bestiality.   As one whistleblower explained, “there is a lot of f***ed up sh*t that is
  16 going on” (asterisks added) on MindGeek’s tubesites, and “it is not an accident . . .
  17 ownership and management are clearly complicit . . . 100%” because “[i]t’s just
  18 money” they care about.
  19         173. MindGeek did this knowing that an unrestricted embrace of
  20 pornographic content would necessarily include enormous amounts of child
  21 pornography, non-consensual, and other illegal content on its sites.         It was
  22 impossible not to know this.     The pervasiveness of such content had necessitated
  23 the strict federal laws combating such content in the first place.     And it was widely
  24 reported, and certainly known by those in the pornography industry, that this
  25 problem had grown exponentially with the explosion of the internet.
  26         174. For example, NCMEC published a study in 2020 reporting that from
  27 1998 to 2019 there was an “insatiable demand” for internet CSAM/child
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   1 pornography, with millions of reported instances of such videos posted online,
   2 including 8.4 million in 2018, with a “trend toward more egregious sexual content in
   3 later years.”    Equally well known was the explosion of human trafficking on the
   4 internet and in pornography particularly.
   5        175. MindGeek saw these rapidly growing problems not as something to
   6 protect against, but as an opportunity.        MindGeek embraced illegal content
   7 precisely because that content would significantly enhance its SEO, traffic, ad
   8 impressions, and customer conversions.           Its legality or consequences were
   9 irrelevant, as an insider explained:
  10                 They focus on how much money I can make today. Right?
  11                 So they take risk because today it’s going to give you a
  12                 dollar. If you have to change your practices next month,
  13                 well we’ll get there. But right now this is making more
  14                 money.        Right, that’s the type of mentality that makes you
  15                 take those decisions. What’s going to help me make more
  16                 money. . . . 100% they are all about the money, not safety .
  17                 . . . they just see numbers, let’s be honest.
  18                 iii.     MindGeek Implements Its Embrace Of Illegal Content
  19        176. MindGeek’s embrace of illegal content in its business and SEO plans
  20 was complete.          It voraciously accepted, solicited, promoted, and normalized illegal
  21 content on its platform, and aggressively protected that exploitation by concealing it
  22 and attacking victims and others who put the use at risk.
  23                          a.     MindGeek Purchased Trafficked Content In Bulk
  24        177. Substantial portions of the purported “user” content on MindGeek’s
  25 tubesites was content produced by human traffickers that MindGeek itself
  26 commissioned or from whom it otherwise agreed to purchase.             It did this to increase
  27 its content and SEO exponentially more than it could have had it relied entirely on
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   1 actual user uploaded content.     It also allowed it to secure particular content that its
   2 SEO analysis revealed was generating the greatest ad impressions and paying
   3 customer conversion. And it allowed it to do these things much more cheaply.
   4 MindGeek used different variations to secure such content.
   5        178. First, monies necessary to pay for the production, middlemen, and
   6 uploading of the content were transferred from obscure and always different foreign
   7 subsidiaries to agents/middlemen without any paper trail as to what the payments
   8 were for.     Those agents/middlemen would handle all interactions with producers in
   9 Eastern Europe and Asia who offered the best quality for the cheapest prices.        This
  10 was dramatically cheaper than what such productions would cost in the United
  11 States, and MindGeek and the Bro-Club directing this scheme understood it was
  12 because the content was the product of trafficking. The finished content would then
  13 be transferred to the agent, who then transferred it for formatting to shell companies
  14 with whom the Bro-Club had financial interests or MindGeek partner channels who
  15 would do the formatting in exchange for favorable terms or monies disguised as
  16 partner channel payouts. The Enterprise was fastidious about avoiding any contact
  17 in the process with certain jurisdictions like Germany or the United Kingdom, which
  18 were viewed as the most rigorous in enforcing laws against trafficking.
  19        179. Insiders familiar with this elaborate scheme left no doubt that the Bro-
  20 Club understood this was trafficked content: “100% they knowingly paid real
  21 pimps. They would discuss how this cheap content was coming from old school
  22 pimps.      They found it exciting. They would explain, ‘we don’t need to pay studios
  23 in the US, low paid pimps come to us.’”
  24        180. Once formatted, the content would be uploaded by these entities and/or
  25 a network of agents who were paid to create user identities and upload content.
  26 Sometimes such content would be uploaded by MindGeek directly, either in Canada
  27 or Cyprus. Once uploaded the content would be analyzed for its SEO effectiveness,
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   1 ad impressions, and conversions, and the content as well as the formatting refined to
   2 maximize SEO.      Then additional orders would be placed using the same process.
   3        181. One insider described the process this way:
   4              MindGeek owns studios and works with studios. These
   5              studios produce high quality porn at high cost.       MindGeek
   6              determined that high quality porn doesn’t convert well on
   7              tubesites.     Most people want to see the girl next door and
   8              videos that seem more realistic.       To get this content they
   9              run networks of advisors who run agencies that acquire
  10              porn and cam videos from high trafficking areas like Czech
  11              Republic and sell in bulk to MindGeek entities all over the
  12              world or license companies that all actively feed the videos
  13              into the tube sites as user uploads.     Actively feeding
  14              content on the sites to make sure it does not touch North
  15              America, Germany, or the United Kingdom.           It is was
  16              clear to anyone in this industry that stuff out of eastern
  17              Europe is from trafficking. People within the company
  18              knew there were real pimps running these agencies and
  19              MindGeek knew it.       It was actively communicated among
  20              management especially in Cyprus who were the ones
  21              working to get stuff through it. ‘We don’t care,’ was their
  22              attitude. . . . MG affiliates will contract with a local agent.
  23              Local agent interfaces with the production companies.
  24              Agent gets it and sell it to MindGeek in bulk to their
  25              affiliates.    No employee can talk of these studios. Then
  26              they create identities and upload it through Cyprus and
  27              Canada.       They avoided UK and Germany.        The content
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   1               couldn’t touch the UK or Germany offices because
   2               enforcement and investigation risk was too much.         There
   3               were other means of bulk uploading. If huge partners have
   4               big studio that is part of MindGeek group.    You could
   5               give it to them and they upload it and they get better
   6               treatment and terms and share the revenue. MindGeek pays
   7               for it but steer business through agents and pay huge
   8               amounts to launder the money and uploading. So you
   9               can’t see it went to MindGeek or that it uploaded it.
  10        182. In addition to the general awareness that content from these regions was
  11 the product of extensive trafficking operations, MindGeek was aware the content was
  12 trafficking because it met with the producers and visited some of their production
  13 sites. In one such visit, MindGeek executives witnessed a football-field size
  14 warehouse in which women were crammed into adjoining studio stalls “like
  15 livestock” to perform on camera.     Many of the women appeared young and were
  16 engaged in scenes depicting underage girls.
  17        183. When asked by the producer where the women came from and lived, the
  18 producer unapologetically explained that his company had agents that scoured
  19 Eastern Europe for women who they recruited with promises of lucrative modelling
  20 jobs that would allow them to go to college and otherwise have a better life.   When
  21 those women agreed they were transported to dormitory style housing or apartments
  22 and matched with a “boyfriend” who would groom them for porn.
  23        184. Women who were victimized by this trafficking network reported that
  24 when they tried to leave, they were informed that their cam sessions had been
  25 recorded and if they did not continue performing the trafficker would send copies to
  26 their families and otherwise release them publicly and destroy their reputation and
  27 future.
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   1         185. Similarly, MindGeek allowed its platform to be used for prostitution.
   2 Like now defunct online marketplace BackPage (which was indicted along with its
   3 founders and seized by federal authorities), and Craigslist’s now defunct “personal”
   4 pages, MindGeek knowingly permits its platform to be used to facilitate trafficked
   5 prostitution.   The website is awash in third party advertisements for “Craiglist,”
   6 “Backpage, and other previously known sites where prostitution could be solicited
   7 from trafficked women.      Ad impressions and customer conversion for these services
   8 all generate revenue for MindGeek, and in some instances revenue sharing for it and
   9 select Bro-Club members.
  10         186. The Enterprise and Bro-Club repeatedly deflected concerns raised
  11 internally by finance people who were alerted when they realized MindGeek was
  12 paying numerous ostensibly independent cam models through a single account.
  13 This was a trafficking red flag, but the Bro-Club and its capos informed finance to
  14 ignore the red flags and continue payments because “they knew the people behind
  15 the account and it was ok.”
  16                      b.    MindGeek’s Unpoliced Platform
  17         187. MindGeek’s intentional use of illegal content was nowhere more
  18 apparent than the unrestricted ability to upload such content onto its tubesites.
  19 MindGeek’s own Social Media Manager publicly explained that it would be a
  20 “disaster” to try to restrict users and uploaders to adults because “then no one would
  21 upload anything,” it would “cost[] us money to verify,” “devastate[] traffic,” and
  22 “MindGeek loses money.”        This MindGeek spokesperson further warned that even
  23 pretextual restrictions would be unacceptable to MindGeek because some percentage
  24 of minors would not be able to figure out how to circumvent them:       “you would get
  25 around them, a lot of people here would too but the large majority won’t know how.”
  26         188. Consistent with this ethos, despite knowing illegal content would be
  27 uploaded without legitimate monitoring, MindGeek intentionally used an upload
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   1 process that would not filter out illegal content.   As one person familiar with the
   2 Bro-Club explained, “they knew they were doing illegal stuff,” but they refused to
   3 take any steps to restrict content or traffic because it would restrict SEO and revenue:
   4               No doubt. I’m sure . . . Were we planning any efforts to
   5               stop that? Absolutely not. Because of views. Every time
   6               you put an extra layer of control on who watches, you lose
   7               content. And it[’]s the same thing, in this case, if you put an
   8               extra layer of control on what content goes up, you lose
   9               content.   And content in this case is more pages, and more
  10               pages is more results, more results is more paid views.
  11        189. Thus, while non-pornographic tubesites with far less content uploaded
  12 on a daily basis (and far less users seeking illegal conduct) employed tens of
  13 thousands of “moderators” and sophisticated technology to ensure content was legal
  14 and complied with the terms of service, MindGeek’s uploading process ensured the
  15 opposite outcome of successfully uploading illegal content.
  16        190. Located in Cyprus because of the availability of cheap labor in a
  17 distressed economy, MindGeek’s sham moderation function consisted over time of
  18 as few as 6 but never more than about 30 untrained, minimum wage contractors for
  19 all of MindGeek’s tubesites and millions of videos uploaded daily.       These
  20 employees were untrained, could be terminated at will, and worked in cramped
  21 sweltering quarters that one eyewitness described as “inhuman.”
  22        191. It was, of course, impossible for such a minute number of individuals to
  23 actually watch and moderate the vast volume of daily videos uploaded.           As one
  24 eyewitness explained, “the official number was around 700-800 Pornhub videos a
  25 day but it was expected to do at least 900 Pornhub and depending on the day more
  26 videos for other sites for each person…the more experienced moderators did around
  27 1000 videos on Pornhub and around 150-200 videos on the other tubes.”
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   1         192. Indeed, their real function was formatting, and internally were called
   2 “content formatters,” not “content moderators.” As formatters, their task was not to
   3 moderate legality but format the videos for optimal SEO.       To do so, they would add
   4 or edit the title, tags, and descriptions and sometimes edit the video.    They also
   5 “scrubbed” words in the titles and tags that unequivocally indicated criminality.
   6 While the red flags of criminality were removed, the video would nevertheless be
   7 uploaded with optimized titles, tags, and descriptions that would still permit
   8 MindGeek’s search engine to suggest the video to users searching for that illegal
   9 content.
  10         193. As an insider familiar with the process explained:
  11               They basically went really fast with the content. It’s not
  12               like they are watching every Pornhub video.      They kind of
  13               like would scroll through it, make sure that the titles didn’t
  14               have anything awful, and that’s it. And it’s mostly about
  15               the titles you know? Because in the end if you can’t find it
  16               through a search, then no one who works against human
  17               trafficking will. Right?
  18         194. Demonstrating the task was formatting not moderation, MindGeek set
  19 unrealistic daily quotas of at a minimum 700-800 videos that bore no relationship to
  20 the time it would take to actually screen that content.   The quotas were based on
  21 how long it should take to format, not screen, the content.    Indeed, the quotas made
  22 it impossible to actually screen videos for prohibited or illegal content.
  23         195. Moreover, formatting supervisors clearly communicated that actually
  24 screening questionable or even obviously illegal content was not the formatters’ task.
  25 The goal was uploading content.      Thus, one insider explained that the woman with
  26 overall responsibility for formatting and ostensible “moderation” was a “sociopath”
  27 who would regularly “tell her team to just look the other way.”      According to
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   1 another insider, there was a motto drilled into formatters:    “Don’t f**k with the
   2 f**ker.” (Asterisks added).     As one whistleblower explained, a typical response to a
   3 formatter questioning legality of content would be:      “Imagine the trouble I will get
   4 in if we report this and take time and we don’t meet quota and you will lose your
   5 job.”
   6         196. When asked about the testimony of Feras Antoon and David Tassillo
   7 before the Canadian House of Commons in which Antoon and Tassillo testified
   8 under oath that every video was reviewed to ensure it was consensual, this
   9 whistleblower said bluntly, “it is a lie.”
  10         197. Contrary to the perjury before the Canadian House of Commons,
  11 MindGeek insiders knew obvious non-consensual content was uploaded and
  12 permitted to remain on Pornhub.       An insider explained one such notorious example
  13 that was common knowledge internally:
  14               I remember there was one girl, it was huge, from when I
  15               was there.    But she always seemed, in the videos she
  16               never looked okay.     Like I remember she was always
  17               high. I mean something that, according to the minimum
  18               rules of decency, you would at least have a bit of the type
  19               of thinking you know, ‘is it okay to have this type of
  20               content?     Is she really, you know in a state where she
  21               should be doing these videos?
  22         198. However, MindGeek did much more than permit illegal content to be
  23 uploaded and remain on its site. For example, MindGeek took all content uploaded
  24 without restrictions onto its Pornhub tubesite and transferred that content to its other
  25 tubesites as well.
  26         199. MindGeek also took all of the content from tubesites and partner
  27 channels it acquired like Redtube, YouPorn, Fake Taxi, etc., and transferred that in
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   1 bulk to its library without review.
   2         200. In addition, as part of its critical SEO process of supplying product for
   3 every taste and demand, MindGeek analyzed this illegal content, identified which
   4 examples performed better for their intended audience, and modified the formatting
   5 (titles, tags, and descriptions) of similar content to improve its performance and SEO
   6 generally.    This was done for all categories of content, including those depicting
   7 minors, rape victims, and other non-consensual conduct.
   8         201. The focus of this analysis was exclusively identifying which content,
   9 descriptions, and tags were trending and producing ad impressions and subscriptions.
  10 Those that were trending were further refined and tested to amplify them even more,
  11 and the conclusions drawn from that were applied to similar content.      What was not
  12 a focus at all was whether the content was in fact consensual or adult.    Nowhere in
  13 this process or elsewhere, did MindGeek comply with § 2257’s requirement that they
  14 secure proof of age where they were uploading material or its separate requirement
  15 that content being transferred by MindGeek contain the required certification of age
  16 certification from the producer.
  17         202. When MindGeek identified a title or tags that too explicitly flagged
  18 illegal content they would notify the user to change the title or change it themselves.
  19 But MindGeek would not disable the illegal video. For example, a member of the
  20 Pornhub model program, whose revenues were shared with MindGeek, had multiple
  21 videos of apparently underage women with titles indicating they were underage.
  22 One video of an apparently underage and incapacitate woman carried the viewers
  23 comments, “I thought she was dead until five minutes in” and “I don’t think that girl
  24 is old enough to buy lottery tickets.    If you catch my drift.”   The uploader
  25 originally titled the video, “delete your history after watching this” obviously
  26 flagging the video as child pornography. But then he changed the title and when
  27 asked why by other users, he explained, “Pornhub support told to change all titles.”
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   1         203. This analysis was also part of MindGeek’s suggested search and video
   2 algorithm by which it would solicit users to view similar content.     Thus, when a
   3 user, for example, searched for “teen sex,” MindGeek would present the most
   4 popular video results associated with that term, and solicit searches with a host of
   5 other more detailed terms used by others for similar content, like “barely legal teen
   6 sex,” “young teen sex,” “middle school teen sex,” etc. Investigators, advocates, and
   7 journalists following MindGeek’s suggestions easily found within a few clicks
   8 videos of obvious CSAM/child pornography or other forms of non-consensual sex
   9 where terms associated with that type of abuse, like “drunk,” drugged,” “passed out,”
  10 etc., were used.
  11         204. This was no accident. It was a product of MindGeek’s knowing,
  12 deliberate, and detailed understanding of the content on its site and effort to solicit
  13 people to watch that content and continue using the site.     As one insider explained,
  14 this knowledge and intent not only extended to, but emanated from, the Bro-Club
  15 running the platform:     “Well they know, they know everything that’s going on . . .
  16 they are very involved. For sure. . . . would Feras know? Absolutely. Would David
  17 know? Absolutely,” but, he further explained, “they don’t care” and “don’t’ even
  18 check” because all they care about is SEO and revenues.
  19         205. That same insider explained MindGeek had the capabilities to easily
  20 search for illegal content, but never did: “I’ve seen it, you can search any word, any
  21 video, you can look for the user, anything like any other database. . . . and the titles
  22 are there . . . so, why are they not searching for this and cleaning? . . . Because they
  23 want the content on their sites.”
  24         206. The only time MindGeek would voluntarily remove content was when
  25 this detailed analysis revealed the content was harming its SEO.      For example,
  26 through its constant analysis, MindGeek determined that male homosexual content
  27 on its more popular tubesites was interfering with its impressions and conversions
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   1 because when the suggested video and search algorithms suggests a gay video, a
   2 material percentage of users exited the website.    Accordingly, MindGeek
   3 affirmatively worked to reduce such content on the site by deleting it, transferring it
   4 to other sites, or segregating it.   No similar steps were taken when it became aware
   5 of illegal, nonconsensual content in its SEO work.
   6         207. The intentional exploitation of illegal content was further evidenced by
   7 MindGeek’s treatment of videos flagged by authorities, victims, and users as illegal.
   8 Such requests were ignored, stonewalled, and stalled as much as possible to preserve
   9 the use of the content for as long as possible.   This was especially a priority when
  10 the content was performing well, and MindGeek’s SEO analysts were trying to use
  11 that data to refine their algorithms to effectively solicit views of similar content from
  12 the same category of “consumers.”
  13         208. Thus, when victims would notify MindGeek that videos of their abuse
  14 had been uploaded, they were typically ignored unless the victims persisted.      Then
  15 they would be stonewalled with denials or demands for information that they could
  16 not possess in many instances. For example, in some instances, often victims were
  17 told that only the uploader could request a video be taken down; or they needed to
  18 provide the URL’s for the videos; or that the videos did not exist or could not be
  19 found when they did exist and could be found; or that they had been taken down
  20 when they had not been.
  21         209. Moreover, when victims or authorities succeeded in getting MindGeek
  22 to remove an illegal video, it would only disable the video but keep the webpage
  23 with its title, description, tags, and comments so that the video though disabled
  24 would still continue to increase SEO.      When a user searching for such content
  25 landed on the disabled video’s webpage, MindGeek’s search and video suggestion
  26 algorithms would solicit the user with similar videos to the one disabled.
  27         210. As one insider explained:
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   1               If you do it [a takedown request] through Pornh15-yearub,
   2               then Pornhub eliminates the video but keeps the page. So
   3               that page still has the titles and can still run from Google. . .
   4               . Because what they want is ad impressions, because that’s
   5               what they charge for, for their clients. It’s ad impressions,
   6               ad impressions, ad impressions.
   7        211. Indeed, to this day, one can run internet searches for known
   8 CSAM/child pornography or other non-consensual content that was ordered taken
   9 down by NCMEC or otherwise and the search will bring you to Pornhub even though
  10 that video is not enable. MindGeek’s algorithm will then direct you to similar non-
  11 disabled content.
  12        212. Much worse, according to multiple insiders, MindGeek systematically
  13 and surreptitiously would reupload all content that it had been forced to disable back
  14 to the system and do so in a manner in which it appeared to have been reuploaded by
  15 independent users and which circumvented MindGeek’s purported systems for
  16 identifying previously disabled videos. This is the reason why so many victims
  17 reported that even when they successfully got videos disabled, the same videos
  18 would be reuploaded again and again.
  19        213. One eyewitness to this process, explained that caches of disabled
  20 content “would be provided to employees on disks and they would be instructed to
  21 reupload those videos from non-MindGeek computers using specific email addresses
  22 that would allow the uploads to bypass MindGeek’s purported ‘fingerprinting’ of
  23 removed videos. . . . They say they kept the stuff on the servers to cooperate with
  24 authorities but it was really so they could reupload.”
  25        214. MindGeek has stated publicly and repeatedly that it retains on its servers
  26 all videos ever uploaded onto its tubesites.    This no doubt is necessary for its
  27 reuploading practice.    MindGeek, therefore, has throughout its existence illegally
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   1 possessed CSAM/child pornography, and reuploaded that CSAM/child pornography
   2 innumerable times.      Indeed, MindGeek, with duplicative servers in the United
   3 States and Canada (among other locations) is likely the largest non-regulatory
   4 repository of CSAM/child pornography in North America.
   5         215. Moreover, insiders explained that MindGeek provided a download
   6 button for users, in part, to facilitate the propagation of content, including illegal
   7 non-consensual content.      In effect, MindGeek knew and counted on users to
   8 download content, make new content and compilations, and then reupload it as new
   9 content or as a replacement for disabled content. In addition, MindGeek provided
  10 private albums and file sharing, which allowed users to exchange and trade any type
  11 of content without anyone else seeing it or MindGeek monitoring it.
  12         216. In this manner, MindGeek was facilitating criminal copyright
  13 infringement, and the transferring and distributing of CSAM/ child pornography or
  14 otherwise non-consensual content as well as otherwise legitimate pornography in
  15 violation of 18 U.S. § 2257 and CSAM laws.
  16         217. Despite admitted possession of massive amounts of child pornography,
  17 until 2020, MindGeek never voluntarily made a single legally required disclosure to
  18 authorities in the United States or Canada about that material under either countries’
  19 CSAM/child pornography laws.         MindGeek failed to do so even when its
  20 possession has been publicly reported. For example, in 2019, 58 videos of a 15-
  21 year who was beaten and raped were posted on Pornhub. These videos were
  22 ultimately removed, but as per the testimony of NCMEC during Canada’s
  23 parliamentary investigation, MindGeek had never reported any instances of child
  24 sexual abuse to NCMEC as required by federal law or reported to NCMEC’s
  25 counterpart under Canadian law until late 2020.
  26         218. Likewise, in 2020 two videos of child pornography – one involving a
  27 toddler in diapers being abused and another of a pre-pubescent girl being anally
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   1 raped – were located on Pornhub. After multiple reports MindGeek notified those
   2 flagging it that it the video had been disabled, fingerprinted, and reported to
   3 NCMEC.         But according to NCMEC’s own testimony, it was not reported to
   4 NCMEC.         Two months later the same two videos were discovered back up on the
   5 site, uploaded by two separate purposed user accounts. Investigators submitted
   6 takedown requests to Pornhub that were ignored. It was not taken down until it was
   7 reported to the FBI, the FBI notified NCMEC, and NCMEC issued a takedown order
   8 to Pornhub.      One reupload remained up for almost two weeks after the initial
   9 takedown requests and had over 20,000 views and an unknown number of
  10 downloads. Even after it was removed MindGeek left the title, tags, views and url
  11 live to continue driving traffic to the site using the child rape video.
  12         219.    Not only did MindGeek not report CSAM/child pornography it became
  13 aware of on its tubesites, it actively discouraged victims and others from reporting it,
  14 and lied to do so. For example, MindGeek tried to convince a victim of
  15 CSAM/child pornography not to report its presence on MindGeek’s tubesites and
  16 lied about MindGeek’s practice of not removing such content unless forced to do so:
  17 “You don’t need to report the urls to an agency, just flag them it[’]s very likely if
  18 it[’]s not removed it not illegal content. . . . We do have access to our entire upload
  19 library, including deleted videos and can confirm this.”
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  16                iv.   MindGeek’s Successful Exploitation of Non-Consensual
  17                      Pornography
  18        220. MindGeek’s plan to dominate the online porn industry with unrestricted
  19 use of all content regardless of legality succeeded. It has attained near monopoly
  20 status in the industry and is certainly dominant.
  21        221. As its business model of unrestricted content intended, the presence of
  22 non-consensual content was ubiquitous on MindGeek’s internet platform.         Simple
  23 Google searches even suggesting non-consensual content would invariably return
  24 Pornhub as the top search result. Pornhub’s suggested video and search algorithm
  25 would then direct users to similar content.   With each click the search was refined
  26 further and further. In just a few clicks, in just a few minutes, users (and
  27 investigators and journalists) could find seemingly unlimited pages and videos
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   1 depicting violent rapes, date and drugged rapes, child sexual assault or exploitation,
   2 coerced or trafficked subjects, secret and stolen recordings, or any other form of non-
   3 consensual conduct.
   4        222. Titles, descriptions, tags and comments with these videos and suggested
   5 by MindGeek were blunt, including: “CP” (i.e., child porn), “teen”, “young teen”,
   6 “barely legal”, “super-young teen”, “old/young”, “young”, “exploited teen”, “crying
   7 teen”, “little”, “xxxtra small,” “drunk girl”, “drugged girl”, and “passed out.”
   8        223. By way of example only, in just minutes of basic searches users,
   9 advocates, investigators, and journalists, and certainly those working fulltime to
  10 maximize MindGeek’s SEO, would easily find troves of:
  11               a.   homemade videos of adult males having sex with apparently or
  12                    obviously underage girls with titles such as, “Young Teen Gets
  13                    Pounded,” “Old Man with young teen,” “Young girl tricked,”
  14                    “Petite Thai Teen,” “A Club Where You Can Play With Little Girls
  15                    And It’s So Fun,” “Bratty Little Girl,“ “Giant guys f***ing with no
  16                    mercy this little whore while she’s crying” (asterisks added);
  17               b.   homemade movies of young boys being raped with titles and tags
  18                    such as “Barely legal step-son well used after school in uniform,”
  19                    “Young hairless twink gets slapped,” “Daddy f***s young teen boy
  20                    virgin first time” (asterisks added), “Daddy came home frustrated
  21                    and abused boy to crying”;
  22               c.   drunk, drugged or otherwise incapacitated women, often clearly
  23                    underage, being assaulted with titles and tags such as “Drunk,”
  24                    “Passed out teen,” “Passed out sex,” “Drunk and Passed Out Porn,”
  25                    “Passed out teen f***ed” (asterisks added), “Teen Totally Drunk
  26                    Passed Out Sex Video Free,” “Passed Out Naked Teens,” “Tinder
  27                    Girl Passed out at my House so I stuck it in her ass,” “Mexican
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   1                    Teen She’s to Drunk After Party Real Home Made!,” “Drunk girl
   2                    let’s me dominate her,” “Cute Amateur Teen Drunk And Stoned In
   3                    Ecstasy With Her First BBC On Drugs,” “F***ed sister hard in the
   4                    ass while she was drunk and sleeping” (asterisks added), “Drunk
   5                    girl gets handcuffed and abused,” “Teen gets drunk and
   6                    gangbanged”;
   7               d.   non-professional secret recordings, often of obviously underage
   8                    women, such as Asian high school students in a bathroom with
   9                    hidden camera with the title, “Stolen Teen’s secret peeing scenes”;
  10               e.   stolen underage pornographic videos with titles and tags such as,
  11                    “Amateur sextape stolen from teen girl[’]s computer”;
  12               f.   videos with extreme hate and racist themes such as “Black slave
  13                    girl brutalized” with comments including “yes f*** that n*****”
  14                    (asterisks added) “love seeing this little petite black whore tied up
  15                    like she belongs taking it in her black ass,” “Busty African Slave
  16                    Gets Pounded,” “African Busty sluts get tortured by white master,”
  17                    “You should get your own black slave,” “ Black slave girl
  18                    pleasures white master and call herself ‘N***** whore” (asterisks
  19                    added) and “Black slave Girls Made to Eat White Girl Asshole” or
  20                    anti-Semitic Nazi themed content (asterisks added).
  21         224. This content typically had compelling indicia (and often definitive
  22 proof) that they were not consensual.    And while some amount of such content
  23 could still be consensual despite this indicia, substantial percentages clearly were not
  24 or likely were not, and another large percentage appeared to be non-consensual with
  25 no way of knowing.
  26         225. Despite monitoring and analyzing the content on its platform like NASA
  27 monitors the space station, MindGeek did nothing to remove or even investigate this
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   1 patently abusive content or highly suspect content.    It failed to do so even when it
   2 was flagged by user complaints and comments.
   3          226. For example, for seven years Pornhub contained a video of a completely
   4 unconscious girl with underdeveloped breasts clearly being physically assaulted and
   5 raped.     The title of the video was “dead pig half-opened eyes after being drugged.”
   6 That this title was literally true was painfully obvious from the video.    The rapist
   7 repeatedly displayed the victim’s dilated, red eyes and even touched her eyeball to
   8 prove she was truly unconscious.      No moderator or search engine optimizer could
   9 have missed the obvious rape depicted in this video.
  10          227. Another example involved one of MindGeek’s most popular partner
  11 channels (and a constant focus of its SEO efforts), “Exploited Teens Asia.” A
  12 representative video on this channel involved a young girl in a child’s room
  13 surrounded by toys and stuffed animals.      She was being aggressively penetrated by
  14 an old man and she was crying out “karushi,” which meant “stop.”          Viewer
  15 comments demonstrated the obviously non-consensual nature of the video:
  16                Do we really know sex trafficking when we see it!!
  17                EXPLOITED TEENS ASIA she can’t be older than 15 or
  18                16. This is a real victim. In some moment she looks like
  19                she wants to cry. You can see that she doesn’t want this,
  20                you can see that she wishes he’d leave her alon! I can’t
  21                believe 9k liked the image of an old perv humping a
  22                helpless GIRL! Flag the f*** out of this and hopefully
  23                pornhub will remove it. My heart breaks for her.”
  24                (Asterisks added).
  25          228. Others comments likewise realized this was a rape:     “She is crying
  26 ‘kurushi’ meaning painful and begging him to stop!” and “She looks underage af”.
  27          229. The video had been up for 3 years and received over 4 million views,
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   1 certainly performance that MindGeek SEO would have closely analyzed and tried to
   2 recreate, and the comments had been up as much as 7 months before activists called
   3 out the video on twitter.   In response, MindGeek kept the title, description, and tags,
   4 and swapped out the video.
   5        230. At the end of 2019, a video of an undeniably intoxicated and
   6 incapacitated women being sexual assaulted was uploaded to Pornhub.        The video
   7 was categorized as “homemade,” titled as “Misadventures of a Drunk Girl,” and
   8 tagged in the category of “teen,” “teenager, young drunk, funny.”     The woman was
   9 stripped naked, unable to walk or stand, crawled when she did move, and ultimately
  10 was completely unconscious with her eyes rolled into the back of her head.
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  24               231. Viewer comments such as, “so hot. Love how drunk she is!”,
  25 confirmed her obvious incapacity as did, “I would take advantage of her all nite.
  26 dude’s smart for trying get her to drink more.    Bet he dumped loads in her stupid
  27 c*nt. I know I would.”       (Asterisks added).
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                232. Users who MindGeek directed to this video were then directed by
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       MindGeek’s suggested search and video algorithm to equally clear cases of rape.       In
  12
       one video, the drug needle used to render the victim unconscious was then inserted
  13
       into the vagina of the victim and zoomed in on. These videos were on the site for
  14
       years and accompanied by numerous comments flagging them as obvious rape.
  15
                233. Likewise, searches for “Pnp,” “meth,” “homeless,” “crack whores,”
  16
       “meth whores,” and other similar terms turned up countless videos of women who
  17
       were plainly incapacitated or having a debilitating drug addiction being exploited by
  18
       pimps and johns.
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                234. Another video on Pornhub for over four years captured the rape of an
  20
       Indian woman.      The video was not professionally produced. There was no indicia
  21
       of consent or performance.     Neither the uploader nor women were identified.      The
  22
       woman was clearly in distress and desperately trying to hide her face.     Two years of
  23
       user comments plainly flagged the video as rape:     “this is f***ing rape!!!!!!!
  24
       bastards!!!!!!!!” (Asterisks added).    MindGeek was aware of the video, its obvious
  25
       nonconsensual content, and the users’ comments.      Rather than remove the video
  26
       and page, Pornhub instead censored the word “rape” from the comments and left the
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       video.
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   1          235. For this video, MindGeek’s suggested search and video algorithm
   2 directed viewers to similar rape videos, including a young teen woman in obvious
   3 distress, crying, and trying to cover her face while her rape was recorded.     The
   4 video is titled and tagged “amateur teen” and “hot Indian teen.”
   5          236. Likewise, MindGeek’s suggested search and video algorithm directed
   6 users searching “Asian” to a cache of sadistic abuse videos.   Among this cache were
   7 a category in which underage appearing Asian women were being suffocated in
   8 plastic bags attached to a vacuum packing machine.      The women were thrashing
   9 and screaming.     They were not performing.     The videos were amateur, poor
  10 quality, and had zero indicia of consent.
  11          237. In another such video, another apparently underage Asian women was
  12 dragged onto a dirty balcony and submerged in a plastic tub of ice water.       Her
  13 assailants violently grabbing her hair and used their boots to force her head under the
  14 water.     They restrained her and sprayed her face from a hose when she tried to
  15 breath.    There was no indication of consent, only assault: the young woman
  16 shook, shivered, wept, gasped, and pleaded. She was not performing. When the
  17 men finally removed her from the tub, they continued to dose the collapsed,
  18 shivering woman with the hose before all urinating on her shaking body.
  19          238. Abuse videos were also common in MindGeek’s partner channels. For
  20 example, one of MindGeek’s official ModelHub partner accounts called PornForce,
  21 from which MindGeek received a cut of all revenue, had videos of obvious victims
  22 being exploited. For example, a video titled “Thai street teen” with the description
  23 “f***ed and facialized for $5” (asterisks added) showed a homeless and disabled
  24 Thai teen being penetrated and filmed “for $5.”    In the comments a viewer asked,
  25 “is she deaf,” and PornForce responded, “yes.”
  26          239.   Another ModelHub account was comprised of a man exploiting
  27 homeless teens in New Jersey in commercial sex acts.      The victims of this
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   1 exploitation were anally assaulted while crying and pleading for the abuse to stop.
   2 MindGeek’s suggested video and search algorithm would direct viewers of these
   3 videos to similar videos and suggested search terms of “abused teen,” “crying teen,”
   4 “exploited black teens,” “homeless teen,” and the like.
   5        240. In addition, MindGeek allowed its private premium accounts on
   6 Pornhub to be used as a secret marketplace to distribute illicit content, particularly
   7 CSAM/child pornography, for a fee, sometimes directly on the platform, sometimes
   8 through links to an external CSAM cache exchanged privately through the accounts.
   9 This trafficking included minors posting child pornography of themselves at the
  10 direction of predators and pimps.    The content, while private to other unsubscribed
  11 users, was visible to MindGeek, part of its SEO analysis, and included in Google and
  12 other search engine search result calculations and thus embraced and allowed to
  13 remain.
  14        241. Victims of this exploitation who tried to seek assistance from MindGeek
  15 consistently reported indifference to outright hostility, even in the most extreme
  16 situations. For example, one victim had the video of her rape uploaded to Pornhub
  17 with her personal information where it remained for months despite her desperate
  18 pleas until she hired a lawyer:
  19               It was terrifying, there were people on Twitter-sharing
  20               screenshots of them buying a train ticket saying they were
  21               going to come and rape me. I thought about killing myself
  22               it got so bad. Hundreds of thousands of people saw that
  23               -video, which I didn’t even know I still had. It was
  24               devastating. What a horrible, humiliating thing to do to
  25               someone. I moved in with a friend and put my flat on the
  26               market because I thought I was going to get raped. I had to
  27               change my whole life – leave my job, withdraw from
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   1              almost everybody I used to work with. I used to stay in my
   2              room all weekend crying because I couldn’t deal with it. He
   3              ruined my life. I came off social media completely and the
   4              only version of me that existed online was this persona that
   5              he created.
   6        242. Remarkably, MindGeek’s indifference was so callous it extended to
   7 even public outreach from victims, such as this victim who made her report to a
   8 MindGeek’s Social Media Director on social media:
   9              I was away on an international business trip when I met a
  10              man at a hotel bar and went back to his room to have sex . .
  11              . . Recently my friend sent me a Pornhub video and said it
  12              looked like me.      I looked at it and it was me having sex in
  13              the hotel room with thousands of views.       My face was
  14              clearly visible in parts.   The video had an insulting title
  15              calling me a slut.    The channel it was on featured a dozen
  16              other videos of the same guy having sex with different
  17              women in hotel rooms with the same amateur quality . . . . I
  18              tried flagging the video with no results. I want the video
  19              taken down and the guy punished, but I’m really not sure
  20              what to do.
  21        243. Pornhub’s only response to this report was to send the victim a link to
  22 their site’s takedown page.
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  15        244. The same abuse occurred on Pornhub Gay.       A simple search for
  16 “daddy and son” produced oceans of unprofessionally produced videos of very
  17 young looking boys with the titles saying “REAL Father Son” and other videos of
  18 distressed young hairless boys being penetrated by older men. Other cases of
  19 CSAM/child pornography involved underage boys were videotaping themselves in
  20 sex acts, with video titles like “13 yr old boy” and “14yr old.”
  21       245. Like many videos on Pornhub, these abuse videos frequently ran a
  22 Pornhub Live ad or other advertisement before playing the video and were
  23 surrounded by other ads for which Pornhub was paid. Some of these videos had
  24 millions of views alone. The “categories” collectively had many millions more,
  25 evidencing the significant contribution unrestricted access to nonconsensual content
  26 was to MindGeek’s business model.
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   1               3.     MindGeek’s Criminal Use of Nonconsensual Content is
   2                      Revealed
   3         246. Even if the defendants otherwise had no knowledge of the illegal
   4 content MindGeek was monetizing on its platform, they could not have avoided the
   5 numerous alarming high-profile reports of egregious non-consensual content on their
   6 platform.
   7         247. For example, after Taiwanese playboy Justin Lee was arrested by
   8 Taiwanese police for the date rape of dozens of women from 2009 through 2014,
   9 some minors, police reported that Lee had recorded those rapes and posted them on
  10 Pornhub. MindGeek, in turn, transferred those videos to its other tubesites and to
  11 hundreds of users who downloaded those videos from those sites.        Obviously, none
  12 of the videos uploaded and none of the transfers complied with federal law on age
  13 and consent verification. And MindGeek’s purported “robust team” of “expertly
  14 trained” moderators and state of the art technology did not stop the videos depicting
  15 clearly incapacitated women being raped from being uploaded by Lee and transferred
  16 by MindGeek.
  17         248. Although Lee’s arrest, conviction, and criminal conduct, including his
  18 uploading of the rape videos to Pornhub, were highly publicized worldwide,
  19 MindGeek kept those rape videos on its site for years thereafter. Even today, after the
  20 videos are no longer viewable on MindGeek’s tubesites, MindGeek continues to
  21 benefit from those uploads and transfers as searches for such tapes on leading search
  22 engines will still direct searchers to Pornhub, where the tubesite’s search engine will
  23 direct the users to similar content categories of content like “celebrity sex tapes.”
  24         249. In February 2018, a Pornhub user repeatedly flagged child pornography
  25 being uploaded repeatedly to Pornhub’s gay content categories.       One of those users
  26 told MindGeek, “[p]lease remove all pictures in the gay category starting with
  27 [XXXX] in the title.     They contain underage children.    Some of whom look 7 or 8
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   1 years old. Its disgusting that this has slipped through, two nights in a row.      Does
   2 this material get screened.   I’ll be checking to see if the content has been removed.”
   3 Again, MindGeek permitted this illegal content to be repeatedly uploaded and
   4 transferred to its other tubesites despite its obviously illegal nature and despite being
   5 explicitly being flagged by users.
   6          250. From 2013 through at least part of 2020, MindGeek’s tubesites
   7 contained hundreds of videos of child pornography created in video chat service
   8 Stickam chat rooms until those chat rooms were shut down in 2014 as part of one of
   9 the largest internet child pornography convictions in history, involving the sextortion
  10 of over 350 minors via the video chat service.     Despite the highly publicized
  11 investigation and conviction, for years, those child pornographic videos and
  12 compilations of those videos were ubiquitously uploaded by MindGeek users and
  13 transferred by MindGeek to its other tubesites and to users downloading the videos.
  14 They remain on its servers to this day.
  15          251. From 2013-2017, New York resident Nicole Addimando’s husband
  16 physically abused and raped her, and subjected her to sodomy with objects, vaginal
  17 torture with heated spoons, and being left for extended periods of time and in
  18 degrading and painful positions. These assaults were videotaped and posted to
  19 Pornhub. Pornhub not only permitted those uploads, it transferred those videos to
  20 its other tubesites.   Even after Addimando’s abuse and Pornhub uploads became
  21 highly publicized, videos of the assaults remained on MindGeek’s tubesites and were
  22 uploaded, downloaded, and transferred by MindGeek numerous times.            Those
  23 videos remained on MindGeek’s tubesites as late as 2019 and remain on its servers
  24 today.     To this day, a search engine inquiry of “Nicole Addimando Sex Tape” will
  25 result in the top two search results being to Pornhub with the result stating: “Nicole
  26 Addimando” and “Watch Nicole Addimando porn videos for free, here on
  27 Pornhub.com.      No other sex tube is more popular and features more Nicole
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   1 Addimando scenes than Pornhub!”
   2         252. From 2014-2015, 49-year-old Dawn Giannini sexually abused a 14-
   3 year-old relative, recorded the abuse, and posted those recordings on Pornhub.
   4 MindGeek not only permitted the obviously underage assault and child pornography
   5 to be uploaded to Pornhub, it transferred those videos to its other tubesites.       The
   6 videos were viewed by the victim’s friends at school, one of whom ultimately alerted
   7 the authorities leading to Giannini’s arrest in 2018. Those videos were still present
   8 on MindGeek sites as late as 2019 and remain on its servers today.           To this date, a
   9 search of “Giannini sex tape” on Yahoo produces a Pornhub search result listed third,
  10 for “Dawn Giannini Porn Videos” and the message “Watch Dawn Giannini porn
  11 videos for free, here on Pornhub.com. . . . No other sex tube is more popular and
  12 features more Dawn Giannini scenes than Pornhub!”
  13         253. In the fall of 2019, the Internet Watch Foundation, the United
  14 Kingdom’s private internet watchdog for child pornography, reported to the Sunday
  15 Times that it had been notified of 118 instances of child pornography on Pornhub by
  16 the public over the prior 2.5 years, increasing each year.     Half of that child
  17 pornography was Category A, the worst kind of abuse involving penetration and/or
  18 sadism.     MindGeek permitted the upload of this child pornography and transferred
  19 it to its other tubesites and never reported it the authorities as it was required to do in
  20 the United States and other jurisdictions where its servers are located.        That child
  21 pornography remains on MindGeek’s servers to this day.
  22         254. The Sunday Times’ own investigation in 2019 confirmed that Pornhub
  23 was “flooded” with illegal content that it failed to remove even after the paper had
  24 notified it of that illegal content:
  25                the world’s most popular porn website [Pornhub] is flooded
  26                with illegal content . . . . Pornhub is awash with secretly
  27                filmed “creepshots” of schoolgirls and clips of men
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   1                performing sex acts in front of teenagers on buses. It has
   2                also hosted indecent images of children as young as three. .
   3                . . The website says it bans content showing under-18s and
   4                removes it swiftly. But some of the videos identified by this
   5                newspaper’s investigation had 350,000 views and had been
   6                on the platform for more than three years. Three of the
   7                worst clips that were flagged to Pornhub still remained on
   8                the site 24 hours later. . . . The Sunday Times found dozens
   9                of examples of illegal material on the website within
  10                minutes. It followed research by the campaign group
  11                #NotYourPorn, which identified revenge porn videos and
  12                clips filmed by secret cameras. . . . One account, called
  13                “Candid teen asses,” is devoted to posting covertly filmed
  14                “creepshots” showing UK girls in school uniform. Another
  15                features clips of a man performing sex acts among young
  16                concertgoers, rubbing up against them in a crowded music
  17                venue. . . . While Pornhub has blocked users from
  18                searching terms such as “underage” and “child porn,”
  19                synonyms including “jailbait,” “very young girl” and
  20                “lolita” can still be used to find content. . . .
  21        255. In response, the MindGeek disinformation machine disseminated
  22 blatantly false denials from a fictious spokesman who does not exist, but who was, in
  23 fact, MindGeek VP Corey Urman.            As the Sunday Times reported, “Pornhub said it
  24 had a ‘robust internal policy’ for removing offending material, including ‘expertly-
  25 trained human reviewers’ and ‘scanning content to determine whether it is
  26 consensual.’     Blake White, its vice president, said child sexual abuse made up a tiny
  27 proportion of content and the aim was to eradicate it. ‘It is important to note that
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   1 oftentimes videos described as ‘hidden camera footage’ or ‘young teen’ are in fact
   2 legal, consensual videos that are produced to cater to various user fantasies,’ he said.
   3 ‘They are in fact protected by various freedom of speech laws. Certain words are
   4 banned from being used in titles and tags, and we will be doing a thorough audit of
   5 our websites to update and expand this list.’”
   6         256. Even months after this reporting, on or about March 10, 2020, four
   7 videos of child pornography were uploaded to Pornhub depicting men abusing a
   8 toddler in diapers and a pre-pubescent child bound and being raped anally while
   9 crying for the abuser to stop. At the time, Pornhub publicly admitted that these
  10 videos had been uploaded on its site, and misrepresented that they had been removed,
  11 “fingerprinted” so they could not be reuploaded, and reported to NCMEC.        Two
  12 months later, two of the videos were reuploaded to Pornhub by two separate Pornhub
  13 accounts to the website, had thousands of views, and were the subject of takedown
  14 requests to Pornhub. Pornhub, however, refused to remove the videos for over ten
  15 days, during which time they were viewed tens of thousands of times, and only did
  16 so when the FBI became involved, reported it to NCMEC, and NCMEC instructed
  17 Pornhub to disable the video.    Although Pornhub disabled the video, it left the video
  18 page, title, tags, and user on its site, did not cancel and remove the uploading
  19 accounts or review those accounts for the offending videos or other offending videos.
  20 Indeed, to this day, if one googles the title or user, Pornhub remains the number one
  21 search result. Although the video is not available, Pornhub directed you to similar
  22 content identified by its algorithm.
  23         257. From 2009 through 2020, one of Pornhub’s most popular Content
  24 Partners, GirlsDoPorn, and its founders produced pornographic content through
  25 trafficking women and minors. In 2016, these allegations were made public when
  26 twenty-two women sued GirlsDoPorn for being trafficked, and in 2019,
  27 GirlsDoPorn, its founders, and others were indicted on federal trafficking charges.
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   1 The website was shut down in early 2020, shortly after the indictment and the flight
   2 of its founder to New Zealand to avoid arrest, where he remains a fugitive.     Ruben
   3 Andre Garcia, one of the traffickers involved in the GirlsDoPorn trafficking
   4 operation, was sentenced to twenty years in prison on June 15, 2021. This human
   5 trafficking ring was one of Pornhub’s most popular partner channels, with nearly
   6 800,000 subscribers and over six hundred million views, and was heavily promoted
   7 by MindGeek.
   8         258. The channel was so lucrative, and MindGeek so indifferent to
   9 monetizing non-consensual content, that MindGeek kept the channel on its site and
  10 collected revenue from it even after learning of the initial civil lawsuit and did
  11 nothing to investigate the allegations. Pornhub continued to host and monetize this
  12 trafficked content until the company and its founders were indicted and the website
  13 shutdown.     Nevertheless, even after the formal channel was disabled, trafficked
  14 GirlsDoPorn content was ubiquitous on MindGeek’s tubesites and its internal search
  15 engine would regularly direct users to those videos.     As of October 2020, a simple
  16 search of “GDP” would result in over 300 videos and images of those victims.
  17         259. In late 2019, it was widely reported that a “verified” member of
  18 Pornhub’s model program was actually a trafficked 15-year-old girl who had been
  19 missing for approximately a year.     MindGeek allowed the uploading of fifty-eight
  20 videos of this child being raped to its “verified” model channel and transferred those
  21 videos to its other tubesites.   MindGeek never reported this child pornography to
  22 NCMEC or CP3 as it was legally required to do according to NCMEC’s testimony
  23 before the Canadian Parliament’s Ethics Committee.
  24         260. Once again, MindGeek’s response to these reports was to disavow any
  25 responsibility or knowledge, here claiming that the child had been “verified” as an
  26 adult with “valid ID”: “ @luxliv3s Hey Lix, she is a verified model with valid ID.”
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  10        261. This, however, was a lie.     MindGeek knew that it had never reliably
  11 verified the age of the 15 year old missing girl because the law requires all
  12 participants in filmed sex acts to be 18 years old. Rather, MindGeek wanted to
  13 continue to profit from advertising impressions from, and sales of the videos.
  14               4.     Plaintiffs are Exploited by MindGeek’s Trafficking Venture
  15                     i.     Serena Fleites
  16        262. In 2014, eighth grader Serena Fleites learned that a nude, sexually
  17 explicit video her high school boyfriend had coerced her to make months earlier had
  18 been uploaded to Pornhub without her knowledge or consent. She was just 13 years
  19 old in the video.    The video titled “13-Year Old Brunette Shows Off For The
  20 Camera,” immediately went viral on Pornhub. By the time Serena discovered the
  21 video, it had more than 400 views, and had been widely disseminated throughout her
  22 school and neighborhood.
  23        263. Too embarrassed to disclose the video to her mother, teacher, or
  24 principal, Serena reached out to Pornhub directly impersonating her mother, and
  25 demanding the video be removed:       “this is child pornography, my daughter is a
  26 minor and only 13 years old.”     Approximately two weeks passed before Pornhub
  27 responded to Serena.     When Pornhub did respond, it acknowledged the video
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   1 contained CSAM and agreed to take it down.        Yet another one to two weeks went
   2 by before the video was removed from its site.
   3        264. During the months before the video was removed, it was downloaded
   4 countless times and reuploaded by different users and with different titles.   In the
   5 months and years that followed, Serena regularly received messages on social media
   6 from strangers attaching screenshots and active Pornhub links to her video.     Each
   7 time Serena learned the video had been reuploaded, she recommenced the process to
   8 have the video removed.       One of the uploads had 2.7 million views.   Others had
   9 hundreds of comments noting that Serena could not be more than a teenager.       Yet,
  10 Pornhub still took weeks to take each video down, each time requiring Serena to
  11 provide photographic proof that she was the child depicted in the video before
  12 removing it from its site.
  13        265. The dissemination was not limited to Pornhub.       The original Pornhub
  14 video depicting 13-year-old Serena was downloaded and then reuploaded countless
  15 additional times to other pornography sites and widely disseminated through email
  16 and other forms of electronic communication.
  17        266. In response to the viral dissemination of the video, Serena was bullied
  18 and harassed.    Classmates demanded that Serena send them sexually explicit videos
  19 of herself and threatened to disclose the sexually explicit video to Serena’s mother or
  20 to her school if she did not comply.    The ongoing harassment sent Serena into a
  21 downward spiral. She began to regularly skip school which resulted in Serena
  22 receiving a truancy notice.     Serena’s mother, still unaware of Serena’s sexually
  23 explicit video on Pornhub, and frustrated with Serena’s failure to regularly attend
  24 school, suggested Serena move in with her sister. Serena agreed. Serena, no
  25 longer able to face her classmates who incessantly harassed and bullied her,
  26 unenrolled from high school, and commenced an online high school program.
  27        267. Approximately one year later, Serena moved back in with her mother.
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   1 She was depressed, hated her life, and in a failed suicide attempt, hung herself in the
   2 bathroom. She was found by her younger sister and her mother’s boyfriend who
   3 removed the power cord from her neck. Serena received treatment by paramedics
   4 and was admitted to a mental health facility in Bakersfield.
   5        268. The downward spiral precipitated by the viral dissemination of her nude
   6 video continued for years.       Following her failed suicide attempt and hospitalization,
   7 Serena avoided going back home and facing judgment from her family and
   8 community. In need of a place to stay, she reached out to a female friend who had
   9 experienced similar mental health challenges. Serena went to visit her friend, who
  10 she discovered was using methamphetamine.           While staying at her friend’s house,
  11 Serena was introduced to heroin by an older male who she subsequently began to
  12 date, became addicted, and struggled with addiction for the next three years.      To
  13 fund their joint heroin habits, the older man manipulated Serena, who was still a
  14 minor at the time, into creating sexually explicit videos of herself, which were then
  15 sold on Craigslist and the Kik app.      Serena subsequently learned that once sold,
  16 some of the videos were uploaded to Pornhub without her knowledge or consent.
  17 These videos were still on Pornhub as recently as June 2020.
  18        269. Although Serena is now sober, the long-term effects of Pornhub’s
  19 wrongdoing continue to this day.       The CSAM videos continue to be accessible on
  20 Pornhub as recently as last year.      Moreover, the original Pornhub videos of Serena
  21 continue to be disseminated through other platforms, including on MindGeek
  22 affiliated sites and other pornography sites.     Serena remains estranged from certain
  23 family members.         Throughout various stages of the past five years she was
  24 homeless and lived in her car.      She continues to suffer from depression and anxiety
  25 and has attempted suicide on multiple occasions over the years.
  26                   ii.         Jane Doe No. 1
  27        270. Beginning at age 7, and continuing for more than 21 years, Jane Doe
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   1 No. 1 was raped, trafficked, and exploited by a ring of Hollywood men and New
   2 York financiers, including Jeffrey Epstein.    These interactions were often recorded
   3 and since no later than 2007 have been widely and continuously distributed on
   4 Pornhub.
   5        271. The first recording was made in a garage in Maryland in or about 2001-
   6 2002 when Jane Doe No. 1 was 10 years old. The next year, Jane Doe No. 1 was
   7 “sold” to another trafficker in New York.     She was trafficked by this man and his
   8 organization in various states along the East Coast, and was forced to provide escort
   9 services and film pornographic videos and livestreams.     The videos were produced
  10 in various warehouses.
  11        272. In 2004, Jane Doe No. 1 was transported to Florida, where she was
  12 introduced to Jeffrey Epstein and other men. Jane Doe No. 1 was directed to give
  13 Epstein “massages,” which the New York Times explained was a known code word
  14 for sex among Epstein’s inner circles.   She was transported to Epstein’s properties
  15 in New York, Palm Beach, Florida, and his private island, Little St. James in the U.S.
  16 Virgin Islands, which she visited on multiple occasions. This went on throughout
  17 her middle school and high school years and ended right before she started college.
  18        273. Jane Doe No. 1 is aware of at least seven explicit videos of her on
  19 Pornhub between 2011 and 2016, as well as at least one recording from a livestream.
  20 The videos were filmed in warehouses in multiple locations in California.    The
  21 seven videos were uploaded multiple times on Pornhub. In some instances, Jane
  22 Doe No. 1’s traffickers forced her to actually upload and reupload old videos of
  23 herself as a form of punishment.
  24        274. Jane Doe No. 1’s therapist assisted her with takedown requests, but she
  25 was not successful in having them all removed.
  26        275. The years of sexual abuse and exploitation caused Jane Doe No. 1 to
  27 suffer from an eating disorder and substance abuse.    These conditions forced Jane
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   1 Doe No. 1 to take a leave of absence from college. She continues to receive
   2 medical treatment for the emotional distress she suffered.
   3                  iii.      Jane Doe No. 2
   4        276. At age 15, Jane Doe No. 2 was blackmailed by now convicted child sex
   5 offender, Abdul Hasib Elahi, into sending him sexually explicit photographs and
   6 videos.    These photographs and videos were widely disseminated on MindGeek’s
   7 tubesites, including Pornhub, without her knowledge or consent.
   8        277. In 2017, Jane Doe No. 2 received an unsolicited message from a
   9 stranger on What’s App, who was later identified to her by law enforcement as Elahi.
  10 Elahi blackmailed Jane Doe No. 2 with a naked photograph of herself and threatened
  11 to send the photograph he had to her friends and family if she did not send additional
  12 photographs and videos.     Although he acknowledged that she was a minor, he
  13 demanded eighty photographs of her in underwear, eighty nude photographs, a three-
  14 minute video of her removing her clothing, a three-minute video of her engaged in
  15 vaginal and anal masturbation, and a video of her spitting on herself.   He demanded
  16 that the photographs and videos be full body and that her face be exposed. Fearing
  17 that he would carry through on his threat to disclose the photographs he had already
  18 obtained, Jane Doe No. 2 complied with his demands.
  19        278. Thereafter, Elahi demanded that Jane Doe No. 2 send additional
  20 photographs and videos, including videos of her drinking her own urine and eating
  21 feces. Elahi again threatened that he would release the photographs and videos he
  22 had of her if she did not comply.   This time Jane Doe No. 2 refused.
  23        279. In or about September 2018, Jane Doe No. 2, then 17 years old, learned
  24 that the nude and sexually explicit photographs and videos Elahi had extorted were
  25 on Pornhub.     That same month, one of Jane Doe No. 2’s classmates posted one of
  26 the videos to Snapchat.    The video was screen recorded from Pornhub.
  27        280. Jane Doe No. 2 immediately contacted the police.      Then she contacted
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   1 Pornhub and demanded that the photographs and videos be removed.            Pornhub
   2 complied with Jane Doe No. 2’s demand, but the photographs and videos were
   3 immediately re-uploaded, along with Jane Doe No. 2’s personal information,
   4 including her home address and family’s social media accounts.         Throughout the
   5 fall of 2018, Jane Doe No. 2 received hundreds of follow requests daily on her social
   6 media accounts and dozens of messages a week forwarding links to her videos on
   7 Pornhub. The active Pornhub links were viewed hundreds of thousands of times.
   8 Pornhub viewers also forwarded the videos and photographs of Jane Doe No. 2 to her
   9 mother and father.
  10         281. Each time Jane Doe No. 2 contacted Pornhub about subsequent uploads,
  11 she was informed that a link to the video was required to take the video down.
  12 However, she could not always locate the links to the video and photographs that
  13 were sent to her, and when she raised this issue, Pornhub directed her to upload the
  14 videos she was requesting be taken down to a third-party site it controlled.        Of
  15 course, Pornhub was not even legally allowed to take possession of the videos which
  16 contained child pornographic materials (nor was Jane Doe No. 2 legally allowed to
  17 possess or upload child pornography). Jane Doe No. 2 informed Pornhub of these
  18 facts, that the situation led her to be suicidal, and threatened legal action if the videos
  19 and images were not immediately removed. Pornhub ignored her, and she never
  20 contacted Pornhub again.      As of December 2020, there were at least five separate
  21 links to Jane Doe No. 2’s video still active on Pornhub.
  22         282. Pornhub’s lies were subsequently revealed in January 2021, when in
  23 response to a cease and desist letter from counsel, MindGeek purported to conduct
  24 independent searches to facilitate the removal of all content depicting Jane Doe No. 2
  25 from all the sites under the MindGeek “umbrella.”        Moreover, despite MindGeek’s
  26 claim that all content is reviewed prior to upload, its director of legal affairs
  27 conceded the high volume of CSAM takedown requests and sought to facilitate a
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   1 mechanism to respond to these requests and accelerate response times in the future.
   2        283. In the months and years following the initial 2017 upload of Jane Doe
   3 No. 2’s nude and sexually explicit videos and photographs she has been subjected to
   4 severe harassment.      Individuals who viewed her videos reached out to her through
   5 social media, denigrating her, and accusing her of posting the content intentionally
   6 and requesting additional content.    Two years later, she continues to receive regular
   7 messages and requests through social media.
   8        284. The illegal dissemination of CSAM and ongoing harassment has caused
   9 Jane Doe No. 2 to suffer severe anxiety, panic attacks, and body dysmorphia that led
  10 to significant weight loss, to a low of just 80 pounds.   Jane Doe No. 2 suffered from
  11 suicidal thoughts and has attempted suicide on more than one occasion.     Jane Doe
  12 No. 2’s anxiety is so severe that she rarely leaves her home because she fears that
  13 someone will recognize her from one of the Pornhub videos or photographs. This
  14 anxiety caused her to quit her job and resort to online work that does not necessitate
  15 going out in public.
  16                   iv.       Jane Doe No. 3
  17        285. Just days after Jane Doe No. 3 returned home from her junior year of
  18 college, she learned that a video her high school boyfriend had coerced her to take
  19 during spring break her senior year of high school had been uploaded to Pornhub
  20 under the title “Young Stepsister Stripped.”    The video depicted Jane Doe No. 3, at
  21 age 17, removing her clothing and engaging in sexually explicit acts.    At the time
  22 Jane Doe No. 3 discovered the video on Pornhub, it had more than 234,000 views
  23 and had been downloaded and reuploaded countless times.
  24        286. Immediately upon discovering the video, on May 27, 2020, Jane Doe
  25 No. 3 contacted Pornhub, informed Pornhub that she was a minor in the video, did
  26 not consent to the posting of the video, and demanded the video immediately be
  27 removed.     Later that same day, Jane Doe No. 3 received an e-mail from Pornhub
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   1 confirming that the video “will be” removed but stating that “we offer no guarantee”
   2 that the video will not be re-uploaded.     It took seven days before Pornhub
   3 confirmed on June 3, 2020 that it had “removed the video.”
   4         287. By the time Jane Doe No. 3 secured the takedown of her video, it had
   5 had been widely disseminated throughout her college campus and her hometown.
   6 Horrified and embarrassed, Jane Doe No. 3 withdrew from the college she was
   7 enrolled in at the time. She googled her name daily to confirm the videos had not
   8 been reuploaded.        She deleted all her social media accounts. She suffered from
   9 severe anxiety and depression and was prescribed medications for those conditions.
  10 She continues to undergo medical treatment for emotional distress.
  11                    v.        Jane Doe No. 4
  12         288. At the age of 16, Jane Doe No. 4 was videotaped, without her consent,
  13 performing oral sex on another minor.       That video was then posted to MindGeek’s
  14 tubesites, including Pornhub, without her knowledge or consent.
  15         289. In 2016, Jane Doe No. 4 was coerced by her then 15-year-old boyfriend
  16 to perform oral sex in the backseat of his parent’s rental car.   Jane Doe No. 4, who
  17 at the time of the incident resided in California, had traveled to Florida on vacation
  18 with her family to meet her New York-based boyfriend.        The two had been
  19 conversing through Facebook for several years and the relationship had turned
  20 romantic.    During the sex act, Jane Doe No. 4 discovered that her boyfriend was
  21 filming her. She immediately demanded he stop, but he continued to film the
  22 encounter.    Afterwards, she demanded that he delete the video.
  23         290. Two years later in June 2018, Jane Doe No. 4 learned through a
  24 classmate of her boyfriend that the nonconsensual video had been uploaded to
  25 Pornhub two years earlier.      Consistent with her minor status at the time the video
  26 was recorded, the video title included references to “teenager,” and “amateur.” The
  27 classmate identified Jane Doe No. 4 as the girl in the video, including accurate
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   1 descriptions of Jane Doe No. 4’s hair style, and the glasses and jewelry Jane Doe No.
   2 4 was wearing the day of the sexual encounter in Florida.    The CSAM video was
   3 disseminated on Pornhub without Jane Doe No. 4’s knowledge.
   4        291. Jane Doe No. 4 sought treatment from mental healthcare professionals
   5 and has been diagnosed with post-traumatic stress disorder. She has a physical
   6 reaction whenever she sees or hears something that reminds her of this traumatic
   7 experience and, accordingly, has difficulty maintaining a job.   She continues to
   8 suffer from severe emotional harm.
   9                  vi.      Jane Doe No. 5
  10        292. During her freshman year of high school, Jane Doe No. 5’s 17-year-old
  11 boyfriend videotaped the two engaged in a sex act in Jane Doe No. 5’s bedroom
  12 without her knowledge or consent.     Jane Doe No. 5 first learned of the sex tape four
  13 years later when a classmate’s parent informed her father that the video was on
  14 Pornhub. She was just 14 years old in the video.
  15        293. Immediately upon learning of the video, Jane Doe No. 5’s father
  16 contacted law enforcement and demanded that the video be removed.        Pornhub
  17 complied, but the damage had already been done.      By the time Pornhub removed
  18 the video, the link had been disseminated throughout Jane Doe No. 5’s school.
  19 Moreover, the video was repeatedly reuploaded.     Jane Doe No. 5 continues to
  20 receive active links and screenshots of the video on Pornhub.
  21        294. Pornhub’s illegal and widespread dissemination of pornographic
  22 material and CSAM of Jane Doe No. 5 at age 14 has caused Jane Doe No. 5 to suffer
  23 from severe anxiety, depression, and a failed suicide attempt.
  24                  vii.     Jane Doe No. 6
  25        295. In 2018, Jane Doe No. 6 discovered that a compilation video of men
  26 masturbating to nude photographs of her at 14 years old was on Pornhub. The video
  27 was listed under the tag “naked teen.” Ashamed to disclose the video to her parents
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   1 or the police, Jane Doe No. 6 immediately reached out to Pornhub, informing
   2 Pornhub of her age and demanding that the video be removed. Pornhub responded
   3 with a generic, automated response.         Two weeks later, having heard nothing further
   4 from Pornhub and desperate to have the video removed, Jane Doe No. 6 reached out
   5 to Pornhub again demanding it remove the video.           This time she provided Pornhub
   6 with a picture of her passport to verify her age and identity. The image of the
   7 passport confirmed she was underage. Pornhub eventually responded, but failed to
   8 remove the video.          After these failed attempts, Jane Doe No. 6 gave up.
   9        296. The experience continues to traumatize Jane Doe No. 6 to this day. She
  10 wakes up wondering if the video is still available on Pornhub, if it has been
  11 reuploaded under different titles, and whether it has been disseminated more
  12 broadly. Moreover, she fears the widespread dissemination of the sexually explicit
  13 photographs will interfere with her dream of becoming a teacher. Jane Doe No. 6
  14 suffers from severe depression and anxiety and is under the care of a mental health
  15 professional.
  16                    viii.        Jane Doe No. 7
  17        297. From approximately 2017 to 2018, a video of Jane Doe No. 7 engaged
  18 in sex with her adult boyfriend were uploaded to Pornhub, without her knowledge or
  19 consent.    The sex video was titled “Ginger GF sucks c*** and gags.” (asterisks
  20 added). Jane Doe No. 7 was 17 years old at the time the video was recorded and the
  21 photographs were taken.
  22        298. Upon learning that the video had been uploaded to Pornhub, Jane Doe
  23 No. 7 proceeded to notify law enforcement, which facilitated the removal of the
  24 illegal video.
  25        299. At no time prior to posting the video did MindGeek, Pornhub, or any
  26 other website owned or operated by MindGeek attempt to verify Jane Doe No. 7’s
  27 identity or age.     Neither Jane Doe No. 7 nor her parents consented to having a video
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   1 of her appear on Pornhub, and neither Jane Doe No. 7 nor her parents could lawfully
   2 consent to the possession and dissemination of child pornography.
   3         300. Jane Doe No. 7 suffered and continues to suffer from significant
   4 emotional harm and is being treated by a mental health professional.
   5                   ix.       Jane Doe No. 8
   6         301. In 2018, 15-year-old Jane Doe No. 8 was trafficked into prostitution by
   7 a female pimp in Colombia.       During one encounter, Jane Doe No. 7 was paid
   8 approximately one million Colombian pesos in cash to have sex with now indicted
   9 sex offender, Victor Galarza, while another man, Herbert Fletcher, recorded the sex
  10 acts.   Thereafter, Galarza demanded that Jane Doe No. 8 watch the recording with
  11 him, after which he purported to delete the recording.   Two years later, Jane Doe
  12 No. 8 learned that the putatively deleted video was on Pornhub.
  13         302. The video had been uploaded to Pornhub in April 2020 under the title,
  14 “Prostituta colegiala Colombiana acepta follar sin condon x 10 dolares la cuarentena
  15 la obligo a vender su cuerpo en Medellin,” which translated means “Prostitute school
  16 girl from Colombia agrees to f*** without a condom for $10.00 the quarantine
  17 forced her to sell her body in Medellin.” (asterisks added).
  18         303. Immediately upon learning of the video, Jane Doe No. 8 contacted
  19 Operation Underground Railroad, a nonprofit organization dedicated to combatting
  20 child trafficking. In October 2020, Tyler Schwab, an employee of Operation
  21 Underground Railroad, reached out to Pornhub on Jane Doe No. 8’s behalf and had
  22 the video removed.      Nevertheless, during the seven months that the video was on
  23 Pornhub, it was downloaded and reuploaded multiple times, including to other
  24 pornography sites.      As recently as December 2020, the video was live on multiple
  25 internet sites.
  26         304. Both Galarza and Fletcher have been arrested and face criminal charges
  27 including sexual exploitation of children and possession and transportation of child
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   1 pornography.
   2        305. Jane Doe No. 8 continues to suffer from significant emotional harm and
   3 is being treated by a mental health professional in Colombia.
   4                    x.      Jane Doe No. 9
   5        306. From approximately September 2017 through February 2018, 17-year-
   6 old Jane Doe No. 9 was a victim of the same sex trafficking ring that was operated
   7 out of Columbia by Galarza and Fletcher. Jane Doe No. 9 was recruited by Galarza
   8 through social media.     He offered to pay her to have recorded sex.   He assured her
   9 that the video was just for himself and that he would delete it after watching it.
  10 Under financial duress, Jane Doe No. 9 complied.
  11        307. On three separate occasions, Jane Doe No. 9 met Galarza at three
  12 different hotels in Colombia.    On the first occasion, she met Galaraza and two other
  13 men at Hotel Poblado in Medellin, Colombia where she was provided lingerie to
  14 change into and directed to engage in sexual acts with one of the men, while Galarza
  15 recorded the encounter.    The same interaction occurred two additional times on two
  16 subsequent occasions with different sexual partners at different hotels.   Galarza
  17 recorded all three encounters.
  18        308. Nearly three years later, in November 2020, Jane Doe No. 9 learned that
  19 one of the putatively deleted videos was on Pornhub under the title “Scort
  20 venezolana acepta follar sin condón en trio en su primer casting en Medellin
  21 Columbia,” which translates to “Venezuelan Escort agrees to f*** without a condom
  22 in a trio at her first casting in Medellin Columbia.” (asterisks added). It was also
  23 available on, among other sites, XVideos, XNXX, and MannyVids. Advocates
  24 from Operation Underground Railroad are currently working to get the video taken
  25 down from Pornhub, as well as the countless other sites that the video has been
  26 uploaded to.
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   1                   xi.      Jane Doe No. 10
   2        309. In 2017, 15-year old Jane Doe No. 10 received an unsolicited message
   3 through Facebook, from now-convicted sex trafficking felon, Kamonsak
   4 Chanthasing, who posed as a female, and offered to pay Jane Doe No. 10 for video
   5 clips and photographs of herself masturbating wearing her middle school uniform.
   6 Although Jane Doe No. 10 initially refused, she ultimately acquiesced and sent a
   7 video and approximately 100 photographs of herself with her genitalia exposed.
   8 Her age was readily apparent from the style of her uniform which are differentiated
   9 in Thailand by school grade.    She never received compensation for the images, and
  10 subsequently learned that Kamonsak had committed similar crimes with twelve other
  11 female victims.
  12        310. Approximately one year later, Jane Doe No. 10 learned that the
  13 photographs and video were available on Pornhub, under the title “Thai Student.”
  14 Jane Doe No. 10 immediately contacted Pornhub and demanded the images be
  15 removed.     Although Pornhub removed six separate links to the video and
  16 photographs on or around April 14, 2020, screenshots of Jane Doe No. 10’s underage
  17 body and genitalia remain on the site to this day.
  18        311. But the harm did not end there. Pornhub’s download policies resulted
  19 in the video being uploaded to multiple other sites, including vk.com, the largest
  20 social networking website in Russia.    The widespread dissemination of child
  21 pornography featuring Jane Doe No. 10 led to severe bullying and harassment, which
  22 ultimately became so extreme that Jane Doe No. 10 was forced to transfer schools.
  23 She continues to suffer from depression and other mental health conditions.
  24                   xii.     Jane Doe No. 11
  25        312. Jane Doe No. 11 is another victim of Pornhub and Kamonsak.        In or
  26 around 2016 or 2017, 16-year-old, aspiring actress, Jane Doe No. 11, received an
  27 unsolicited message from an unknown individual, who she later learned through law
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   1 enforcement was Kamonsak.        Kamonasak offered her $1,000 for a sexually explicit
   2 video of herself, and $5,000 for each subsequent video.    Kamonsak misrepresented
   3 that the content would not be distributed and that other actresses were participating to
   4 make ends meet. Jane Doe No. 11 initially refused the offer, but eventually
   5 complied and sent one video. She never heard from Kamonsak again, nor did she
   6 receive the promised compensation.
   7          313. Approximately, six months later, Jane Doe No. 11 learned that the
   8 sexually explicit video had been anonymously uploaded to Pornhub and viewed more
   9 than 1.5 million times.    Her Facebook profile and identity were disclosed in
  10 Pornhub’s comment section and she immediately began to be bullied by her
  11 classmates and humiliated by her teachers. Two weeks prior to graduation, Jane
  12 Doe No. 11’s school attempted to expel her because she was wearing her school
  13 uniform in the videos and she was not able to attend her graduation.
  14          314. Traumatized, Jane Doe No. 11 reported the video to Pornhub, but to no
  15 avail.    Pornhub ignored her requests and refused to take the video down. In
  16 December 2020, the videos of Jane Doe No. 11 continued to appear on Pornhub
  17 under various titles. She solicited help from the HUG Project in Chiang Mai and
  18 was eventually able to get her video removed.
  19          315. In the weeks and months following the discovery of the Pornhub video,
  20 offers for roles in television shows were withdrawn.
  21          316. Moreover, throughout this period, Jane Doe No. 11’s sister, who bears a
  22 close resemblance to Jane Doe No. 11, was frequently mistaken for Jane Doe No. 11
  23 and faced severe harassment on the street and online. She dropped out of
  24 university, suffered from severe mental health issues, and attempted suicide.
  25            xiii.     Jane Doe No. 12
  26          317. In 2017, 17-year-old Jane Doe No. 12 received an unsolicited offer from
  27 an unknown individual on BIGO Live, a live streaming platform, of 20,000 Baht in
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   1 exchange for a ten-minute video of herself removing her clothing. Throughout the
   2 filming process, Jane Doe No. 12 was provided explicit instructions on requested
   3 positions. Immediately after she was done, the live stream was closed and she was
   4 blocked from the unknown individual’s BIGO Live account. Jane Doe No. 12
   5 never received any compensation, and she never heard from the unknown individual
   6 again.
   7          318. Three years later, on February 5, 2020, Jane Doe No. 12 learned that the
   8 video was on Pornhub. It was posted to Pornhub without her knowledge or consent.
   9 She immediately sought assistance from the HUG Project in Chiang Mai, and in
  10 response to its request to Pornhub for removal, the video was taken down.
  11          319. But the damage had already been done.      Upon discovering the video on
  12 Pornhub, Jane Doe No. 12, in her last semester of university, had a mental
  13 breakdown and dropped out of school just weeks before graduation. Moreover, she
  14 was bullied and harassed, which continues to this day.
  15                  xiv.      Jane Doe No. 13
  16          320. 13-year-old Jane Doe No. 13 was trafficked by an adult man, Thanawut
  17 Pawalee, to engage in recorded sex for compensation. Jane Doe No. 13 was paid
  18 1,200 Bhat cash for the sexual encounter.    Despite misrepresenting that the video
  19 would be edited so that Jane Doe No. 13’s face was not visible; the video was
  20 subsequently posted to Pornhub with Jane Doe No. 13 clearly identifiable.
  21          321. In response to the widespread dissemination of the sex tape, Jane Doe
  22 No. 13 was asked to leave her high school.     She was bullied by her classmates,
  23 which continued even after she transferred to a new school.    The severe bullying
  24 and anxiety caused by the dissemination of the sex tape, led Jane Doe No. 13 to
  25 engage in self-harm including cutting herself. To this day, she continues to wear
  26 rubber bands on her wrists as a preventative measure and is under the care of a
  27 mental health facility.
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   1         322. On November 4, 2019, Thanawut was arrested on charges of human
   2 trafficking.
   3                     xv.       Jane Doe No. 14
   4         323. Jane Doe No. 14 was trafficked on Pornhub for more than 1,100 days.
   5 In August 2020, Jane Doe No. 14 discovered that three years earlier her now
   6 estranged ex-husband had drugged her, sexually assaulted her while she was
   7 unconscious, recorded the assault and uploaded it to, among other sites, Pornhub.
   8 The Pornhub video title disclosed that she was unconscious and was tagged with the
   9 following Pornhub tags: “while sleeping,” “hold her hands,” and “sleeping pills.”
  10 Many viewers commented on the video, describing in detail the sexual gratification
  11 they received while watching her be assaulted while she was unconscious.
  12         324. She did not consent to the sex or the recording. In fact, she did not
  13 know about either until she found the video on Pornhub. In June 2021, Jane Doe
  14 No. 14’s now ex-husband was criminally charged with, among other charges, sexual
  15 asset and distribution of intimate images without consent.
  16         325. Upon learning of the Pornhub video, Jane Doe No. 14 immediately
  17 informed law enforcement.         Within three days the link to the original video on
  18 Pornhub was deactivated.         Moreover, by September 2020, Jane Doe No. 14 found
  19 that Pornhub had removed the tags associated with nonconsensual content, such as
  20 “sleeping pills.”
  21         326. However, even after the original video was no longer available, a google
  22 search run in January 2021 for the title of the original Pornhub video returned more
  23 than 1,900 results.       One explanation for the large number of results were user
  24 downloads and reuploads. In addition, MindGeek added Jane Doe No. 14’s video
  25 to its affiliated sites as a cheap way of adding additional content and driving traffic.
  26 Of the 1,900 search results, Pornhub was the source for all of the active videos.
  27         327. Moreover, even after Pornhub deactivated the original video, it
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   1 maintained a thumbnail image file of the video which depicts Jane Doe No. 14 naked
   2 accompanied by the original title.   In January 2021, Jane Doe No. contacted
   3 Pornhub and demanded that the thumbnail and data associated with her videos be
   4 removed.      After eight emails and forty-five days, Pornhub removed some, but not
   5 all, of the data and thumbnails.
   6        328. The experience has traumatized Jane Doe No. 14.       She is humiliated,
   7 demoralized, and suffers from severe anxiety.
   8                  xvi.      Jane Doe No. 15
   9        329. In 2017, then-22-year-old Jane Doe No. 15 attended a party where she
  10 was drugged and then raped while unconscious.       Unbeknownst to Jane Doe No. 15,
  11 the rape was recorded and monetized on Pornhub.
  12        330.     After blacking out at the party from a date rape drug, Jane Doe No. 15
  13 woke up the next morning with no recollection of the prior evening.     Approximately
  14 one week later, Jane Doe No. 15 learned that a video taken while she was
  15 unconscious was on Pornhub. The video depicted another guest sexually forcing
  16 himself on her while she was unconscious. She had not consented to the sex or the
  17 recording.
  18        331. Immediately upon discovering the video, Jane Doe No. 15 reached out
  19 to Pornhub, and demanded that the video of her sexual assault be taken down. In
  20 response, Pornhub misrepresented that without a url code, title, or link there was no
  21 way for them to identify the video to remove it.
  22        332. To this day, Jane Doe No. 15 continues to be recognized in public,
  23 harassed, and called a “slut” or a “whore.”   This experience has caused Jane Doe
  24 No. 15 to suffer from severe depression and anxiety.
  25                 xvii.      Jane Doe No. 16
  26        333. At 19 years old, Jane Doe No. 16, a college sophomore, was recruited
  27 and transported from her home in Ohio to Arizona, where she was exploited and
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   1 coerced to record sex videos that were then uploaded to Pornhub without her
   2 knowledge or consent.     The videos were recorded by 13RedMedia and uploaded to
   3 Pornhub affiliated channels “HotGuysF***,” “GayHoopla,” “HelixStudios,” and
   4 “13RedMedia.” (asterisks added)
   5        334. During her sophomore year of college, Jane Doe No. 16 began to pursue
   6 a modeling career.    She responded to an advertisement on Craigslist for a modeling
   7 job and was contacted by an older man purporting to be a modeling agent. He
   8 informed her that she fit the agency’s criteria for the modeling opportunity and flew
   9 Jane Doe No. 16 to Scottsdale, Arizona in April 2015.
  10        335. Upon arriving in Scottsdale, this man took Jane Doe No. 16 to a hotel
  11 where she was coerced to engage in sex with two men.       At the hotel, the man took a
  12 picture of her id and coerced her to sign papers.   She does not recall what she
  13 signed and was not provided with a copy.     He then recorded the sexual encounters
  14 and paid Jane Doe No. 16 $1,000.     Later that night, the offender came to Jane Doe
  15 No. 16’s hotel room where he raped her himself and videotaped the encounter.
  16        336. In December 2015, Jane Doe No. 16 learned that the recorded sex
  17 videos were on Facebook and Pornhub.       The videos disclosed her name and
  18 subjected her and her family to harassment on social media.     Jane Doe No. 16
  19 immediately contacted Facebook and Pornhub and demanded that both sites remove
  20 her videos.   Facebook immediately removed these videos.       Weeks went by before
  21 Jane Doe No. 16 received any response from Pornhub, and when it did ultimately
  22 respond, it sent her an automated message. She followed up three more times, but
  23 never received a response from a real person.
  24        337. The videos remained on Pornhub throughout the next five years and
  25 were live on Pornhub as recently as December 2020.       Her identity was disclosed in
  26 the comments section to at least one video on Pornhub. To this day, an image of
  27 Jane Doe No. 16 still appears on Pornhub in an ad for another site, HotGuysF***.
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   1 (asterisks added).       Moreover, the Pornhub videos have been downloaded and re-
   2 uploaded countless times and to countless sites.     As of March 2021, Jane Doe No.
   3 16’s videos appeared on countless sites.
   4         338. The experience caused Jane Doe No. 16 to suffer from severe
   5 depression and anxiety. For many years she was under the care of a medical
   6 professional.    As a result, Jane Doe No. 16 dropped out of college.
   7                 xviii.        Jane Doe No. 17
   8         339. In 2006, Jane Doe No. 17 was forcibly raped by two men.        The rape
   9 was recorded and monetized through MindGeek’s tubesites, including Pornhub.
  10         340. In the months that followed, Jane Doe No. 17 learned that the video had
  11 been uploaded to the MindGeek tubesite “Exploited College Girls,” without her
  12 knowledge or consent and was available worldwide. Moreover, still photographs
  13 from the video of her rape were also publicly disseminated.      Like Pornhub,
  14 “Exploited College Girls,” allows for the download of videos hosted on its site which
  15 led to the widespread dissemination of the video across a multitude of sites,
  16 including Pornhub. The video was also uploaded under a multitude of different
  17 titles, including a title that indicates Jane Doe No. 17 was just out of high school.
  18         341. In 2010, Jane Doe No. 17 reached out to Pornhub and demanded the
  19 video be removed.        Pornhub refused, claiming that Jane Doe No. 17 could not
  20 lawfully demand the takedown since she did not own the copyright. Throughout
  21 the next six years, the video was continuously available on MindGeek’s tubesites.
  22 It appeared under different titles and had been uploaded by countless different
  23 usernames.      Many of the uploads were accompanied by Jane Doe No. 17’s name
  24 and other identifying information which subjected her and her family to harassment.
  25         342. Ultimately, in 2016, Jane Doe No. 17 retained an attorney to assist with
  26 the purchase of copyrights.      By 2017, she successfully secured the copyright. She
  27 immediately notified Pornhub and again demanded the video be removed.            This
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   1 time, Pornhub complied.
   2        343. But the damage had been done.          The initial video posted on
   3 MindGeek’s sites had been downloaded and reuploaded a multitude of times and was
   4 continuously reuploaded and disseminated on the internet for the twelve years
   5 between 2006 and 2018. Moreover, even after Pornhub removed the video in 2018,
   6 it continued to be re-uploaded on Pornhub and various other sites between 2018 and
   7 2020. Throughout these years, each time Jane Doe No. 17 learned of a new link,
   8 she recommenced the process to have the video taken down.          In one takedown
   9 request sent to Pornhub in 2018, Jane Doe No. 17 was explicit that she was being
  10 raped in the video. Nevertheless, it still took Pornhub 648 days to have the video
  11 removed from its site.
  12        344. The experience caused Jane Doe No. 17 to suffer from severe
  13 depression and anxiety. For many years she was, and remains to this day, under the
  14 care of a mental health professional.
  15                 xix.       Jane Doe No. 18
  16        345. Jane Doe No. 18 was sexually assaulted on multiple occasions between
  17 2001-2008.     In 2019, Jane Doe No. 18 discovered that the videos of her assaults had
  18 been uploaded to Pornhub years earlier without her knowledge or consent and were
  19 widely available, including under the titles “Capture and Rape of [Jane Doe No. 18’s
  20 name]” and “Cl*t Torture.”     (asterisk added).     Many of the videos identified Jane
  21 Doe No. 18 by name.
  22        346. Immediately upon discovering the Pornhub videos, Jane Doe No. 18
  23 filled out Pornhub’s takedown form and demanded the videos be removed.
  24 Pornhub never responded.      As of February 25, 2021, the video “Cl*t Tickle
  25 Torture” (asterisk added) was still on Pornhub. Moreover, throughout the years, the
  26 videos had been downloaded from Pornhub and uploaded to numerous sites
  27 including, among others, MindGeek affiliate, YouPorn.
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   1        347. As a result of MindGeek’s wrongdoing, Jane Doe No. 18 has been
   2 subjected to ongoing and severe online harassment. She is estranged from her family
   3 and has been foreclosed from numerous employment opportunities. Jane Doe. No.
   4 18 suffers from severe depression and anxiety. She is currently under the care of a
   5 mental health professional.
   6                  xx.       Jane Doe No. 19
   7        348. From 2005 to 2008, when Jane Doe No. 19 was between the ages of 19
   8 and 22, her then boyfriend recorded numerous private videos of them engaging in
   9 sex.   However, it was not until October 2020 that Jane Doe No. 19 learned that the
  10 videos were posted to Pornhub without her knowledge or consent.       The videos were
  11 posted under the “teen” category.
  12        349. Immediately upon learning that the videos were on Pornhub.       Jane Doe
  13 No. 19 reached out to Pornhub and demanded they be removed. Pornhub never
  14 responded to that email.    Jane Doe No. 19 followed-up with Pornhub again in
  15 November 2020. But at this point the damage had been done. Several of the
  16 original videos had been uploaded to numerous other MindGeek owned tubesites
  17 including, among others, Tube8.
  18        350. Videos of Jane Doe No. 19 continue to be disseminated through various
  19 internet platforms, including MindGeek affiliated sites.    Jane Doe No. 19 has, and
  20 continues to suffer, from emotional distress and is under the care of a mental health
  21 professional.
  22                  xxi.      Jane Doe No. 20
  23        351.     For over eighteen months in 2006 and 2007, Jane Doe No. 20 was
  24 trafficked and coerced to perform sex acts that were videorecorded.    She was
  25 drugged, assaulted, and in one instance gang raped by nearly twenty men.     The
  26 assaults were videotaped and commercialized on MindGeek’s sites, including
  27 Pornhub. She appeared in over forty videos, many of which continue to be
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   1 monetized on Pornhub and its affiliated sites to this day.
   2        352. The abuse and pain from the assaults and sexual exploitation was so
   3 extreme that Jane Doe No. 20 ended up in the emergency room from a nervous
   4 breakdown.     Years later, she continues to suffer from anxiety, panic attacks, and
   5 contemplated suicide.
   6                 xxii.      Jane Doe No. 21
   7        353. For more than eight years, Jane Doe No. 21 was sex trafficked by her
   8 then-boyfriend.    On one occasion, in 2015, a man she was coerced to have sex with
   9 videorecorded the sexual encounter, misrepresenting that it was for his own personal
  10 use.   Yet, months later, Jane Doe No. 21 learned that the video was on Pornhub.
  11        354. Jane Doe No. 21 immediately reached out to Pornhub and demanded
  12 that the video be taken down.     Initially, she did not receive a response. On January
  13 3, 2016, she sent a follow up request.   More than two days passed before Pornhub
  14 responded. Although Pornhub ultimately agreed to take the video down, several
  15 additional days passed before the video was deactivated.
  16        355. As a result of this experience, Jane Doe No. 21 suffers from severe
  17 depression and anxiety.
  18                xxiii.      Jane Doe No. 22
  19        356. In March 2020, Jane Doe No. 22 discovered that two sexually explicit
  20 videos of her had been uploaded to MindGeek affiliated sites without her knowledge
  21 or consent. One video depicted her masturbating; the second depicted her engaged
  22 in a sexual act with a partner.   Jane Doe No. 22 did not consent to the acts being
  23 recorded or uploaded to or commercialized on MindGeek affiliated sites. In fact,
  24 she was not even aware that the sex acts had been recorded until she was informed
  25 they were posted online.    She immediately reported the videos to the police,
  26 however, without a link or url, the police were unable to have the video removed.
  27        357. As a result of the videos, Jane Doe No. 22 has been subjected to
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  1 ongoing harassment by her co-workers.      She suffers from post-traumatic stress
  2 disorder and has contemplated suicide.
  3                 xxiv.      Jane Doe No. 23
  4        358. Jane Doe No. 23 is a victim of the same sex trafficking ring as Jane Doe
  5 No. 10 and Jane Doe No. 11.     In 2018, when Jane Doe No. 23 was 19 years old, she
  6 received an unsolicited message through her Facebook messenger account from now
  7 convicted, known East Asia sex trafficking felon, Kamonsak Chanthasing.
  8 Kamonsak, using a fake account and posing as a woman, offered to pay Jane Doe
  9 No. 23, an aspiring actress model, for sexually explicit video recordings and
 10 photographs of herself. Jane Doe No. 23 initially refused Kamonsak’s demands,
 11 but he was persistent.   Accordingly, she subsequently sent one sexually explicit
 12 photograph. Jane Doe No. 23 was ultimately coerced into sending three sexually
 13 explicit videos and approximately 100 sexually explicit photographs.
 14        359. In October 2019, Jane Doe No. 23 learned that one of the sexually
 15 explicit videos had been uploaded to Pornhub without Jane Doe No. 23’s knowledge
 16 or consent. Jane Doe No. 23 sought assistance from the HUG Project in Chiang
 17 Mai, who contacted Pornhub and had the video removed. But the damage was
 18 already done.     Jane Doe No. 23 has been subjected to bullying and harassment at
 19 university and by fake Instagram accounts. As a result, to this day, Jane Doe No.
 20 23 suffers from severe anxiety and depression.
 21                  xxv.      Jane Doe No. 24
 22        360. Jane Doe No. 24 is yet another victim of convicted sex trafficking felon
 23 Kamonsak.       In or around 2018, Jane Doe No. 24 received an unsolicited message
 24 through Instagram from Kamonsak.       Kamonsak, using a fake account and posing as
 25 a woman, offered to pay Jane Doe No. 24, an aspiring actress and model, for video
 26 recordings and photographs of herself in various stages of undress in her school
 27 uniform.    Jane Doe No. 24 initially refused, but Kamonsak and his co-conspirator,
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  1 now convicted sex trafficking felon Naphat Puangchankham, coerced Jane Doe No.
  2 24 into sending three videos and approximately 200 photographs of herself in various
  3 stages of undress, many with her genitalia exposed.       Jane Doe No. 24 never
  4 received any compensation.       Kamonsak sold her video to Naphat who worked as an
  5 online seller.    Naphat’s trial is still on hold due to Covid but he was arrested for
  6 human trafficking in the form of production of pornography and he was also charged
  7 under Computer Crime Act.
  8        361. Approximately one year later, Jane Doe 24 discovered the sexually
  9 explicit photographs and videos of herself on Pornhub without her knowledge or
 10 consent. At least two videos were uploaded to Pornhub under different titles.        One
 11 video had at least 114,000 views, and the other had 5,000 views.
 12        362. Jane Doe No. 24 sought assistance from the HUG Project, who
 13 repeatedly contacted Pornhub and demanded the videos be removed.           As of January
 14 2021, the videos were still on Pornhub.
 15        363. But the harm did not end there. Pornhub’s download policies resulted
 16 in the videos being uploaded to multiple other sites, including vk.com, the largest
 17 social networking website in Russia.      Additionally, the Thai national news issued a
 18 report on the trafficking scheme which included Jane Doe No. 24’s sexually explicit
 19 photographs. While the news outlet blurred out Jane Doe No. 24’s face, she was
 20 readily identifiable. Overcome with embarrassment and shame from the widespread
 21 dissemination of the nude photographs and videos, Jane Doe No. 24 resigned from
 22 her job at a five-star hotel where she held an executive position. She also has
 23 changed her name and deleted her social media accounts.
 24                  xxvi.      Jane Doe No. 25
 25        364. In or around April or May 2018, Jane Doe No. 25 was trafficked by
 26 convicted sex trafficker, Thakorn Sophonpanichakorn.         Thakorn videorecorded the
 27 sexual encounter without Jane Doe No. 25’s knowledge or consent and sold her
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  1 video to several online channels.
  2        365. Very shortly after the sexual encounter, Jane Doe No. 25 learned that
  3 the video was on Pornhub. Jane Doe No. 25 immediately filed a police report and
  4 sought assistance from the HUG Project in Chiang Mai.      The HUG Project
  5 representatives repeatedly contacted Pornhub to remove Jane Doe No. 25
  6 videos. While the HUG Project was ultimately successful in getting Jane Doe No.
  7 25 video removed from Pornhub, Pornhub’s download policies resulted in the videos
  8 being reuploaded to Pornhub under different titles, as well as uploaded to multiple
  9 other sites, including XVideo.
 10        366. As a result of MindGeek’s conduct, Jane Doe No. 25 suffered and
 11 continues to suffer significant emotional harm. Additionally, due to the sexually
 12 explicit videos being disseminated on Pornhub, Jane Doe No. 25 had to defend
 13 herself against a threatened lawsuit by her high school who intended to pursue
 14 damages because Jane Doe No. 25 was wearing her high school uniform in the
 15 videos. The HUG Project and the Thai police advocated on her behalf and the high
 16 school ultimately did not file the lawsuit.
 17                xxvii.      Jane Doe No. 26
 18        367. From 2012 to 2015, Jane Doe No. 26 was trafficked by a man she met
 19 on the internet.   He forced and coerced her to engage in videorecorded sex acts with
 20 others in exchange for payment in various states in the United States.   These
 21 sexually explicit videos were uploaded to MindGeek’s tubesites, including Pornhub,
 22 without Jane Doe No. 26’s knowledge or consent.      When Jane Doe No. 26 would
 23 not comply with his demands to engage in sex acts with others, he physically
 24 assaulted her and, on at least one occasion, he injured Jane Doe No. 26 to the point
 25 where she required medical attention. This man also forced Jane Doe No. 26 to
 26 engage in sex acts with him, which he videorecorded.
 27        368. In March 2021, Jane Doe No. 26 discovered that these sexually explicit
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  1 videos were uploaded to various websites including Pornhub and other MindGeek
  2 tubesites.
  3         369. As a result of MindGeek’s conduct, Jane Doe No. 26 suffered and
  4 continues to suffer significant emotional harm and struggles with various mental
  5 health illnesses. Jane Doe No. 26 is under the care of a mental health professional.
  6               xxviii.      Jane Doe No. 27
  7         370. When Jane Doe No. 27 was just 23 years old, she was a victim of a sex
  8 trafficking ring led by Derek Hay, owner of LA Direct Models. In 2003, Hay
  9 contacted Jane Doe No. 27 and offered her a modeling opportunity in Las Vegas.
 10 He flew Jane Doe No. 27 to Las Vegas for the photoshoot; however, shortly after
 11 arriving, it became apparent that Jane Doe No. 27 had been transported to the United
 12 States from England to engage in an illegal pornography scheme that recruited,
 13 enticed, transported, and solicited young women for purposes of engaging in
 14 commercial sex acts.
 15         371. When Jane Doe No. 27 refused to engage in pornography, Hay refused
 16 to let her leave until she was able to repay him for her flight and other expenses,
 17 which Jane Doe No. 27 could not afford. As a result, Hay forced her to travel to
 18 Los Angeles where he kept her locked in a house with nine to eleven other women
 19 under close monitoring. Over the course of three and a half weeks, Jane Doe No.
 20 27 was forced to attend a film set where she was forced to engage in sex acts with
 21 numerous men and women.         Many of these sex acts were violent and Jane Doe No.
 22 27 suffered physical damage as a result.    The sex acts were videorecorded.
 23         372. In March 2020, Derek Hay, and his co-conspirators, were charged with
 24 twelve felony counts of pimping and pandering.
 25         373. Since no later than 2007, Jane Doe No. 27 learned that the videos of the
 26 coerced sex acts were uploaded to the internet without her knowledge or consent.
 27 In the following years, Jane Doe No. 27 discovered that her videos were uploaded to
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  1 Pornhub without her knowledge or consent.        Although Pornhub eventually removed
  2 her videos as part of its purge in December 2020, sexually explicit photographs of
  3 Jane Doe No. 27 still appear on Pornhub today.
  4        374. As a result of MindGeek’s conduct, Jane Doe No. 27 suffered and
  5 continues to suffer significant emotional harm, including post-traumatic stress
  6 disorder and anxiety.    To this day, she continues to be under the care of medical
  7 professionals for the emotional trauma and permanent physical damage she has
  8 sustained as a result of the commercial sex acts.
  9                xxix.       Jane Doe No. 28
 10        375. In 2014, Jane Doe No. 28, an 18-year-old professional athlete in the
 11 United Kingdom, was videotaped and photographed engaged in sex acts.           These
 12 sexually explicit videos and photographs were uploaded to Pornhub without Jane
 13 Doe No. 28’s knowledge or consent.      At least one of the sexually explicit videos of
 14 Jane Doe No. 28 trended on Pornhub as one of its top three videos.       Because many
 15 of the videos were accompanied with comments disclosing Jane Doe No. 28’s name
 16 and other identifying information, Jane Doe No. 28 was subjected to harassment.
 17        376. In early 2019, Jane Doe No. 28 learned that the sexually explicit videos
 18 and photographs were posted to Pornhub without her consent. Jane Doe No. 28
 19 immediately submitted an inquiry to Pornhub using its take-down demand form, but
 20 she received no response. Jane Doe No. 28 then sent numerous emails to Pornhub
 21 over the course of six months demanding that Pornhub remove the videos, explaining
 22 that she did not consent to the videos and photographs being uploaded and informing
 23 Pornhub that this was causing her to have suicidal thoughts. Pornhub, however,
 24 only responded with generic, automated responses. Jane Doe No. 28 was so
 25 desperate to have the videos removed, she misrepresented her age to Pornhub in an
 26 email, alleging she was a minor in the videos.      This finally got Pornhub’s attention.
 27 In August 2019, Pornhub confirmed the video was removed.
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  1        377. The dissemination was not limited to Pornhub.        The videos and
  2 photographs were downloaded from Pornhub and re-uploaded to various
  3 pornographic and social media websites. Jane Doe No. 28 hired a reputation
  4 defender company to assist with identifying and removing the videos and
  5 photographs from various sites, including Pornhub, but the company’s efforts were
  6 unsuccessful. Jane Doe No. 28 also filed a police report with the Hertfordshire Police
  7 Department.
  8        378. In response to the viral dissemination of the videos and photographs,
  9 Jane Doe No. 28’s employer fired Jane Doe No. 28 from her job as a coach in the
 10 education sector.      Jane Doe No. 28 also received strong messaging from the
 11 professional sports league expressing their displeasure with the videos and
 12 photographs and two professional sports leagues rejected Jane Doe No. 28 from
 13 playing for their teams, forcing Jane Doe No. 28 to resign from playing professional
 14 sports for approximately one year.
 15        379. Jane Doe No. 28 suffered and continues to suffer significant emotional
 16 harm, including anxiety, suicidal thoughts, and panic attacks.
 17                 xxx.        Jane Doe No. 29
 18        380. In 2011, when Jane Doe No. 29 was just 19 years old, she was trafficked
 19 by an adult couple.
 20        381. A few months later, Jane Doe No. 29 learned for the first time that the
 21 sexual encounters were recorded and that approximately twelve videos had been
 22 created.   These videos were uploaded to Pornhub without her knowledge or
 23 consent. Jane Doe No. 29 contacted the offenders asking them to remove the
 24 videos, but they refused.
 25        382. Jane Doe No. 29 then hired an attorney hoping the attorney could assist
 26 with removing the videos.      However, the attorney was unsuccessful.    Feeling
 27 defeated, Jane Doe No. 29 stopped pursing the take-down of the videos and focused
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  1 on her mental health.
  2          383. Years later, Jane Doe No. 29 again began the process of trying to have
  3 her videos taken down.      In April 2020, Jane Doe No. 29 contacted Pornhub
  4 requesting that the videos be removed. Pornhub responded that “The Model” had
  5 provided the necessary documentation and identification and so Pornhub did not
  6 remove the videos.      Jane Doe No. 29 contacted Pornhub again in December 2020
  7 explaining how she was coerced into the sex acts that she did not consent to the
  8 posting of the videos on Pornhub, and demanding they remove the videos.        The next
  9 day, Jane Doe No. 29 received a response from Pornhub stating that the video “will
 10 be removed” and apologizing for the “anxiety, frustration and inconvenience that this
 11 has caused.”
 12          384. As a result of MindGeek’s conduct, Jane Doe No. 29 suffered and
 13 continues to suffer significant emotional harm.
 14                 xxxi.       Jane Doe No. 30
 15          385. In 2010, at just 18 years old, Jane Doe No. 30 was trafficked and
 16 sexually assaulted during a putative modeling shoot.     The assault was videotaped.
 17          386. In or around fall 2020, Jane Doe No. 30 learned for the first time
 18 that this sexual assault video was uploaded to Pornhub and had been streaming on
 19 Pornhub for more than ten years.     Because MindGeek allows videos to be
 20 downloaded from its tubesites, Jane Doe No. 30’s video was uploaded and available
 21 on other pornographic website as well. As of January 2021, the video was no longer
 22 available on Pornhub, but the thumbnail image of her remained for months.
 23          387. As a result of MindGeek’s conduct, Jane Doe No. 30 suffered and
 24 continues to suffer significant emotional harm and struggles with various mental
 25 health illnesses. The experience caused Jane Doe No. 30 to suffer from severe
 26 depression and anxiety. She was under the care of mental health professionals for
 27 years.
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  1                  xxxii.     Jane Doe No. 31
  2          388. In March 2018, Jane Doe No. 31, a ranking member of and then-sixteen
  3 year veteran of the military, was informed by her superior and a Master Sergeant that
  4 a video depicting her and her then husband engaged in a sex act was trending on
  5 Pornhub. The video -- which Jane Doe No. 31 never consented to and did not know
  6 existed prior to March 2018 -- had been secretly recorded by her now ex-husband in
  7 December 2016. At the time Jane Doe No. 31 discovered the video, it had been on
  8 Pornhub for more than fourteen months and had nearly 500,000 views on that site
  9 alone.
 10          389. Mortified and concerned about the career implications, Jane Doe No. 31
 11 immediately contacted Pornhub demanding the video be taken down. Six days
 12 passed before Pornhub responded, and when it did, rather than immediately remove
 13 the nonconsensual content, it demanded to know “how do you know this is you?”            It
 14 was only after Jane Doe No. 31 explained “That is my bed . . . that is my face, my
 15 voice, THAT IS ME,” did Pornhub proceed to deactivate the video.         Even then, it
 16 failed to take down the page, which continued to be accessible through google
 17 searches and drive traffic to the site.   It took four more days and countless
 18 additional requests, before the page was finally removed.
 19          390. But, as Pornhub confirmed in writing, the video was only removed from
 20 that one site.    Due to Pornhub’s policies in place at the time concerning downloads
 21 and automatic upload of content to its affiliated sites, in the fourteen months the
 22 video was on Pornhub, it had been reuploaded to countless other pornographic and
 23 social media websites.     After days of unsuccessful efforts to reach out to each of
 24 these sites individually, in March 2018 Jane Doe No. 31 was forced to hire the
 25 takedown company, DMCA Defender, at a substantial cost, to assist her with
 26 removing all sexually explicit videos from the internet, each of which originated with
 27 the video posted on Pornhub. She subsequently learned through online searches
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  1 that her ex-husband had also posted a second video (which she likewise did not
  2 previously know existed), was also on Pornhub and disseminated to various other
  3 sites through that initial Pornhub upload.
  4          391. After further investigation, Jane Doe No. 31 learned that this was not an
  5 isolated incident.     Her now-ex-husband had posted dozens of nonconsensual videos
  6 of himself engaging in sex acts with other women to Pornhub. Jane Doe No. 31’s
  7 ex-husband was subsequently charged with, among other things, nonconsensual
  8 dissemination of private images of Jane Doe No. 31.       That criminal case is currently
  9 pending. Two other victims have also pressed charges.
 10          392. Jane Doe No. 31’s concerns about career implications from the Pornhub
 11 video proved to be well-founded.      The nonconsensual video jeopardized and
 12 adversely impacted Jane Doe No. 31’s career trajectory. In the days after the video
 13 was discovered, Jane Doe No. 31 was put on administrative leave and disciplinary
 14 action was commenced.        This was, the first and only time this occurred in her
 15 sixteen-year career.     Her monthly stipend was revoked and Jane Doe No. 31 was
 16 required to step down from a leadership role she held for five years on one of her
 17 employer’s internal committees.
 18          393. Moreover, Jane Doe No. 31 also expended significant financial
 19 resources in hiring DCMA Defender, as well as a private investigator, to assist with
 20 identifying and removing of the videos.
 21          394. In addition to the economic harm, Jane Doe No. 31 suffered and
 22 continues to suffer significant emotional harm, including anxiety and panic
 23 attacks for which she is receiving treatment under the care of a psychiatrist and a
 24 therapist. Jane Doe No. 31 also faces harassment from her neighbors and others in
 25 here community. Three years later she continues to check to see if the videos have
 26 been reuploaded and as recently as November 2020 found the videos on multiple
 27 sites.
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  1              xxxiii.      Jane Doe No. 32
  2        395. Jane Doe No. 32 is another victim of Pornhub and the same offender
  3 that perpetrated crimes against Jane Doe No. 31.    This offender, who was Jane Doe
  4 No. 31’s ex-husband, also dated Jane Doe No. 32.
  5        396. From approximately December 2015 to September 2016, Jane Doe No.
  6 32’s ex-boyfriend videorecorded them engaging in sexual acts, misrepresenting that
  7 it was for his own personal use.   As their relationship continued, Jane Doe No. 32’s
  8 then-boyfriend would demand that all of their sexual acts be recorded regardless of
  9 whether Jane Doe No. 32 consented to the recording. On one occasion, he forcibly
 10 raped Jane Doe No. 32.
 11        397. In early 2017, Jane Doe No. 32 learned that sexually explicit videos of
 12 her were posted on Pornhub without her knowledge or consent. At that time, the
 13 videos had been publicly available on Pornhub for more than twelve months. One
 14 of the videos on Pornhub had a title referencing Jane Doe No. 32’s home state and
 15 her ethnicity.
 16        398. Shortly after learning of the existence of the videos, Jane Doe No. 32
 17 reached out to Pornhub demanding that they remove the videos because they were
 18 posted without her consent. Jane Doe No. 32 also filed a police report against her
 19 ex-boyfriend. She subsequently learned that he had engaged in the same
 20 misconduct with other women.       Jane Doe No. 32’s ex-boyfriend is currently facing
 21 criminal charges for, among other things, nonconsensual dissemination of private
 22 images of three victims, including Jane Doe No. 32.    That criminal case is currently
 23 pending.
 24        399. Jane Doe No. 32 suffered and continues to suffer significant emotional
 25 harm and is receiving mental health counseling.
 26              xxxiv.       Jane Doe No. 33
 27        400. Jane Doe No. 33 is another victim of Pornhub and the same offender
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  1 that perpetrated crimes against Jane Doe No. 31 and Jane Doe No. 32.       This
  2 offender, who was Jane Doe No. 31’s ex-husband, also dated Jane Doe No. 32 and
  3 secretly recorded Jane Doe No. 33 engaged in sex acts with him.
  4         401. In 2017, Jane Doe No. 33 learned that her ex-boyfriend had secretly
  5 recorded a video of their sexual encounter and uploaded it without her knowledge or
  6 consent to Pornhub. Jane Doe No. 33’s face and tattoos on both wrists were visible
  7 in the video. She also identified the location of the video as her ex-boyfriend’s
  8 master bedroom. The videos were posted under the “BBC” category.
  9         402. Immediately upon learning of the video, Jane Doe No. 33 contacted
 10 Pornhub by e-mail, provided the URL, and demanded that the video be removed
 11 from its site. Pornhub complied.
 12         403. However, the damage had been done. The Pornhub video had been
 13 uploaded to various other sites. It was still on various sites as recently as 2020, at
 14 which time Jane Doe No. 33 “stopped digging” as she was exhausted from the
 15 constant searching, did not have the funds to hire a firm to assist with the removal,
 16 was in a custody fight, and feared the video (which she did not consent to and did not
 17 even know about until she learned it was on Pornhub) could detrimentally impact her
 18 custody proceedings.
 19         404. As a result of this experience, Jane Doe No. 33 began to consult a
 20 mental health professional who she continues to see to this day. The incident has
 21 caused stress in her current relationship and her and her current boyfriend attend
 22 couples counseling as a result.
 23                                       *     *      *
 24         405. Each of these plaintiffs were victimized on multiple occasions. First,
 25 when they were first abused and exploited.      Second, when the videos of their abuse
 26 were uploaded to MindGeek’s platform. Third, when MindGeek, as a matter of
 27 course, transferred those videos to its other tubesites, to users downloading them, and
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  1 to its platform again when it periodically reuploaded disabled content or non-
  2 disabled content that it had further optimized. Fourth, when defendants did nothing
  3 to police and report such content to the authorities.
  4                5.   Visa Profited from MindGeek’s Trafficking Venture
  5        406. Uniquely situated to prevent MindGeek’s trafficking venture were the
  6 financial institutions processing the transactions upon which that venture monetized
  7 the content.    At the top of that list were major American credit card companies Visa
  8 and Mastercard.     The impact these financial institutions could have had in
  9 preventing the victimization of women and men as well as children worldwide was
 10 made apparent in December 2020 when, in response to public outrage from a
 11 bombshell New York Times report exposing MindGeek’s trafficking, they cut ties
 12 with Pornhub and consequently forced MindGeek to take down over 10 million
 13 unverified videos from its tubesites in response.
 14        407. But that expose was not a bombshell to Visa and Mastercard. For over
 15 a decade they had been well aware of the facts the New York Times exposed and
 16 instead of insisting that MindGeek commercialize only legal consensual content, and
 17 comply with United States laws concerning the same, they elected instead to
 18 facilitate and profit from the MindGeek trafficking venture.    Even today, Visa
 19 continues to process payments for MindGeek paysites that are themselves rife with
 20 trafficking and are promoted, marketed, and sustained by the MindGeek trafficking
 21 venture.
 22        408. At all times relevant to this complaint, major credit card companies and
 23 their member banks providing merchant services to MindGeek were aware of its
 24 trafficking venture and knowingly profited from it.     They did so despite numerous
 25 high profile publicly reported instances of obvious and indisputable trafficking, the
 26 termination of relationships with MindGeek by competitors and other business
 27 partners, facts in plain sight and known to them, and detailed reports presented to
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  1 them from numerous anti-trafficking advocacy groups.
  2        409. These credit card companies and their member banks providing
  3 merchant services to MindGeek were aware of the trafficking risk because it was
  4 common knowledge in the pornographic industry since no later than the 1980 and the
  5 subject of numerous public reports from government and advocacy agencies ever
  6 since, particularly since the emergence of online pornography industry.    They were
  7 likewise fully familiar with 18 U.S.C. § 2257 provisions designed to prevent
  8 CSAM/child pornography.
  9        410. More particularly, these financial institutions and their member banks
 10 were aware of actual instances of trafficking and CSAM/child pornography and red
 11 flags of such content from their own due diligence and compliance functions. Indeed,
 12 since its inception, all one needed to do was visit MindGeek’s tubesites to observe
 13 tens of thousands of videos (with the help of MindGeek’s suggested search and video
 14 algorithm) depicting subjects who were obviously underage, under duress,
 15 incapacitated, being raped, or secretly exploited.   One would also easily observe
 16 tens of thousands more videos depicting the very same content where there was no
 17 way to determine whether the content was a consensual depiction of a non-
 18 consensual event or non-consensual.
 19        411. In addition, it was apparent from the most such superficial inquiry that
 20 MindGeek was taking no steps to police the presence of obviously non-consensual
 21 content or determine if ambiguous content was consensual.      To the contrary, that
 22 simple investigation would have revealed that the titles, descriptions, and tags and
 23 MindGeek’s algorithmic suggested video and search functions did not merely
 24 tolerate non-consensual content but encouraged its upload and viewing.
 25        412. Furthermore, the most basic inquiry would have revealed that
 26 MindGeek made no effort to effectively employ technology to police illegal content,
 27 employed virtually no human moderation, employed no human moderation remotely
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  1 approximating that of other websites with far less content, and had an incoherent
  2 random selection of superficial policies to prevent such content that were plainly not
  3 intended to do any such thing but were, as one insider said, “100% BS.”
  4         413. Moreover, it was apparent to anyone, including the credit card
  5 companies and their merchant banking members, that MindGeek systemically
  6 ignored the requirements of 18 U.S.C. § 2257, which was enacted decades earlier
  7 because it was a known fact that absent basic age verification CSAM/child
  8 pornography would infest the pornography business.
  9         414. The most basic observation also would have revealed that while major
 10 websites with video libraries and upload volumes as big as or smaller than MindGeek
 11 reported millions of CSAM/child pornography depictions to authorities, MindGeek
 12 reported virtually none.    This fact alone would have alerted anyone who cared that
 13 MindGeek was intentionally concealing and commercializing such content.
 14         415. Certainly, taken together, all of this would have informed even the
 15 densest inquisitor that MindGeek was intentionally engaged in commercializing non-
 16 consensual trafficked content.      The credit card companies and their members
 17 providing merchant banking to MindGeek were not uniquely incapable of
 18 understanding all of this. To the contrary, they were uniquely capable and in the
 19 best position to understand this.    And they did understand this.   They simply chose
 20 to do business with MindGeek and benefit from its trafficking venture nevertheless.
 21         416. Most important, these companies and member banks were well aware
 22 that it is was impossible to segregate MindGeek’s trafficking venture from its
 23 legitimate porn business.    These companies were intimately familiar with
 24 MindGeek’s business model and that all its content, including its trafficked content
 25 and CSAM/child pornography, was inextricably intertwined in MindGeek’s SEO,
 26 promotion, solicitation, and funneling of website traffic to its paid porn services.
 27 Indeed, as the campaign exposing Pornhub went viral in 2020, these credit card
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  1 companies began pressuring MindGeek to clean up explicit references to trafficked
  2 content and CSAM/child pornography on its sites by removing titles, descriptions,
  3 and tags that explicitly flagged such content.    However, Visa did not insist that the
  4 content itself be removed or that MindGeek put in place systems to reasonably
  5 ensure it was not commercializing such content and/or using it to benefit its business
  6 through SEO and the funneling of traffic to its websites.
  7         417. Not all financial institutions chose to continue benefiting from
  8 MindGeek’s trafficking venture. For example, in November 2019, Visa’s
  9 competitor PayPal terminated its relationship with MindGeek because it could no
 10 longer ignore the overwhelming evidence of MindGeek’s trafficking venture.            At
 11 the time, PayPal publicly explained that “[PayPal] explicitly prohibits the use of [its]
 12 services for the sale of materials that depict criminal behavior, or the sale of sexually
 13 oriented content to minors.”1     Despite this public disclosure, Visa continued to
 14 partner with MindGeek.        They continued to do business with MindGeek because
 15 Visa and its merchant banks servicing MindGeek were long aware of the same
 16 information and intentionally elected to not terminate their relationships with
 17 MindGeek.
 18         418. Likewise, Visa continued to process payments for MindGeek partner
 19 channels even after one of its most popular partner channels, GirlsDoPorn, was
 20 indicted and then convicted for being a human trafficking venture.      When it did this,
 21 Visa was aware that it had made millions of dollars in profits from GirlsDoPorn and
 22 similar MindGeek partner channels and elected to continue to do so without any
 23 investigation or diligence.     It did so because it was already aware that MindGeek’s
 24 business was infested with trafficked content like GirlsDoPorn, was aware that
 25 MindGeek systemically violated 18 U.S.C. § 2257 in neither requiring its partner
 26
 27   1
       https://www.thetimes.co.uk/article/paypal-cuts-off-porn-site-that-ran-child-abuse-
 28 videos-98j2bdnjt.
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  1 channels to secure and certify age verification and consent and by transferring
  2 millions of videos a year in and through MindGeek’s network of websites that did
  3 not comply with § 2257.
  4        419. Even worse, Visa continued to do business with MindGeek even after it
  5 was confronted directly with evidence of its complicity in MindGeek’s trafficking
  6 venture.    For example, in 2020, Visa was included for the first time on the annual
  7 Dirty Dozen List issued by anti-trafficking advocates to highlight mainstream
  8 business that facilitate, participate in and profit from sexual abuse and exploitation.
  9 In response, Visa issued a public statement misrepresenting that:
 10               Visa only permits transactions on the Visa network for the
 11               purchase or sale of lawful products and services.     We
 12               categorically prohibit transactions involving child
 13               pornography and human trafficking. As a founding member
 14               of the Financial Coalition Against Child Sexual
 15               Exploitation, Visa works together with our coalition
 16               partners to identify potentially illegal merchants or illegal
 17               activities and bar them from the Visa network.
 18        420. In fact, Visa was aware that it and its merchant banks servicing
 19 MindGeek permitted and profited from tens of thousands of transactions annually
 20 that benefited from MindGeek’s trafficking venture. Specifically, in addition to
 21 transactions processed to pay for trafficked content and child pornography
 22 specifically, Visa and these banks, together with MindGeek, used their trafficking
 23 venture to promote, solicit, and facilitate the purchase of consensual porn.   And
 24 they did so despite its flagrant violation of § 2257. Visa and its network banks were
 25 intimately familiar with MindGeek’s business model and how it used illicit content
 26 to attract and funnel business, advertising, and paid memberships, all of which Visa
 27 elected to process and profit from nevertheless.
 28
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  1         421. Further evidencing Visa’s commitment to doing business and benefiting
  2 from MindGeek’s trafficking venture, in April 2020, during a conference call with
  3 Elizabeth Scofield, the Director of Global Brand Protection for Visa, anti-sex
  4 trafficking advocates detailed the ways in which MindGeek was enabling and
  5 profiting from the rape and trafficking of women and children.     At the conclusion of
  6 the call, Scotfield requested written information that she could present to others at
  7 Visa, which was provided to her on April 30, 2020 in the form of a lengthy, detailed
  8 presentation detailing the ways in which Visa was participating in the exploitation of
  9 victims of sex trafficking through its partnership with MindGeek.     Visa never
 10 responded further, and elected instead to continue doing business with and benefiting
 11 from MindGeek’s trafficking venture.
 12         422. Thereafter, Visa’s participation and facilitation of MindGeek’s illegal
 13 enterprise was reiterated by a letter sent by another non-profit organization dedicated
 14 to ending human trafficking and modern slavery on May 1, 2020.        The letter, which
 15 was addressed to Visa’s president, Alfred Kelly, detailed MindGeek’s documented
 16 complicity in the trafficking of women and children and concluded with a plea to
 17 Visa to terminate its partnership with MindGeek.
 18         423. MindGeek’s illegal and criminal activities were further detailed in a
 19 second letter sent to Visa five days later on May 5, 2020. Among other important
 20 disclosures, the May 5, 2020 letter explained that it is impossible to “judge or verify
 21 consent in any videos on [Pornhub] let along live webcam videos” which inherently
 22 make it “a target for sex traffickers, child abusers, and other sharing predatory
 23 nonconsensual videos.”2     This was not a novel alert.   The presence of trafficking in
 24 the webcam industry was notorious and well known to Visa.
 25         424. Nevertheless, Visa and its member banks processing payments from
 26 MindGeek elected to continue processing such transaction even when they carried
 27
      2
 28       https://www.bbc.com/news/world-52543508
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  1 with them obvious red flags such as involving accounts from known trafficking
  2 regions and where payments from large numbers of purportedly independent cam
  3 models were being deposited into single accounts of obvious traffickers.
  4         425. When Visa failed to take any action in response to the detailed
  5 presentation of facts and follow up correspondence, anti-trafficking public advocates
  6 launched an email campaign, targeting the executives of Visa.      Within two days of
  7 the May 8, 2020 campaign launch, hundreds of emails had been sent.        On May 15,
  8 2020, a second campaign was started.       By May 22, 2020, thousands of emails had
  9 been sent to Visa executives calling for Visa to terminate its relationship with
 10 Pornhub.
 11         426. Yet Visa did not respond. However, over two months later when the
 12 campaign against MindGeek again picked up steam due to a viral video released by
 13 advocates, Visa did conduct a CYA scramble to avoid being accused of ignoring the
 14 issue entirely.   On July 15, 2020, it sent a response letter.
 15         427. That response was stunning. Instead, of seriously considering the
 16 evidence of illegality it was already well aware of, it offered mealy-mouthed
 17 platitudes about its vital role in commerce, its need to remain neutral, and the need
 18 for others to do something about a pure evil it was uniquely situated to immediately
 19 address:    “We believe that any truly effective solution must come from thoughtful
 20 changes to laws and regulations by those elected to establish the laws of our country .
 21 . . Maintaining a neutral stance under the law is vital for the free flow of commerce.”
 22 That is to say, translated into English:   we do not want to get involved in policing
 23 illegal conduct when we are making money on the illegal conduct even if we admit it
 24 is evil and we could easily stop it” (emphasis added). The ease with which anyone,
 25 and certainly sophisticated financial institutions with rigorous due diligence
 26 obligations, would have become aware of MindGeek’s trafficking venture was made
 27 obvious by the December 4, 2020 New York Times bombshell report by Pulitzer
 28
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  1 Prize winner Nicholas Kristoff, “The Children of Porn Hub.”       Acknowledging that
  2 MindGeek’s business involves much legitimate, legal pornography, Kristoff also
  3 reported how his relatively modest investigative efforts easily revealed that its
  4 business also was flooded with non-consensual content and seems designed so be so:
  5               Yet there’s another side of the company: Its site is
  6               infested with rape videos. It monetizes child rapes, revenge
  7               pornography, spy cam videos of women showering, racist
  8               and misogynist content, and footage of women being
  9               asphyxiated in plastic bags. A search for “girls under18”
 10               (no space) or “14yo” leads in each case to more than
 11               100,000 videos. Most aren’t of children being assaulted,
 12               but too many are.
 13
 14                     **************************************
 15
 16               A great majority of the 6.8 million new videos posted on
 17               the site each year probably involve consenting adults, but
 18               many depict child abuse and nonconsensual violence.
 19               Because it’s impossible to be sure whether a youth in a
 20               video is 14 or 18, neither Pornhub nor anyone else has a
 21               clear idea of how much content is illegal.
 22
 23                     ***************************************
 24
 25               I came across many videos on Pornhub that were
 26               recordings of assaults on unconscious women and girls.
 27               The rapists would open the eyelids of the victims and touch
 28
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  1             their eyeballs to show that they were nonresponsive.
  2
  3             Pornhub profited this fall from a video of a naked woman
  4             being tortured by a gang of men in China. It is monetizing
  5             video compilations with titles like “Screaming Teen,”
  6             “Degraded Teen” and “Extreme Choking.” Look at a
  7             choking video and it may suggest also searching for “She
  8             Can’t Breathe.”
  9
 10                   ****************************************
 11             Facebook removed 12.4 million images related to child
 12             exploitation in a three-month period this year. Twitter
 13             closed 264,000 accounts in six months last year for
 14             engaging in sexual exploitation of children. By contrast,
 15             Pornhub notes that the Internet Watch Foundation, an
 16             England-based nonprofit that combats child sexual abuse
 17             imagery, reported only 118 instances of child sexual abuse
 18             imagery on its site over almost three years, seemingly a
 19             negligible figure.
 20
 21             The Internet Watch Foundation couldn’t explain why its
 22             figure for Pornhub is so low. Perhaps it’s because people
 23             on Pornhub are inured to the material and unlikely to report
 24             it. But if you know what to look for, it’s possible to find
 25             hundreds of apparent child sexual abuse videos on Pornhub
 26             in 30 minutes. Pornhub has recently offered playlists with
 27             names including “less than 18,” “the best collection of
 28
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  1             young boys” and “under- - age.”
  2
  3                   ****************************************
  4
  5
                So while it is now no longer possible to search on Pornhub
  6
                in English using terms like “underage” or “rape,” the
  7
                company hasn’t tried hard to eliminate such videos. A
  8
                member called “13yoboyteen” is allowed to post videos. A
  9
                search for “r*pe,” turns up 1,901 videos. “Girl with braces”
 10
                turns up 1,913 videos and suggests also trying “exxxtra
 11
                small teens.” A search for “13yo” generates 155,000
 12
                videos. To be clear, most aren’t of 13-year-olds, but the
 13
                fact that they’re promoted with that language seems to
 14
                reflect an effort to attract pedophiles.
 15
 16             Moreover, some videos seem at odds with the list of
 17             banned content. “Runaway Girl Gets Ultimatum, Anal or
 18             the Streets” is the title of one Pornhub video. Another user
 19             posts videos documenting sex with teenage girls as they
 20             weep, protest and cry out in pain.
 21
                While Pornhub is becoming more careful about videos of
 22
                potentially litigious Americans, it remains cavalier about
 23
                overseas victims. One Indonesian video is titled “Junior
 24
                High School Girl After Class” and shows what appears to
 25
                be a young teenager having sex. A Chinese sex video, just
 26
                taken down, was labeled: “Beautiful High School Girl Is
 27
                Tricked by Classmates and Taken to the Top of a Building
 28
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  1                Where She Is Insulted and Raped.”
  2
                   In the last few days as I was completing this article, two
  3
                   new videos of prepubescent girls being assaulted were
  4
                   posted, along with a sex video of a 15-year-old girl who
  5
                   was suicidal after it went online. I don’t see how good-faith
  6
                   moderators could approve any of these videos.
  7
            428. Almost immediately after this report was published, both Visa and
  8
      Mastercard terminated substantial connections with MindGeek, claiming that after
  9
      just a few days of “investigation” they had “discovered” that MindGeek’s websites
 10
      were permeated with illegal content. In fact, these companies and their member
 11
      banks providing merchant banking services to MindGeek were aware of these facts
 12
      for over a decade but elected to continue doing business with them and make
 13
      millions of dollars in profit from MindGeek’s trafficking venture.
 14
            429. On December 10, 2020, Visa posted on Twitter: “[g]iven the allegations
 15
      of illegal activity, Visa is suspending Pornhub’s acceptance privileges pending the
 16
      completion of our ongoing investigation. We are instructing the financial institutions
 17
      who serve MindGeek to suspend processing of payments through the Visa network.”
 18
            430. Unlike Visa’s response which merely acknowledged “allegations of
 19
      illegal activity,” the CEO of Visa’s biggest competitor, Mastercard, acknowledged
 20
      publicly that after just a few days of “investigation” it had determine MindGeek was
 21
      trafficking in illegal content:
 22
                   We went back and we looked, and we found actually
 23
                   instances where clearly the legal standard of what should
 24
                   be allowed on Pornhub had been crossed. So, we went back
 25
                   to Pornhub and said, ‘Sorry, you’ve crossed the legal
 26
                   standard. Porn’s not illegal. It is certain kinds of porn that
 27
                   are illegal. So child porn is, and that’s what we saw. That’s
 28
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  1                why we pulled out.”
  2          431. Visa’s investigation revealed the same thing, and more, yet it refused to
  3 also publicly acknowledge this fact because it wanted to continue doing business
  4 with, and profiting from, MindGeek’s trafficking venture.
  5          432. And that is what it did.    Visa’s ban on MindGeek’s websites was short-
  6 lived.    Although Visa continues its ban on MindGeek’s websites that host user-
  7 generated content, like Pornhub, in short order Visa reembraced MindGeek and
  8 began processing payments again for MindGeek’s paysites despite knowing that
  9 these revenue streams are likewise permeated with trafficking like GirlsDoPorn, and
 10 that MindGeek used its trafficking venture overall to attract, advertise, and funnel
 11 visitors revenues to these paid sites.    As of the filing of this lawsuit, Visa continues
 12 to process payments for such content.3
 13                6.     The Criminal Scheme to Conceal the Enterprise’s
 14                       Racketeering and Shame, Discredit, Intimidate, and Silence
 15                       Victims.
 16          433. MindGeek worked as hard to conceal and suppress the truth about its
 17 business model as it did on SEO.       When such videos were publicly questioned in
 18 social media discourse, it initially hid behind the false façade it had built of itself as a
 19 mainstream legitimate company.        This played on the general public’s
 20 misunderstanding that because users were not operating on the dark web, but on
 21 Pornhub, the content was consensual and legal.
 22          434. Indeed, Social Media Optimization (“SMO”) was also an integral part of
 23 its Enterprise.     As part of this SMO, MindGeek used its extensive control and
 24 influence over all aspects of the new online porn industry that it dominated to mount
 25 powerful public messaging campaigns when it felt necessary.          This network
 26
 27   3
     https://endsexualexploitation.org/wp-content/uploads/2021-Dirty-Dozen-
 28 List_Notification-Letter_Visa_Final.pdf.
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  1 included innumerable porn performers and producers who depended on MindGeek’s
  2 platform for their livings, putative public interest not-for-profits like the Free Speech
  3 Coalition, which received substantial support from MindGeek and was called by
  4 industry and MindGeek insiders its “lobbying arm,” and porn industry publications,
  5 like XBIZ, and bloggers, all of whom received substantial advertising and other
  6 renumeration from MindGeek in exchange for acting as MindGeek mouthpieces.
  7         435. When it felt necessary, MindGeek would activate this extensive network
  8 of seemingly independent voices to generate an “astroturf” campaign promote
  9 messaging MindGeek needed.         They did this through sophisticated SMO that
 10 included “ghost blogging,” illegal undisclosed placed content and social media
 11 influencing and amplification, and extensive marketing, advertising, and aggressive
 12 media outreach.     Through all these tools, MindGeek worked tirelessly to
 13 manufacture a false public image that concealed its illicit practices and to silence
 14 those who posed a risk to that façade.
 15         436. In particular, this included MindGeek’s extensive Pornhub Cares effort
 16 to create an image of its flagship Pornhub brand as mainstream, legitimate, and
 17 ethical.   As part of this effort, MindGeek promoted various social causes including
 18 billboard ads in Times Square, ads on snow plows during blizzards, breast and
 19 testicular cancer campaigns, voting campaigns, pop-up shops on Valentine’s day, and
 20 environmental campaigns like Save the Oceans, Save the Pandas, and Save the Bees.
 21         437. It also attempted to publicly align itself with anti-exploitation entities.
 22 For example, in 2020 MindGeek began making donations to the European anti-child
 23 exploitation network called InHope causing the Canadian Centre for Child Protection
 24 – which is charged under Canadian law with combatting child pornography, has the
 25 leading technology to detect such abuse material, and knows MindGeek best of all –
 26 to withdraw from the network. It did so because as the leading anti-child
 27 pornography organization in Canada it fully understood the hypocrisy of the
 28
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  1 affiliation and MindGeek’s obvious effort to corrupt and compromise this
  2 organization dedicated to combatting organizations of which MindGeek was the
  3 poster child.
  4        438. But these hypocritical efforts to falsely portray itself as a responsible,
  5 ethical corporate actor palled in comparison to MindGeek’s surreptitious efforts to
  6 use its influence network for unethical and illegal purposed.    For example,
  7 MindGeek funneled money from its foreign subsidiaries in Luxembourg and Cyprus
  8 through its MindGeek USA subsidiary into California to lobby against California
  9 laws governing the porn industry in violation of California law.    This illegal
 10 lobbying and laundering of money to oppose these proposed laws resulted in fines
 11 imposed by California Fair Political Practices Committee.
 12        439. Most troubling, MindGeek aggressively used its powerful messaging
 13 network to insidiously attack, discredit, and intimidate former employees and
 14 partners, whistleblowers, activists, and victims of its criminal schemes.   These
 15 efforts were directly led by MindGeek vice-president Corey Urman, who closely
 16 controls and often personally participates in the public messaging. Urman on behalf
 17 of MindGeek leads these efforts and works closely with powerful public relations
 18 and social media firms in North America and Europe, including most prominently
 19 powerful New York public relations and social media firm 5wPR.
 20        440. Urman and 5wPR regularly purport to publicly speak on behalf of
 21 MindGeek using false identities of non-existent people misrepresented as MindGeek
 22 spokespeople.     These identities include Ian Andrews, Mike Williams, Chris
 23 Jackson, Brett Hall, Dusty Gitalto, and Corey Price.    On occasion, reporters or
 24 others have called a numbers for a purported MindGeek spokespeople only to learn
 25 they were talking to a person of a different name who was employed by 5wPR.
 26 These false identities were used because they know the statements they were making
 27 were false and they did not want them attributed to themselves.
 28
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  1        441. MindGeek and 5wPR directly and through investigative firms and
  2 “partners” in Eastern Europe do deep opposition research and investigation of their
  3 “enemies” and their immediate and extended families.       This information is then
  4 used to intimidate and blackmail them. MindGeek “enemies” also repeatedly
  5 experience hacking of personal information and doxing. Insiders uniformly report
  6 that it is understood that anyone who crosses MindGeek or is seem as a threat to
  7 expose their illegal practice will be subjected to this treatment.   Over the course of
  8 the last 16 months, MindGeek, 5wPR, and their operatives have mounted an
  9 aggressive “astroturf” campaign against advocates and victims calling attention to its
 10 true business practices.
 11               7.     MindGeek’s Criminal Scheme is Publicly Revealed
 12        442. On February 9, 2020, activist Laila Mickelwait published an op-ed in
 13 the Washington Times about Pornhub to make the public aware that the site used
 14 nonconsensual content, did not have meaningful processes to exclude such content,
 15 and was profiting from such content:
 16               It took me under 10 minutes to create a user account and
 17               upload blank test content to the site, which went live
 18               instantly. I could have then gone on to become Pornhub-
 19               verified, and all I would need to do is send a photo of
 20               myself holding a paper with my username. That’s it.
 21
 22               One of the most-searched terms on Pornhub is “teen”
 23               pornography. The search will result in videos that are
 24               constantly being added faster than any individual could
 25               watch them. Many feature girls who look 13 years old at
 26               best — girls with braces, pigtails, flat chests, no makeup,
 27               extremely young faces, holding teddy bears and licking
 28
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  1               lollipops, all while being aggressively penetrated. A quick
  2               search for the word “teen” turns up titles such as “Young
  3               Girl Tricked,” “Innocent Brace Faced Tiny Teen F---ed,”
  4               “Tiny Petite Thai Teen,” “Teen Little Girl First Time,” on
  5               and on ad infinitum.
  6
  7               Pornhub has no system in place to verify the girls (and I
  8               say “girls” because they are not women) in the videos it
  9               hosts are not trafficked children being raped on film in
 10               order to line the pockets of its executives.
 11
 12               What all of this means is that at this very moment, there
 13               could be hundreds, if not thousands, of videos of underage
 14               sex trafficking victims on Pornhub. If there could be, I can
 15               almost guarantee you there are. We already have evidence,
 16               and it is just the tip of the iceberg.
 17
 18               It’s time to shut down super-predator site Pornhub and hold
 19               the executive megapimps behind it accountable.
 20         443. The article gained a significant amount of traction as it was shared by
 21 advocates, advocacy groups allied with Mickelwait’s work, and the public who were
 22 hearing about the issue for the first time.
 23         444. Thereafter, Mickelwait launched a Change.org campaign to shut down
 24 what the campaign branded as “Trafficking Hub” and titled “Shut Down Pornhub
 25 and Hold Its Executives Accountable for Aiding Trafficking.”       Mickelwait’s
 26 “Traffickinghub” Campaign went viral, with tens of thousands of individuals and
 27 organizations quickly taking up the cause.       Among the groundswell of viral support
 28
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  1 were hundreds of porn performers. For example, on February 16, 2020, Jenna
  2 Jameson, called “the Queen of Porn” and “the most famous porn star of all time,”
  3 said “Pornhub profits off of the rape and torture of women and children, Take a stand
  4 against these monsters at MindGeek . . . Shut it DOWN.”
  5        445. Also included in the viral support were parents who became aware that
  6 their children were easily accessing the site, and even uploading content of
  7 themselves, sometimes at the behest of predators.    Even a young minor boy joined
  8 the effort on his own by becoming a “verified” user of Pornhub, obviously without
  9 showing any government issued identification or without anyone at Pornhub
 10 questioning the obviously underage boy applications to become “verified.”
 11        446. After years of acting with impunity, Pornhub’s initial response was
 12 muted.    Indeed, it did not even deny the Op-Ed’s claims, instead only stressing that
 13 MindGeek was a technology company registered in Luxemburg for tax purposes.
 14 The Washington Times Op-Ed editor noted the response “speaks volumes” about the
 15 accuracy of the petition’s claims.
 16        447. However, as the Traffickinghub Campaign went viral and others began
 17 coming forward, MindGeek’s disinformation and intimidation machine sprang into
 18 action.   Rather than acknowledge and correct its now exposed misconduct,
 19 MindGeek instead unleashed an aggressive gaslighting campaign designed to smear,
 20 discredit, and intimidate advocates and victims who dared to begin speaking out.
 21        448. MindGeek’s gaslighting disinformation campaign developed false
 22 messaging asserting that (a) it did not incorporate and monetize CSAM, rape, and
 23 other non-consensual acts; (b) it did employ “robust” technological and human
 24 monitoring to prevent the uploading and use of nonconsensual content; and (c) its
 25 critics were lying and motivated not by the truth but by money that they could raise
 26 attacking MindGeek.      The goal of the disinformation campaign was to reinforce
 27 MindGeek’s fraudulent depiction of its business model and products; discredit
 28
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  1 advocates and victims; and intimidate advocates and victims by doxing them and
  2 their families and exposing them to hateful online and in-person attacks and threats.
  3        449. This campaign began at home, with insiders reporting MindGeek
  4 management misrepresenting to employees that the public claims were “lies” that
  5 were being spread not because they were true but because those making the claims
  6 actually wanted to destroy the porn industry for “religious reasons.”
  7        450. MindGeek and 5wPR also fully mobilized their extensive network of
  8 social media agents, influencers, and amplifiers and fed that network opposition
  9 research on, and disinformation about, advocates and victims.         For those victims
 10 who spoke publicly under pseudonyms, extensive intelligence and covert
 11 investigative work was done to identify and expose them.
 12        451. On or about February 25, 2020, Corey Urman, falsely posing under the
 13 alias Blake White, misrepresented to the media that MindGeek was and continued to
 14 be committed to ensuring non-consensual content was not part of its product and that
 15 claims otherwise were “factually wrong” and “intentionally misleading” lies:
 16               Pornhub has a steadfast commitment to eradicating and
 17               fighting any and all illegal content on the internet,
 18               including non-consensual content and child sexual abuse
 19               material.   Any suggestion otherwise is categorically and
 20               factually inaccurate. . . . Pornhub is actively working to put
 21               in place state-of-the-art, comprehensive safeguards on its
 22               platform to combat this material.    These actions include a
 23               robust system for flagging, reviewing and removing all
 24               illegal material, employing an extensive team of human
 25               moderators dedicated to manually reviewing all uploads to
 26               the site, and using a variety of digital fingerprinting
 27               solutions. We use automated detection technologies such
 28
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  1               as YouTube’s CSAI Match and Microsoft’s PhotoDNA as
  2               added layers of protection to keep unauthorized content off
  3               the site.   We also use Vobile, a state-of-the-art
  4               fingerprinting software that scans any new uploads for
  5               potential matches to unauthorized materials to protect
  6               against banned video being re-uploading.      We are actively
  7               working on expanding our safety measures and adding new
  8               features and products to the platform to this end, as they
  9               become available.     Furthermore, Pornhub will continue to
 10               work with law enforcement efforts and child protection
 11               non-profits in the goal of eliminating any and all illegal
 12               content across the internet.   The petition is not only
 13               factually wrong and intentionally misleading, it was created
 14               and is promoted by a radical rightwing fundamentalist
 15               group in the United States – a group who’s founders have
 16               long vilified and attacked LGBTQ communities and
 17               women’s rights groups, aligned themselves with hate
 18               groups, and espoused extremist and despicable language.
 19 https://www.dailydot.com/irl/petition-pornhub-shut-down-sex-trafficking/
 20        452. These claims were gross misrepresentations. There was no such
 21 commitment to avoiding non-consensual content; it was embraced.            MindGeek had
 22 no effective way to moderate content either by technology or human moderation, and
 23 was not even trying. MindGeek did not work with law enforcement or report
 24 suspected CSAM as required under federal law.        And Laila Mickelwait was not a
 25 bigot, anti-LGBTQ or women’s rights, or misleading, let alone, intentionally
 26 misleading.
 27        453. Over the course of the next year, MindGeek’s press relations and social
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  1 media organization would aggressively disseminate this gross disinformation. This
  2 campaign, led by Urman and 5wPR, included numerous MindGeek Pornhub models,
  3 including Maya Morena, Ginger Banks, Gwen Adora, and its Brand Ambassador Asa
  4 Akira, who were instructed via direct messages on Pornhub’s website and provided
  5 with talking points to disseminate MindGeek’s disinformation. In return for
  6 participating in this disinformation campaign, these agents of MindGeek were
  7 rewarded with supplemental compensation and better promotion on the MindGeek
  8 platform.
  9        454. It also included “ghost bloggers” and other undisclosed operatives
 10 publishing scripts provided by MindGeek and 5wPR as “independent” work.          That
 11 placed content by MindGeek would then be amplified by its social media network,
 12 captive reporters, and 5wPR and other SMO efforts.      The false claims generated by
 13 this coordinated and aggressive gaslighting campaign of disinformation were
 14 repeated in hundreds of news stories and incalculable more social media posts and
 15 memes during 2020, smearing, shaming, and attempting to intimidate advocates,
 16 whistleblowers, and victims from speaking out.
 17        455. In addition, MindGeek and 5wPR worked surreptitiously to “vandalize”
 18 the Wikipedia page for advocates and to load onto those pages the disinformation
 19 they were aggressively disseminating. Their efforts were so aggressive and obvious
 20 that Wikipedia put a disclaimer on the target’s page.   Over the next year, MindGeek
 21 would continue to push this gaslighting disinformation campaign (a) misrepresenting
 22 that non-consensual content was not present on MindGeek’s tubesites; (b)
 23 misrepresenting that MindGeek disapproved of nonconsensual content on its
 24 tubesites; (c) misrepresenting that MindGeek had robust human and technological
 25 moderation to prevent such content from being uploaded; and (d) explicitly accusing
 26 Mickelwait of (i) lying in claiming otherwise in her op-ed, petition, and other public
 27 comments about MindGeek, (ii) lying about her objectives and motivations, and (iii)
 28
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  1 fraudulently using her claims to defraud people and enrich herself.     These
  2 materially false claims were repeated ubiquitously for the next year by MindGeek,
  3 particularly Urman and 5wPR, and the agents and operative in their press and social
  4 media network.
  5         456. For example, as the viral opposition to Mindgeek gained steam in
  6 February and March 2020, Mindgeek made various public statements intended to
  7 gaslight the public, its users, its partners, and law enforcement.   By way of example
  8 only, on March 5, 2020, Mindgeek misleadingly tried to disassociate itself from its
  9 own business, falsely reporting that it was merely “a technology company that
 10 doesn’t film or produce any adult content and is headquartered in Luxemburg, not
 11 Montreal.”     Two days later Urman and 5wPR had two separate statements issued
 12 from Mindgeek and Pornhub to make it appear they were separate businesses both,
 13 denying their businesses were involved in illegal content and calling such
 14 accusations “lies” and “grossly misrepresented.”
 15         457. During this time, one of the early operatives commissioned by Urman
 16 and 5wPR was a person operating on social media under the moniker EyeDeco.
 17 From shortly after the viral online campaign against MindGeek began, EyeDeco and
 18 5wPR commissioned EyeDeco as an operative in their “astroturf” gaslighting
 19 campaign. She would dox activists and victims, call them liars and grifters, and
 20 attempt to harass and intimidate them with releases of personal information about
 21 them and their extended families that Urman and 5wPR provided to her and
 22 instructed her to disclose.
 23         458. EyeDeco’s real identity is a female living in Montreal known to the
 24 plaintiffs with the initials GS.   Among other things, investigation revealed that GS
 25 uses the unique moniker “EyeDeco” in other mediums not readily available to the
 26 public and has other connections to senior people involved in the MindGeek
 27 Enterprise.    On March 1, 2020, she began disseminating MindGeek’s gaslighting
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  1 narrative misrepresenting that it only operated legally and with consensual content
  2 and that those publicly claiming otherwise were lying to enrich themselves. She
  3 indicated that her audience would discover this if they “#FollowtheMoney.”         For
  4 months she would continue to disseminate this false “#FollowtheMoney” meme.
  5         459. More ominously, GS began publicly doxing and releasing personal
  6 information about those who dared speak up against MindGeek and their extended
  7 families.     This personal information was researched and provided to GS by Urman
  8 and 5wPR.       As part of this intimidation campaign, in June 2020, GS doxed
  9 Mickelwait and her extended family with a release of an assortment of information.
 10 Among that information was properties that they owned, including that Mickelwait
 11 owned, which GS suggested was used as a brothel: “BTW . . . what kind of property
 12 rental businesses are generally known for renting on an hourly basis.”
 13         460. Shortly thereafter, Mickelwait’s extended family members discovered
 14 that their bank accounts, messaging apps, and iClouds had been hacked.          Those who
 15 committed this illegal intrusion then sent an intimate stolen picture of one of her
 16 family member’s spouse in an effort to threaten and intimidate.      Other critics of
 17 MindGeek received similar treatment.       For example, senior executives at vocal
 18 critic National Center for Sexual Exploitation as well as their siblings had computers,
 19 cloud storage, emails, and social media accounts hacked.       Other victims and
 20 advocates who spoke out or expressed support and who Urman and 5wPR viewed as
 21 a threat were also threatened with or actually doxed.
 22         461. GS also directly targeted CSAM victims to discredit, sham, and
 23 intimidate.    One victim going by the name Sofia shared her story of being trafficked
 24 as a child on Pornhub in a blog she wrote.     In the blog she detailed the way in which
 25 from the age of nine to fifteen she was sex trafficked and how she found the videos
 26 of her child rape and exploitation on Pornhub over and over:
 27                “I am a survivor of child trafficking” a sentence iv’e put off
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  1             saying for a very long time, I didn’t consider myself a
  2             victim because I didnt know anything different. As a 9 year
  3             old I thought I was just helping mommy and daddy, as a
  4             child I had always been taught to not question my parents
  5             to be seen and not heard that as a girl I was nothing more
  6             than a inconvenience, that I needed to help my parents pay
  7             the bills because that’s the least I could do.
  8
  9             My suffering did not end with those who had the power to
 10             use me, it continued but this time through a screen. Videos
 11             of my assaults and videos of me being forced to dance and
 12             strip began popping up on the popular tube site Pornhub,
 13             in some of them I was as young as 9 in others I was 15. I
 14             didn’t know what to do I remember sitting in front of my
 15             phone and watching the view count go up. I used to spend
 16             hours reading the comments, people asking how much a
 17             night with me would cost.
 18
 19             I became so desensitized I stopped caring that videos
 20             continued to get uploaded, they would get deleted then a
 21             couple of days later they would get reuploaded or new ones
 22             would pop up. Some of the titles of the videos that
 23             continued to be uploaded to Pornhub were “Young girl
 24             begging to stop” “Screaming teen gets pounded” “barely
 25             legal getting choked” “Sexy brunette forced to strip” some
 26             of the videos were reuploaded 6 times.
 27
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  1                 I’m telling my story because I don’t want anyone to go
  2                 through and feel the way I did, I thought if I spoke up
  3                 everyone would think I was a liar I don’t care anymore to
  4                 anyone that’s gone through something similar I’m with
  5                 you, I see you and I believe you. It is not our fault and
  6                 those who monetized and downloaded our trauma need to
  7                 be held accountable.
  8
  9                 Pornhub needs to answer for their mistakes they need to be
 10                 shut down they’ve had countless opportunities to address
 11                 and fix their mistakes but they have continued to brush off
 12                 complaints and ignore victims, mistakes that have ruined
 13                 not only my life but countless others. It’s time they take
 14                 responsibility for their actions and get their platform taken
 15                 from them.4
 16           462. In response to this Medium post, GS publicly called out Medium:
 17 “Suggest using #CrticialThought to understand how these #grifters have hijacked a
 18 legitimate issue in order to further their own agenda,” which as the “grifter”
 19 reference clearly indicated was to enrich themselves.
 20           463. Sofia created a Twitter account with which to share the article and
 21 continue advocating for herself and other victims while remaining anonymous.
 22 Within moments of it being shared, GS attacked her as a liar and grifter. In doing so,
 23 GS made an argument only someone very familiar with the details of Pornhub’s
 24 website would know, and which was fed to her by Urman and 5wPR. She claimed
 25 that the screenshot Sofia had posted purportedly from her abuser showed an “edit”
 26
 27
      4
          https://medium.com/@A.Sofia/not-alone-945c743b6e42
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  1 button that would only appear on the screen of the person uploading the video.
  2         464. Based on this claim, GS asserted that the abusive materials had been
  3 uploaded by “Sofia herself.”     She called the young victim a “scammer” and tagged
  4 “#Scammer #LailaMickelwait” to indicate Sofia was a fake operated by others
  5 looking to use their campaign to enrich themselves.     Urman and 5wPR knew when
  6 they instructed GS to make these claims that they were false.
  7         465. GS went on to harass Sofia, saying, “I see you created your twitter
  8 account rather quickly – as in today. Your ‘friend’ #LailaMickelwait must have
  9 coached you on how to open a new account. What timely timing.         As to why you
 10 would #lie about this – no doubt Laila knows she does a lot of it re: #Pornhub.”
 11         466. Sixteen-year-old Sofia, distraught over the attack said, “maybe its
 12 because I don’t want people knowing who I am no one coached me I made this
 13 decision myself.”    GS taunted her “uh huh . . .” then suggested again that Sofia
 14 fabricated the whole account and was just a puppet of Mickelwait.      She went on,
 15 “Laila aka Sofia franchement all your #followers are sadly lacking in
 16 #CriticalThought.”     GS use of the French word “franchement,” which means
 17 “frankly,” gave away her likely location in MindGeek’s home of Montreal.
 18         467. GS then repeated her defamatory claim directly to Medium: “Before
 19 uploading stories, suggest vetting sources first see above regarding #edit button
 20 ONLY being available to #Uploaders Which in this case as per screenshot in your
 21 #Article #Story is Sofia herself. #LailaMickelwait #scammers.”
 22         468. Distraught Sofia responded, “So now I am a liar because my assaulter
 23 sent me the screenshot himself. He used it to make me know he could profit of my
 24 body I am just a 16 year old why would I lie about this.”
 25         469. It was then that Sofia uploaded the screenshot of the actual text message
 26 her abuser sent to her with the screenshot in the text. In Spanish it reads “See told
 27 you I could do whatever I wanted with you” “cheap whore” “they don’t even have to
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  1 wear a condom I am gonna tell Desire I found more clients for you.”
  2
  3
  4
  5
  6
  7
  8
  9
 10
 11
 12        470. After Sofia uploaded the proof that she was not lying, GS ceased her
 13 attacks.   She was the only one to have attacked Sofia with that claim until Urman
 14 and 5wPR had the same assertion made to the New York Times in an effort to stop
 15 its report “The Children of Pornhub.”
 16        471. Urman and 5wPR also had GS attack plaintiff Serena Fleites, who was
 17 featured in the New York Times story.     MindGeek fed GS opposition research on
 18 Fleites derived from a “scrap” of the young woman’s social media accounts after she
 19 too went public with her abuse and exploitation by MindGeek.     GS used that social
 20 media material to likewise attack Serena as a “#grifter”: “Serena seems like she
 21 knows and has known for quite some time exactly what she is doing aka #grifting.”
 22        472. When the New York Times asked MindGeek about the GS’s targeting
 23 of Serena and Sofia, and the coincidence of both MindGeek and GS accusing Sofia
 24 of uploading the video herself, GS’s began taking down her social media and locked
 25 her account.
 26        473. Before ending her campaign, GS worked to transition her efforts to
 27 another operative being run by Urman and 5wPR under the false identity of Justine
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  1 Halley.   After GS was compromised, Halley took up her role as a “ghost” blogger
  2 and social media operative in or about July 2020. Posing as an independent writer,
  3 Halley began publishing the Urman 5wPR narrative, including on medium.         That
  4 narrative, like the one Urman and 5wPR fed GS, attempted to gaslight readers that
  5 MindGeek tolerated no non-consensual content and aggressively worked to exclude
  6 it from its platform. And she repeated the false narrative that those saying
  7 otherwise were lying.
  8        474. Justine Halley was actually Sarah Valmont, a porn writer who had
  9 attended graduate school in Montreal.     Valmont was unemployed during Pornhub’s
 10 gaslighting campaign and was hired by MindGeek to pose as an independent author
 11 while actually writing as a MindGeek agent and publishing the narrative it was
 12 paying here to publish.
 13        475. According to the narrative she was paid to publish, the viral campaign to
 14 hold MindGeek accountable was “a calculated creation with an agenda that goes
 15 beyond the push to shut down Pornhub” and really an effort to
 16              exploit[] the pain of real victims in [support of the
 17              advocate’s] million dollar trafficking hub campaign . . . .
 18              Churning out increasingly sensationalist messages and
 19              outright falsehood to make it appear as though Pornhub is
 20              intentionally acting in bad faith, and is encouraging people
 21              to abuse their own platform terms of service by uploading
 22              illegal content. . . . Pornhub dos not allow illegal content
 23              period. Pornhub has a robust system in place to moderate
 24              content using both cutting edge technology and human
 25              moderators.
 26        476. The fictitious Halley’s claims were outright lies she was instructed to
 27 disseminate by Urman and 5wPR.
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  1         477. Thereafter, in August and September, Halley went even further at
  2 Urman and 5wPR’s direction. She claimed falsely that Mickelwait was “doctoring
  3 screenshots” that she was presenting publicly to prove her claims: “I have evidence
  4 that Laila Mickelwait is doctoring screenshots she shares of Pornhub content and is
  5 deliberately lying and misrepresenting the platform. In some legal circles that kind
  6 of things is called, ‘libel’.    More to come.”   ((8/29/20)    see also “I hope Laila
  7 gives whoever doctors her screenshots of PH a nice raise, along with plenty of
  8 Kleenex.” (9/1/20)).
  9         478. Urman and 5wPR instructed Halley to make this extraordinary claim
 10 because the content readily available from MindGeek’s own tubesites was the most
 11 devastating evidence debunking their gaslighting narrative.       Unwilling to actually
 12 remove such content from its platform, MindGeek was forced instead to claim it was
 13 all fabricated when it was revealed.
 14         479. Halley combined these false claims with repeated claims that the entire
 15 campaign was based on “evangelical bigots [who] are lying to well meaning people
 16 about their real agenda and using the pain of victims to further that agenda.” See
 17 supra n.4.
 18         480. MindGeek’s more overt network operatives also aggressively
 19 prosecuted its gaslighting disinformation campaign with the same false narrative.
 20 One of the most aggressive was its exclusive Brand Ambassador Asa Akira.           For
 21 example, on July 2, 2020, Akira publicly gaslighted victims and advocates in
 22 parroting MindGeek’s lie that it did not monetize child pornography and trafficked
 23 content and all non-consensual content had always been “strictly prohibited”:
 24                Their claim that Pornhub is profiting off of child porn is
 25                FALSE.     Illegal content is (and always has been) strictly
 26                prohibited on Pornhub; that included any porn involving
 27                anyone underage and any porn involving anyone who is
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  1               there without consent.
  2        481. On October 17, 2020, she called such claims “straight-up lies and
  3 misinformation.”
  4        482. Likewise, throughout 2020, Pornhub’s social media director “Pornhub
  5 Aria” gaslighted the public by misrepresenting that Mindgeek strictly prohibited
  6 illegal content, screened for it, had technology to detect it, and removed it
  7 immediately. For example, on April 10, 2020, Pornhub’s Aria comprehensively
  8 presented its gaslighting lie on social media, when she wrote on social media about
  9 “misinformation circulating” on social media by advocates and victims who
 10 “misrepresent [MindGeek’s] policies and procedures”:
 11               First and foremost, illegal content is strictly prohibited on
 12               Pornhub. This has always been the case and will always
 13               be the case and the safety of our users and models is our
 14               number one priority. Upon upload, every video and photo
 15               uploaded to Pornhub is reviewed manually by a large and
 16               extensive team of moderators looking for illegal content.
 17               This sets us apart from other platforms like Twitter or You
 18               Tube as well as other adult sites and allows us to act swiftly
 19               and promptly for users who violate the terms of service.
 20               In addition we use automatic detection technologies on
 21               uploads such as YouTube’s CSAI Match and Microsoft
 22               Photo DNA as added layers of protection.       Finally, we
 23               also review flags or content removal reports for illegal
 24               content.   We have a dedicated community that works
 25               actively to ensure that content adheres to our TOS and
 26               rapidly flags any they find questionable for
 27               review/removal.    Any content removal request we receive
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  1               on our content are priorities and expedited faster than any
  2               other type of support request and acted upon within hours,
  3               not days. If we come across CSAM, the videos are
  4               fingerprinted so they cannot be reuploaded, and the user is
  5               banned.    We report the user and the uploads to the
  6               National Center for Missing and Exploited Children
  7               (NCMEC) who will work with global authorities. . . . All
  8               illegal content, in addition to content that breaches our
  9               terms of service, is immediately removed as it is detected.
 10         483. Every sentence of this MindGeek statement was a lie.
 11                                 CAUSES OF ACTION
 12                                         COUNT I
 13                       (Violation of 18 U.S.C. §§ 1591(a)(1), 1595)
 14                           Against the MindGeek Defendants)
 15         484. Plaintiffs incorporate by reference and reallege each and every
 16 allegation set forth above, as though fully set forth herein.
 17         485. MindGeek, through its byzantine network of sham shell entities, agents,
 18 executives, and investors, is a sex trafficking venture within the meaning of 18
 19 U.S.C. §§ 1591 and 1595.
 20         486. MindGeek recruited, enticed, harbored, transported, provided, obtained,
 21 advertised, maintained, patronized, and/or solicited Plaintiffs and other minors, and
 22 victims of rape, sexual abuse, sexual exploitation and nonconsensual sex that they
 23 knew, should have known, or recklessly disregarded had not attained the age of
 24 majority at the time of the commercial sex act and/or were caused to engage in
 25 commercial sex acts through combination of force, threats of force, fraud, or
 26 coercion by, among other things:
 27               (a) recruiting, commissioning, paying for, buying, and aggressively
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  1                    soliciting content produced through human trafficking and slavery;
  2               (b) producing CSAM and nonconsensual sexual content through
  3                    MindGeek owned production companies;
  4               (c) partnering with known traffickers, including known East Asia
  5                    traffickers, and others through its ModelHub program;
  6               (d) advertising additional pornographic sites that offer paid content that
  7                    are either owned by MindGeek or by third parties;
  8               (e) selling advertising for other projects and services it or third-parties
  9                    offer, including through MindGeek affiliate, defendant Traffic
 10                    Junky;
 11               (f) pushing and reuploading all effective content on any of its tubesites
 12                    regardless of its initial sourcing to its other tubesites which it
 13                    falsely portrayed as posted by a user other than MindGeek; and
 14               (g) modifying effective content and duplicating to optimize search
 15                    engine optimization, including to make content appear as if it was
 16                    user made;
 17         487. Plaintiffs are all victims of MindGeek’s sex trafficking venture within
 18 the meaning 18 U.S.C. §§ 1591 and 1595.
 19         488. The CSAM and other nonconsensual content uploaded and distributed
 20 by MindGeek constitute commercial sex acts under the statute.
 21         489. MindGeek knew or recklessly disregarded the fact that (i) certain
 22 plaintiffs had not attained 18 years of age when caused to engage in the commercial
 23 sex acts; and/or (ii) means of force, threats of force, fraud, or coercion were used to
 24 cause plaintiffs to engage in a commercial sex act because, among other things:
 25               (a) MindGeek had a reasonable opportunity to observe the victims
 26                    featured on its website;
 27               (b) MindGeek purported to have moderators review every video prior
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  1                    to uploading it to its website;
  2               (c) MindGeek regularly reuploaded materials that had been removed
  3                    from its site in response to directives from authorities or a victim’s
  4                    lawyer to remove child pornography or other illegal materials;
  5               (d) Public comments on posts, video titles, and tags revealed that the
  6                    content depicted underage victims and victims of assault and sex
  7                    trafficking;
  8               (e) victim notification, third party reporting, direct correspondence
  9                    from advocacy groups and governmental investigations;
 10               (f) MindGeek failed to adopt appropriate age and consent verification
 11                    requirements.
 12         490. As a direct and proximate result of the MindGeek venture’s
 13 wrongdoing, Plaintiffs have suffered substantial damages, including but not limited
 14 to, physical, psychological, financial, and reputational harm as well as other
 15 economic damages set forth herein, in an amount to be determined at trial.
 16         491. Moreover, by reason of MindGeek’s violations of 18 U.S.C. §§ 1591
 17 and 1595 plaintiffs are entitled to recover attorney’s fees, costs, and punitive
 18 damages.
 19                                        COUNT II
 20                       (Violation of 18 U.S.C. §§ 1591(a)(2), 1595)
 21                          (Against the MindGeek Defendants)
 22         492. Plaintiffs incorporate by reference and reallege each and every
 23 allegation set forth above, as though fully set forth herein.
 24         493. The MindGeek Defendants knowingly benefit from a sex trafficking
 25 venture by benefitting financially or receiving something of value from participation
 26 in a venture that recruited, enticed, harbored, transported, provided, obtained,
 27 advertised, maintained, patronized, and/or solicited Plaintiffs and other minors and
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  1 victims of rape, sexual abuse, sexual exploitation, and nonconsensual sex that they
  2 knew or recklessly disregarded had not attained the age of majority at the time of the
  3 commercial sex act and/or were caused to engage in commercial sex acts through
  4 combination of force, threats of force, fraud, or coercion.
  5        494. As set forth herein, the MindGeek Defendants participated in a venture
  6 engaged in sex trafficking by inter alia:
  7               (a) recruiting, commissioning, paying for, buying, and aggressively
  8                     soliciting content produced through human trafficking and slavery;
  9               (b) producing CSAM and nonconsensual sexual content through
 10                     MindGeek owned production companies;
 11               (c) partnering with known traffickers, including known East Asia
 12                     traffickers, and others through its ModelHub program;
 13               (d) advertising additional pornographic sites that offer paid content that
 14                     are either owned by MindGeek or by third parties;
 15               (e) sells advertising for other projects and services it or third-parties
 16                     offer, including through MindGeek affiliate, defendant Traffic
 17                     Junky;
 18               (f) pushing and reuploading all effective content on any of its tubesites
 19                     regardless of its initial sourcing to its other tubesites which it
 20                     falsely portrayed as posted by a user other than MindGeek; and
 21               (g) modifying effective content and duplicating to optimize search
 22                     engine optimization, including to make content appear as if it was
 23                     user made;
 24               (h) creating playlists that target viewers interested in child
 25                     pornography and other illegal content;
 26               (i)    featuring categories on their websites that target users interested in
 27                     child pornography and other sexual abuse, trafficking and
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  1                  nonconsensual materials;
  2             (j) directing users to describe their videos using categories like “teen”
  3                  to drive traffic;
  4             (k) maintaining the webpage and thumbnails for disabled videos so that
  5                  the MindGeek Defendants can continue to generate traffic and
  6                  revenue from that illegal content;
  7             (l) maintaining a search and tagging system—which included tags
  8                  such as “passed out teen,” and “sleeping pills”—to make it easier
  9                  for users to find and view videos of child and adult sex abuse, sex
 10                  trafficking, and other non-consensual content;
 11             (m) providing guidance to its global network of sex traffickers on how
 12                  to upload videos of sex trafficking and evade criminal
 13                  liability while complying with MindGeek’s purposefully
 14                  loose restrictions, including by maintaining public list of “banned
 15                  words”—i.e., words to avoid in the title of videos;
 16             (n) providing its global network of sex traffickers VPN services
 17                  to allow them to cover up their unlawful conduct by obscuring the
 18                  sex traffickers’ locations and identities;
 19             (o) pushing all content posted on any of its tubesites regardless of its
 20                  initial sourcing to its other tubesites which it falsely portrayed as
 21                  posted by a user other than MindGeek;
 22             (p) modifying effective content and duplicating to optimize SEO
 23                  including to make content appear as if it was user made;
 24             (q) allowing anyone to anonymously upload and download videos on
 25                  its tubesites, so that it would be extremely difficult for victims to
 26                  have their videos permanently removed, thus
 27                  increasing MindGeek’s advertising revenue and profits;
 28
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  1                (r) facilitating the reuploading of removed videos to its site and
  2                     affiliated sites; and
  3                (s) allowing all videos to be downloaded which facilitated the reupload
  4                     by different users with different titles.
  5         495. The MindGeek Defendants benefit financially from their participation in
  6 the venture.    Among other things, MindGeek benefits from premium subscriptions
  7 and advertisement revenues with almost three billion ad impressions each day, many
  8 of which are attributable to content posted of underaged and trafficked victims or
  9 victims of fraud, force, or coercion.       Moreover, the MindGeek Defendants used a
 10 network of sham shell companies to perpetuate a long-running and elaborate pattern
 11 of illegal schemes through which the members of the MindGeek venture enriched
 12 themselves.     By way of example only, MindGeek used this network of sham shell
 13 companies to mask their illicit activities, money laundering, and tax evasion by
 14 making it difficult for any one jurisdiction to see suspicious transactions of
 15 magnitude and effectively investigate isolated transactions let alone the overall
 16 operation of the Enterprise’s schemes.        Finally, MindGeek used the network of
 17 sham shell companies to defraud creditors and victims of their illicit activities by
 18 surreptitiously “bleeding” and laundering assets out of jurisdictions in which
 19 MindGeek is likely to be sued and out of the MindGeek corporate structure entirely
 20 so as to make it more difficult or impossible for victims and other creditors to get
 21 obligations paid.
 22         496. The MindGeek Defendants knew, recklessly disregarded the fact that, or
 23 should have known that they benefited from participation in a sex trafficking venture,
 24 including through the posting and dissemination of videos and images on their
 25 websites depicting sex trafficking. Among other things, the MindGeek Defendants
 26 have been repeatedly made aware of child pornography and other trafficked,
 27 nonconsensual, and illegal content on their websites by victim complaints, user
 28
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  1 comments, third party reporting, advocacy groups, and governmental investigations.
  2 Moreover, as set forth herein:
  3               (a) MindGeek purported to have moderators review every video prior
  4                    to uploading it to its website;
  5               (b) MindGeek regularly reuploaded materials that had been removed
  6                    from its site in response to a directive from authorities or a victim’s
  7                    lawyer to remove child pornography or other illegal materials;
  8               (c) comments on posts, titles, and tags informed MindGeek that the
  9                    content depicted underage victims and victims of assault and sex
 10                    trafficking; and
 11               (d) victim notification, third party reporting, direct correspondence
 12                    from advocacy groups and governmental investigations.
 13         497. Plaintiffs have suffered substantial damages, including but not limited
 14 to, physical, psychological, financial, and reputational harm as well as other
 15 damages.
 16         498. Moreover, by reason of the MindGeek Defendants’ violation of 18
 17 U.S.C. §§ 1591 and 1595 Plaintiffs are entitled to recover attorney’s fees, costs, and
 18 punitive damages.
 19                                        COUNT III
 20                          (Violation of 18 U.S.C. §§ 1591, 1595)
 21                                       (Against Visa)
 22         499. Plaintiffs incorporate by reference and reallege each and every
 23 allegation contained above, as though fully set forth herein.
 24         500. As set forth herein, MindGeek, through its byzantine network of sham
 25 shell entities, agents, executives, and investors, is a sex trafficking venture within the
 26 meaning of 18 U.S.C. §§ 1591 and 1595.
 27         501. Visa participated in the MindGeek sex trafficking venture by processing
 28
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  1 premium subscriptions and payments for MindGeek partner channels.
  2        502. Visa knowingly benefits financially and/or receives something of value
  3 from participation in the MindGeek sex trafficking venture with the MindGeek
  4 Defendants including but not limited to millions of dollars in profits from credit card
  5 transaction fees for premium subscriptions.
  6        503. Visa knew, recklessly disregarded, or should have known that it
  7 benefitted from participation in a venture engaged in acts that constitutes a violation
  8 of section of 18 U.S.C. § 1591(a)(1). As set forth herein, MindGeek’s business
  9 model of recruiting, enticing, harboring, transporting, providing, obtaining,
 10 advertising, maintaining, patronizing, and/or soliciting CSAM and other sexual abuse
 11 and trafficking content was known to, recklessly disregarded by, or reasonably
 12 should have been known to Visa because, among other reasons:
 13               (a) video titles, comments and tags informed Visa that the content
 14                     depicted underage victims and victims of assault and sex
 15                     trafficking;
 16               (b) the information was publicly available through third party
 17                     reporting, including PayPal’s public decision to withdraw based on
 18                     the identification of CSAM and other illegal content, the New York
 19                     Times expose article “The Children of Pornhub,” and the Dr. Oz
 20                     segment;
 21               (c) direct correspondence from advocacy groups and e-mail writing
 22                     campaign re same;
 23               (d)    governmental investigations, including by the Canadian House of
 24                     Commons; and
 25               (e) public searches on MindGeek’s sites would reveal thousands of
 26                     videos depicting subjects who were obviously underage, under
 27                     duress, incapacitated, being raped or secretly exploited.
 28
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  1         504. As set forth herein, on November 14, 2019, Visa’s competitor, PayPal,
  2 terminated its payment service to MindGeek entities on the basis of the existence of
  3 trafficked, underage images and other illegal content. PayPal publicly explained the
  4 basis for its decision to terminate the relationship: “[PayPal] explicitly prohibits the
  5 use of [its] services for the sale of materials that depict criminal behaviour, or the
  6 sale of sexually oriented content to minors.”
  7         505. Moreover, in May 2020 anti-trafficking advocacy groups sent Visa a
  8 series of letters detailing the prevalence of unlawful sex trafficking content on
  9 MindGeek’s tubesites and demanding that Visa stop processing payments and
 10 immediately terminate its relationship with MindGeek.        Further, thousands of
 11 members of these organizations emailed Visa echoing the letter and the requested
 12 action.
 13         506. Yet Visa intentionally ignored, or at a minimum recklessly disregarded,
 14 this information and continued to participate in and financially benefit from
 15 MindGeek’s sex trafficking venture. It was only thirteen months after PayPal
 16 publicly disclosed MindGeek’s illegal activities that Visa finally called for an
 17 investigation into MindGeek’s practices and purported to “suspend[] Pornhub’s
 18 acceptance privileges pending the completion of [Visa’s] ongoing investigation.”
 19 Visa also purported to “instruct[] the financial institutions who serve MindGeek to
 20 suspend processing of payments through the Visa network.”         And while Visa has
 21 continued its ban on MindGeek’s websites that distribute user-generated content,
 22 Visa has re-initiated its relationship with MindGeek and began processing payments
 23 again for professionally produced content.
 24         507. As a result of Visa’s violations of 18 U.S.C. §§ 1591 and 1595,
 25 Plaintiffs have suffered substantial damages, including but not limited to, physical,
 26 psychological, financial, and reputational harm as well as other damages.
 27         508. Moreover, by reason of Visa’s violation of 18 U.S.C. §§ 1591 and 1595
 28
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  1 plaintiffs are entitled to recover attorney’s fees, costs, and punitive damages.
  2                                        COUNT IV
  3                         (Violation of 18 U.S.C. §§ 1594(c), 1595)
  4                                  (Against All Defendants)
  5
            509. Defendants conspired by agreement or understanding, to commit
  6
      unlawful acts.   Each of the Defendants shared the same conspiratorial objective,
  7
      which was to financially benefit from the monetization, recruitment, solicitation,
  8
      funding, maintenance, advertisement, streaming, and distribution of CSAM and other
  9
      non-consensual content and illegal content.
 10
            510. As set forth herein, Defendants committed overt acts in furtherance of
 11
      the agreement or understanding by knowingly recruiting, producing, funding,
 12
      maintaining, streaming, and distributing CSAM and other non-consensual content
 13
      and/or benefiting financially from such distribution.
 14
            511. Defendants’ participation in the furtherance of the sex trafficking
 15
      venture and/or purpose was intentional and/or willful and, therefore, Defendants
 16
      intentionally and/or willfully caused Plaintiffs’ commission of the sex acts.
 17
            512. Visa knew that its funding supported and facilitated MindGeek would
 18
      lead to the commercialization and monetization of CSAM and other non-consensual
 19
      content depicting the Plaintiffs.
 20
            513. Defendants conspired with each other through affirmative acts that
 21
      provided financial support to MindGeek to enable its exploitation of Plaintiffs.
 22
            514. At all relevant times, Defendants’ conduct was willful and done with
 23
      legal malice and knowledge that it was wrongful.
 24
            515. Plaintiffs have suffered substantial damages, including but not limited
 25
      to, physical, psychological, financial, and reputational harm as well as other
 26
      damages.
 27
            516. Moreover, by reason of the Defendants’ violation of 18 U.S.C. §§ 1594
 28
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  1 and 1595, Plaintiffs are entitled to recover attorney’s fees, costs, and punitive
  2 damages.
  3                                        COUNT V
  4                         (Violation of 18 U.S.C. §§ 2252, 2255)
  5                          (Against The MindGeek Defendants)
  6        517. Plaintiffs incorporate by reference and reallege each and every
  7 allegation contained above, as though fully set forth herein.
  8        518. Serena Fleites and Jane Doe Nos. 1-13 were victims of violations of 18
  9 U.S.C. §§ 2252 and suffered personal injuries as a result of these violations.
 10 Accordingly, Serena Fleites and Jane Doe Nos. 1-13 are entitled to bring a civil
 11 action under 18 U.S.C. § 2255.
 12        519. MindGeek knowingly transported visual depictions of minors engaging
 13 in sexually explicit conduct, as defined under 18 U.S.C. § 2256(2)(A), including, but
 14 not limited to, photographs and videos of Serena Fleites and Jane Doe Nos. 1-13,
 15 who were all minors at the time the photographs and videos were taken, via its
 16 websites which affected interstate or foreign commerce in violation of 18 U.S.C. §
 17 2252(a)(1).
 18        520. MindGeek knowingly received and distributed visual depictions of
 19 minors engaging in sexually explicit conduct, as defined under 18 U.S.C. §
 20 2256(2)(A), including, but not limited to, photographs and videos of Serena Fleites
 21 and Jane Doe Nos. 1-13, who were all minors at the time the photographs and videos
 22 were taken, via their websites which affected interstate or foreign commerce.
 23        521. MindGeek knowingly sold or possessed with intent to sell visual
 24 depictions of minors engaging in sexually explicit conduct, as defined under 18
 25 U.S.C. § 2256(2)(A), including, but not limited to, photographs and videos of Serena
 26 Fleites and Jane Doe Nos. 1-13, who were all minors at the time the photographs and
 27 videos were taken, via its websites which affected interstate or foreign commerce in
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  1 violation of 18 U.S.C. § 2252(a)(3).
  2         522. MindGeek knowingly possessed visual depictions of minors engaging in
  3 sexually explicit conduct, as defined under 18 U.S.C. § 2256(2)(A), including, but
  4 not limited to, photographs and videos of Serena Fleites and Jane Doe Nos. 1-13,
  5 who were all minors at the time the photographs and videos were taken, via its
  6 websites which affected interstate or foreign commerce in violation of 18 U.S.C. §
  7 2252(a)(4).    Moreover, even when MindGeek was forced to take down illegal
  8 content in response to a legal requests rather than delete the materials it was not
  9 legally allowed to possess or redistribute, it claimed to have stored all the data on its
 10 servers and periodically would reupload that content or push it to affiliate sites so
 11 that it could continue to generate traffic and corresponding revenue.
 12         523. Serena Fleites and Jane Doe Nos. 1-13 have suffered substantial
 13 physical, psychological, financial, and reputational harm as well as other damages as
 14 the result of MindGeek’s violation of 18 U.S.C. § 2252.
 15         524. Defendants’ conduct was malicious, oppressive, or in reckless disregard
 16 of Serena Fleites’ and Jane Doe Nos. 1-13’s rights and Serena Fleites’ and Jane Doe
 17 Nos. 1-13’s are entitled to injunctive relief, compensatory, and punitive damages,
 18 and the costs of maintaining this action. 18 U.S.C. § 2252A(f).
 19                                        COUNT VI
 20                         (Violation of 18 U.S.C. §§ 2252A, 2255)
 21                          (Against The MindGeek Defendants)
 22         525. Plaintiffs incorporate by reference and reallege each and
 23 every allegation contained above, as though fully set forth herein.
 24         526. Serena Fleites and Jane Doe Nos. 1-13 were victims of violations of 18
 25 U.S.C. § 2252A and suffered personal injuries as a result of these
 26 violations. Accordingly, Serena Fleites and Jane Doe Nos. 1-13 are entitled to bring
 27 a civil action under 18 U.S.C. § 2255.
 28
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  1        527. MindGeek knowingly transported child pornography, as defined under
  2 18 U.S.C. § 2256(8), including, but not limited to, photographs and videos of Serena
  3 Fleites and Jane Doe Nos. 1-13, who were all minors at the time the photographs and
  4 videos were taken, via their websites which affected interstate or foreign commerce
  5 in violation of 18 U.S.C. § 2252A(a)(1).
  6        528. MindGeek knowingly received or distributed child pornography, as
  7 defined under 18 U.S.C. § 2256(8), including, but not limited to, photographs and
  8 videos of Serena Fleites and Jane Doe Nos. 1-13, who were all minors at the time the
  9 photographs and videos were taken, via their websites which affected interstate or
 10 foreign commerce in violation of 18 U.S.C. § 2252A(a)(2).
 11        529. MindGeek knowingly reproduced child pornography, as defined under
 12 18 U.S.C. § 2256(8), including, but not limited to, photographs and videos of Serena
 13 Fleites and Jane Doe Nos. 1-13, who were all minors at the time the photographs and
 14 videos were taken, via their websites which affected interstate or foreign commerce
 15 in violation of 18 U.S.C. § 2252A(a)(3)(A).
 16        530. MindGeek knowingly advertised, promoted, presented, distributed, or
 17 solicited visual depictions of actual minors engaging in sexually explicit conduct, as
 18 defined under 18 U.S.C. § 2256(2)(A), including, but not limited to, photographs and
 19 videos of Serena Fleites and Jane Doe Nos. 1-13, who were all minors at the time the
 20 photographs and videos were taken, via their websites which affected interstate or
 21 foreign commerce in violation of 18 U.S.C. § 2252A(a)(3)(B).
 22        531. MindGeek knowingly sold or possessed with intent to sell child
 23 pornography, as defined under 18 U.S.C. § 2256(8), including, but not limited to,
 24 photographs and videos of Serena Fleites and Jane Doe Nos. 1-13, who were all
 25 minors at the time the photographs and videos were taken, via their websites which
 26 affected interstate or foreign commerce in violation of 18 U.S.C. § 2252A(a)(4).
 27        532. MindGeek knowingly possessed child pornography, as defined under 18
 28
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  1 U.S.C. § 2256(8), including, but not limited to, photographs and videos of Serena
  2 Fleites and Jane Doe Nos. 1-13, who were all minors at the time the photographs and
  3 videos were taken, via their websites which affected interstate or foreign commerce
  4 in violation of 18 U.S.C. § 2252A(a)(5). Moreover, even when MindGeek was
  5 forced to take down illegal content in response to a legal requests rather than delete
  6 the materials it was not legally allowed to possess or redistribute, it claimed to have
  7 stored all the data on its servers and periodically would reupload that content or push
  8 it to affiliate sites so that it could continue to generate traffic and corresponding
  9 revenue.
 10         533. Serena Fleites and Jane Doe Nos. 1-13 have suffered substantial
 11 physical, psychological, financial, and reputational harm as well as other damages as
 12 a result of MindGeek’s violations of 18 U.S.C. §§ 2252A.
 13         534. MindGeek’s conduct was malicious, oppressive, or in reckless disregard
 14 of Serena Fleites and Jane Doe Nos. 1-13’s rights and Serena Fleites and Jane Doe
 15 Nos. 1-13 are entitled to injunctive relief, compensatory and punitive damages, and
 16 the costs of maintaining this action. 18 U.S.C. § 2252A(f).
 17                                        COUNT VII
 18                            (Violation of 18 U.S.C. § 1962(c))
 19                                 (Against All Defendants)
 20         535. Plaintiffs incorporate by reference and reallege each and every
 21 allegation set forth above, as though fully set forth herein.
 22         536. At all relevant times, each Defendant is a person within the meaning of
 23 18 U.S.C. § 1961(3).
 24         6.    Since at least 2007 through the present (the “Scheme Period”),
 25 Defendants and enterprise members were associated in fact and comprised an
 26 “enterprise” within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c) willfully and
 27 with actual knowledge of the illegality of their actions and those of the Enterprise.
 28
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  1 The Enterprise is engaged in, and its activities affect, interstate and foreign
  2 commerce.
  3         537. The Enterprise was comprised of a network of sham shell entities
  4 throughout the world, the vast majority of which existed solely as vehicles through
  5 which to execute the Enterprise’s rackets and scams and evade taxes        These sham
  6 entities were directed and controlled by MindGeek executives, including defendants
  7 Bernd Bergmair, Feras Antoon, and Corey Urman, who were in turn controlled by
  8 and directed by MindGeek’s financiers, including defendant Bergmair.          Defendant
  9 Visa participated in the scheme, by inter alia, engineering and facilitating credit card
 10 and financial transactions to siphon off illicit profits and avoid credit card red flags.
 11         538. The Enterprise has an existence beyond that which is merely necessary
 12 to commit predicate acts and, among other things, oversaw and coordinated the
 13 commission of numerous predicate acts on an on-going basis in furtherance of the
 14 scheme to enrich itself, which resulted in direct harm to Plaintiffs.
 15         539. During the Scheme Period, each Defendant agreed to and did conduct
 16 and participate in the affairs of the Enterprise through a pattern of racketeering
 17 activity within the meaning of 18 U.S.C. §§ 1961(1) and (5), and 1962(c).         To
 18 maximize MindGeek’s SEO and profits, the Enterprise (a) recruited, enticed,
 19 harbored, transported, provided, obtained, advertised, maintained, patronized, and/or
 20 solicited persons, including plaintiffs, that it knew or should have known had not
 21 attained the age of majority at the time of the commercial sex act and / or were
 22 caused to engage in commercial sex acts through force, threats of force, fraud or
 23 coercion, or any combination thereof; (b) paid for, populated the website with, and
 24 separately profited from content produced through human trafficking and slavery and
 25 pirated copyright materials; (c) knowingly possessed and distributed child
 26 pornography; (d) used the mails and wires in furtherance of a scheme to deceive that
 27 MindGeek was a technology company and engaged in legitimate business; and
 28
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  1 (e) engaged in money laundering, criminal copyright piracy, internet hacking, bank
  2 and creditor fraud, and tax evasion, (f) permitted known criminal organizations to
  3 steal customer credit card and personal identifying information, commit credit card
  4 fraud, and blackmail customers; (g) defrauded MindGeek advertisers, marketers, and
  5 other third-parties; (h) evaded taxes and laundered monies by “bleeding” value out of
  6 the organization to the Bro-Club and other Enterprise members via sham investments
  7 and expenses; and (i) paid for and executed blackmail, extortion, harassment,
  8 defamation, and hacking against those the Enterprise viewed as a threats.     This
  9 scheme was intended to, and did in fact, result in substantial profits for the members
 10 of the Enterprise and caused direct harm to Plaintiffs.
 11         540. The Enterprise’s racketeering conduct and acts in furtherance of the
 12 scheme included, but were not limited to the predicate RICO acts of: (a) sex
 13 trafficking in violation of 18 U.S.C. § 1591; (b) sexual exploitation of children in
 14 violation of 18 U.S.C. § 2252; (c) money laundering of illicit proceeds in violation of
 15 18 U.S.C. § 1957; (d) use of mails and wires in a scheme to defraud the public in
 16 violation of 18 U.S.C. §§ 1341 and 1343, as set forth in 18 U.S.C. § 1961(1)(B); and
 17 (e) criminal infringement of a copyright in violation of 18 U.S.C. § 2319.
 18               (i)    Sex Trafficking, including of Plaintiffs, in violation of the
 19                      Trafficking Victims Protection Act
 20         541. As set forth herein, the Enterprise recruited, funded, solicited, produced,
 21 advertised, edited, distributed, and monetized sex trafficking and other illegal
 22 materials. Moreover, these materials were then formatted by enterprise member shell
 23 companies that MindGeek had financial interests in, promoted on Pornhub and
 24 pushed to MindGeek’s affiliated sites.
 25         542. Defendants knew and intended the violations of Section 1591(a).         By
 26 way of example only, MindGeek executives travelled to a warehouse where they
 27 witnessed many young women crammed into adjoining studio halls “like livestock”
 28
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  1 to perform on camera.     MindGeek paid sex traffickers because it was cheaper than
  2 producing consensual pornography. One Enterprise member rationalized, “we don’t
  3 need to pay studios in the US, low paid pimps come to us.”      The full scope of the
  4 Enterprise’s violations of Sections 1591 are set forth in Count I which is fully
  5 incorporated here.
  6         543. Moreover, as set forth herein, in furtherance of this scheme, the
  7 Enterprise intentionally disregarded adequate age and consent verification controls.
  8 To the contrary, the Enterprise intentionally solicited CSAM and sex trafficked
  9 materials and other illegal content, directed sex traffickers on how to post their
 10 content to maximize the traffic and avoid removal of their videos from MindGeek’s
 11 tubesites, monitored and modified effective content, and reuploaded content both to
 12 Pornhub and to MindGeek’s affiliate sites.     While MindGeek publicly claims to
 13 moderate and review every video before it was posted, in fact, it employs only a
 14 handful of untrained contractors which serve as formatters, not moderators, and
 15 whose true roles are to optimize search engines, traffic, and clicks so that the
 16 Enterprise can maximize revenues.
 17         544. In furtherance of this objective, the Enterprise intentionally developed a
 18 system of permissible code words for video and photograph titles to create a lucrative
 19 marketplace for videos of sexual assaults of both minors and adults. The Enterprise
 20 intentionally used an upload process that would not filter illegal content.   The
 21 Enterprise permitted and promoted videos and photographs depicting the sex abuse
 22 and sex trafficking of children on its tubesites by, among other things, directing the
 23 Enterprise’s global network of sex traffickers to title their videos using codewords in
 24 the video titles, such as “young teen,” “abused teen,” “super-young teen,” “barely
 25 legal,” and “exploited teen.”
 26         545. The Enterprise also promoted and advertised from videos depicting
 27 sexual assault by, among other things, suggesting that the Enterprise’s global
 28
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  1 network of sex traffickers use titles such as “Screaming teen gets pounded,” “barely
  2 legal getting choked,” or “F***ed Sleeping Schoolgirl after a Drunk Party.”
  3 (Asterisks added). While MindGeek alleges to filter videos with titles containing
  4 “rape” or “underage,” videos with “r**e” or “unde***e” in the title were permitted.
  5         546. The foregoing activities constitute violations of 18 U.S.C. § 1591 and §
  6 1595 which makes it illegal to recruit, entice, harbor, transport, provide, obtain,
  7 advertise, maintain, patronize and/or solicit persons, including Plaintiffs, that it knew
  8 or should have known had not attained the age of majority at the time of the
  9 commercial sex act and / or were caused to engage in commercial sex acts through
 10 force, threats of force, fraud or coercion, or any combination thereof and violated 18
 11 U.S.C. § 1591 and § 1595 or benefit from a venture engaged in any of the foregoing
 12 activities.
 13         547. MindGeek and its global network of sex traffickers and financial
 14 partners profited from the vast criminal sex trafficking enterprise and its violations of
 15 Sections 1591 and 1595 through, among other means, advertising revenue and
 16 premium subscription fees, and credit card processing fees.
 17               (ii)   Sexual Exploitation of Children, including Plaintiffs, in
 18                      violation of 18 U.S.C. § 2252
 19         548. In furtherance of the Enterprise’s sex trafficking scheme, MindGeek and
 20 its global network of sex traffickers knowingly committed innumerable violations of
 21 18 U.S.C. § 2252 by knowingly possessing and distributing visual depictions
 22 involving the use of a minor engaging in sexually explicit conduct. The Enterprise’s
 23 use of coded language and its inadequate age and consent verification policy
 24 facilitated the solicitation of sexually explicit conduct of minors.
 25         549. MindGeek has publicly stated that it never permanently deleted child
 26 pornography videos that were removed from its tubesites. Instead, MindGeek
 27 unlawfully retained these videos on its servers so that it could later reupload the
 28
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  1 videos onto its tubesites to drive search term optimization, traffic, and increase
  2 revenues.    Moreover, even when MindGeek was made aware of illegal content on
  3 its sites, it merely disabled the content and did not remove or delete it so that it could
  4 continue to generate traffic and revenue from that illegal material.    Thus, it
  5 continued to remain in possession of the illegal content. It also was regularly
  6 reuploaded these illegal materials to Pornhub and other MindGeek affiliated sites.
  7         550. Enterprise members, including MindGeek, knowingly transported,
  8 received, distributed, sold, and possessed with the intention to sell visual depictions
  9 of minors engaging in sexually explicit conduct, as defined under 18 U.S.C. §§
 10 2256(2)(A), including but not limited to, photographs and videos of Serena Fleites
 11 and Jane Doe Nos. 1-13, who were all minors at the time the photographs and videos
 12 were taken, via its websites which affected interstate or foreign commerce in
 13 violation of 18 U.S.C. § 2252(a).     MindGeek solicited such content from the
 14 Enterprise’s network of sex traffickers and distributed the content for profit on its
 15 tubesites.
 16               (iii)   Use of mails and wires in furtherance of a scheme to defraud
 17                       MindGeek’s customers.
 18         551. It was the purpose of the Enterprise to deceive the public, government,
 19 and its users that MindGeek was the world’s leading technology companies
 20 providing cutting edge SEO and online and marketing data services.         The Enterprise
 21 expended substantial resources and effort ensuring that its tubesites had all the
 22 indicia of legitimate internet media websites, including a polished appearance,
 23 comprehensive terms of service, policies, and customer service functions, and
 24 multiple layers of interaction.   But these public images were a fraudulent front for a
 25 platform through which the Enterprise ran its rackets and schemes.
 26         552. In furtherance of its fraudulent scheme, MindGeek used the mails and
 27 wires to, by way of example only, (a) pay and communicate with its network of sex
 28
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  1 traffickers in Eastern Europe and Asia, (b) upload and reupload videos that it knew
  2 contained CSAM, sex trafficking materials, sexual assault and exploitation materials
  3 and other illegal content, and (c) push this content to all of its partner sites.
  4         553. As set forth herein, the Enterprise members knew solicited, recruited,
  5 produced, funded, distributed, monetized, and reuploaded images of minors, rape,
  6 sexual assault, trafficking, and other illegal content, including of Plaintiffs. In an
  7 unknown number of wire transactions and communications, each of which consists
  8 of an independent predicate act of wire fraud.
  9         554. MindGeek paid sex traffickers in Eastern Europe and Asia to produce
 10 illegal content as part of the Enterprise’s fraudulent scheme.
 11         555. Further, when a sex trafficking victim, despite MindGeek’s best efforts,
 12 was actually successful in removing a video from MindGeek’s tubesites, the
 13 Enterprise chose to keep the video in its archives, so that the Enterprise could
 14 reupload the video at some later point. An eyewitness explained that previously
 15 removed content “would be provided to employees on disk and they would be
 16 instructed to reupload those videos from non-MindGeek computers using specific
 17 email addresses that would allow the uploads to bypass MindGeek’s purported
 18 ‘fingerprinting’ of removed videos.”      Each and every time that an Enterprise
 19 member reuploaded a video that it knew contained CSAM or images of sex
 20 trafficking constitutes an independent predicate act of wire fraud, as the Enterprise
 21 reuploaded these videos to further its fraudulent scheme.
 22         556. Additionally, MindGeek made an unknown number of
 23 misrepresentations in email communications to Plaintiffs and other victims of sex
 24 trafficking who sought to remove videos from MindGeek’s tubesites.           MindGeek
 25 purposely stalled these victims to make it extremely difficult to remove these videos
 26 and keep them online as long as possible.       The total number of such
 27 communications, which each constitute an independent act of wire fraud, is not yet
 28
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  1 known, members of the Enterprise engaged in the following email communications
  2 with Plaintiffs as set forth in Table A.
  3                                        TABLE A
  4
                  ADDITIONAL MAIL AND WIRE COMMUNICATIONS
  5
      Author          Recipient    Date       Content                         Method
  6   Pornhub         Jane Doe No. 1/3/2016   [PORNHUBHELP                    Email
      Support         16                      #GNO-800-11164]: I
  7
                                              need my video removed
  8                                           immediately I am being
                                              harassed badly
  9
      Pornhub         Jane Doe No. 1/3/2016   [PORNHUBHELP                    Email
 10   Support         16                      #MWJ-438-37151]:
                                              CONTENT REMOVAL
 11
      Pornhub         Jane Doe No. 1/5/2016   [PORNHUBHELP                    Email
 12   Support         21                      #EXP-485-90140]:
 13                                           Removing a amateur
                                              video
 14   Pornhub         Jane Doe No. 3/2/2018 – Re: [Pornhub] Re:               Emails
 15   Support         31           3/6/2018   CONTENT REMOVAL                 and
      (“Tanya”)                                                               Chats
 16                                                   [Reference # 288136]    with
 17                                                                           Pornhub
                                                                              Support
 18   Pornhub         Jane Doe No.       3/5/2018 –   Re: [Pornhub] Re:       Emails
 19   Support (“Brett 31                 3/8/2018     CONTENT REMOVAL         and
      Hall”)                                                                  Chats
 20                                                   [Reference # 290639]    with
 21                                                                           Pornhub
                                                                              Support
 22   Copyright         Jane Doe No.     8/20/2018  DMCA Remove this          Email
 23   @pornhub.com      17                          video immediately please
      Pornhub           Jane Doe No.     12/14/2018 Re: [Pornhub] Re:        Email
 24   Support           2                – 7/4/2019 FEEDBACK: Message        and
 25   (“Tanya”)                                     from [Jane Doe No. 2]    Chats
                                                                             with
 26                                                                          Pornhub
 27                                                                          Support
 28
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  1   Pornhub          Jane Doe No.   1/9/2019 –   Re: [Pornhub] Re:         Email
      Support (Brett   2              9/8/2019     CONTENT REMOVAL           and
  2   Hull)                                                                  Chats
  3                                                                          with
                                                                             Pornhub
  4                                                                          Support
  5   Pornhub          Jane Doe No.   4/4/2019     Pornhub] Re:              Email
      Content          28                          CONTENT REMOVAL
  6   Partner Team                                 [Reference # 691760]
  7   (“Jonny”)
      Pornhub          Jane Doe No.   4/29/2019- [Pornhub] Pending           Emails
  8   Support          33             4/30/2019 request: CONTENT
  9   (“Tanya”)                                  REMOVAL
      Copyright        Jane Doe No.   7/15/2019 DMCA                         Email
 10   @pornhub.com     17
 11
 12   Copyright    Jane Doe No.       7/15/2019    []PORNHUBDMCA             Email
      @pornhub.com 17                              #ECU-455-43163]:
 13                                                DMCA
 14   Pornhub          Jane Doe No.   8/9/2019     [Pornhub] Re: Revenge     Emails
      Copyright        28                          Porn [Reference #
 15                                                918779]
 16   (“Jenn”)
      Pornhub          Jane Doe No.   4/16/2020    “[Pornhub] Re:            Emails
 17   Support          29             –            CONTENT                   and
 18   (“Frankie”)                     4/14/2020    REMOVAL” [Reference       Chats
                                                   #1472369]                 with
 19                                                                          Pornhub
 20                                                                          Support
      Copyright    Jane Doe No.       4/23/2020    []PORNHUBDMCA             Email
 21   @pornhub.com 17                              #ECU-455-43163]:
 22                                                DMCA
      Pornhub          Jane Doe No.   5/29/2020    Thank you for contacting Email
 23   Support          3                           Pornhub Support
 24                                                [Reference #1644158]
      Pornhub          Jane Doe No.   5/27/2020    [Pornhub] Re:            Email
 25   Support          3                           CONTENT REMOVAL
 26   (“Tanya”)
      Pornhub          Jane Doe No.   6/3/2020     [Pornhub] Re: Questions   Email
 27   Support          3                           pertaining to my
 28   (“Joan”)                                     exploitation.
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  1    Pornhub              Jane Doe No.    12/5/2020     Takedown Request            Chats
       Support              29              –             [Reference # 2076777]       with
  2    (“Marie-                             12/6/2020                                 Pornhub
  3    Frederique”                                                                    Support
       and “Janie”)
  4
                     557. Further, MindGeek worked hard to conceal and suppress the truth
  5
      about its business model was an Enterprise based on racketeering and a criminal
  6
      scheme to shame, discredit, intimidate, and silence victims.
  7
                     (iv)   Money Laundering
  8
             558. In furtherance of the Enterprise’s sex trafficking scheme and campaign
  9
      to defraud, the Enterprise knowingly engaged in monetary transactions involving
 10
      illicit proceeds derived from its sex trafficking of Plaintiffs.
 11
             559. As detailed herein, the Enterprise created a labyrinth of shell companies
 12
      with no purpose, existence, or operations on a daily and monthly basis, not only to
 13
      mask the Enterprise’s criminal conduct, but to launder money to other Enterprise
 14
      members.       As set forth herein, the Enterprise deposited, withdrew, transferred, or
 15
      exchanged funds in or affecting interstate or foreign commerce to a financial
 16
      institution.    MindGeek used its byzantine, multi-national financial and corporate
 17
      structure to evade taxes and execute scams.       Despite generating hundreds of
 18
      millions of dollars of revenue annually, MindGeek effectively pays no taxes
 19
      anywhere.      MindGeek used its network of sham entities to launder money and pay
 20
      other Enterprise members, resulting in net operating losses for MindGeek but
 21
      substantial compensation for other Enterprise members.
 22
             560. In thousands of transactions, MindGeek shared and distributed the
 23
      Enterprise’s profits among its global network of sex traffickers.     By way of example
 24
      only, to simulate “user” uploaded content, MindGeek paid third parties, including
 25
      Enterprise affiliates, MindGeek partner channels, and a network of other entities, to
 26
      receive, format, and upload sex trafficking content to MindGeek’s tubesites.
 27
             561. MindGeek and its network of sex traffickers knew that these funds were
 28
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  1 derived from the Enterprise’s racketeering activity, including sex trafficking,
  2 sexually exploitation of children, and mail and wire fraud.
  3                                       *     *      *
  4         562. Each of the predicate acts referred to in the preceding paragraphs was
  5 carried out for the purpose of executing the Enterprise’s fraudulent scheme, and as
  6 set forth herein, defendants and enterprise members engaged in such acts with the
  7 specific intent of furthering that scheme willfully and with knowledge of its falsity.
  8 Each Defendant performed or participated in the performance of at least two of the
  9 predicate acts.
 10         563. The conduct and actions set forth herein were related to each other by
 11 virtue of: (a) common participants; (b) a common victim or victims; (c) the common
 12 purpose and common result.
 13         564. Defendants’ activities were interrelated, not isolated, and involved a
 14 calculated series of repeated violations of the law in order to conceal and promote
 15 fraudulent activity. The Enterprise has existed with the current members and others
 16 as yet unknown since at least 2007, and the conduct and activities have continued as
 17 of the date of this Complaint.
 18         565. Defendants’ direct and indirect participation in the Enterprise’s affairs
 19 through the pattern of racketeering and activity described herein constitutes a
 20 violation of 18 U.S.C. § 1962(c).
 21         566. As a direct and proximate cause of defendants’ violations of 18 U.S.C. §
 22 1962(c), Plaintiffs have sustained damage to their business and property, including
 23 injury by reason of the predicate acts constituting the pattern of racketeering activity
 24 set forth above that was not only foreseeable but intended and an objective of the
 25 predicate activity.
 26         567. Plaintiffs’ damages include, but are not limited, to costs incurred to
 27 remove non-consensual, sexually explicit videos and photographs of themselves
 28
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  1 from MindGeek’s websites, including attorney’s fees, consulting fees, and copyright
  2 fees; termination of employment and other lost income; deprivation of employment
  3 opportunities; and loss of their image.   The Enterprise’s misappropriation and
  4 misuse of Plaintiffs’ images damaged the commercial value of Plaintiffs’ image.
  5 Further, the Enterprise received an improper financial benefit in the form of
  6 advertising revenue sold based on views of pornographic videos containing
  7 Plaintiffs’ image, which were hosted on MindGeek’s tubesites without Plaintiffs’
  8 consent.
  9         568. As a result of the violations of 18 U.S.C. § 1962(c), Plaintiffs have
 10 suffered damages in an amount to be proven at trial. Plaintiffs are entitled to
 11 recover from Defendants the amount in which they have been damages, to be trebled
 12 in accordance with 18 U.S.C. § 1964(c), together with interest, costs, and attorneys’
 13 fees incurred by reason of the Enterprise’s violations of 18 U.S.C. § 1962(c), and
 14 disgorgement of Defendants’ illicit proceeds. Plaintiffs are also entitled to an
 15 injunction against future misuse of their image.
 16                                      COUNT VIII
 17                            (Violation of 18 U.S.C. § 1962(a))
 18                                (Against All Defendants)
 19         569. Plaintiffs incorporate by reference and reallege each and every
 20 allegation contained above, as though fully set forth herein.
 21         570. The Enterprise is an “enterprise” within the meaning of 18 U.S.C. §§
 22 1961(4) and 1962(a), which was engaged in, or the activities of which affected,
 23 interstate and/or foreign commerce.
 24
 25         571. As set forth herein, the Enterprise is comprised of a network of sham
 26 shell entities throughout the world, the vast majority of which existed solely as
 27 vehicles through which to execute the Enterprise’s rackets and scams and evade
 28
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  1 taxes    These sham entities were directed and controlled by MindGeek executives,
  2 including defendants Bernd Bergmair, Feras Antoon, and Corey Urman, who were in
  3 turn controlled by and directed by MindGeek’s financiers, including defendant
  4 Bergmair. Defendant Visa participated in the scheme, by inter alia, engineering and
  5 facilitating credit card and financial transactions to siphon off illicit profits and avoid
  6 credit card red flags.
  7         572. The Enterprise has an existence beyond that which is merely necessary
  8 to commit predicate acts and, among other things, oversaw and coordinated the
  9 commission of numerous predicate acts on an on-going basis in furtherance of the
 10 scheme to enrich itself, which resulted in direct harm to Plaintiffs.
 11         573. It was the purpose of the Enterprise to (a) solicit, entice, and recruit
 12 users to upload to MindGeek’s tubesites videos and photographs of sexually explicit
 13 conduct, including of children and adults engaging in non-consensual sex acts and
 14 non-consensual posting of sex acts, (b) knowingly benefit from thousands of such
 15 videos and photographs posted to MindGeek’s tubesites, (c) knowingly possess and
 16 distribute child pornography, and (d) misrepresent and fraudulently deceive its
 17 customers that MindGeek sold videos of consensual sex when the Enterprise
 18 members knew that videos of rape, child pornography, and sex trafficking were
 19 prevalent on its tubesites.
 20         574. The Enterprise’s conduct and acts in furtherance of its illegal sex-
 21 trafficking scheme, include but are not limited to the predicate RICO acts of: (a) sex
 22 trafficking in violation of 18 U.S.C. § 1591; (b) sexual exploitation of children in
 23 violation of 18 U.S.C. § 2252; (c) money laundering of illicit proceeds in violation of
 24 18 U.S.C. § 1957; and (d) use of mail and wires in a scheme to defraud its customers
 25 by falsely representing that MindGeek’s tubesites displayed only consensual
 26 pornography, in violation of 18 U.S.C. §§ 1341 and 1343, as set forth in 18 U.S.C. §
 27 1961(1)(B).
 28
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  1         575. In conducting the affairs of the Enterprise, Defendants used and
  2 invested income that was derived from the pattern of racketeering activity, directly or
  3 indirectly, in the operations of the MindGeek Defendants and the Enterprise, which
  4 are entities and an enterprise engaged in, and the activities of which affect, interstate
  5 and foreign commerce, in violation of 18 U.S.C. § 1962(a).       Specifically,
  6 Defendants used funds they fraudulently procured through the alleged pattern of
  7 predicate acts to: (a) fund the Enterprise through transfers from MindGeek to its
  8 network of sex traffickers in Eastern Europe and Asia; (b) fund the dissemination of
  9 materially false and fraudulent information used to deceive customers that the
 10 content on its websites was legal, consensual, and verified; and (c) fund the expanded
 11 attack on Plaintiffs as alleged in this complaint, including but not limited to the use
 12 of illicit funds from subscription payments to view child pornography, child sexual
 13 abuse material, and other non-consenting content and ad generations related to such
 14 material.
 15         576. MindGeek used its needlessly complex multi-national financial and
 16 corporate structure to evade taxes and execute scams.      Though the company
 17 generated hundreds of millions of dollars of revenue annually, MindGeek effectively
 18 paid no taxes.    MindGeek used its network of sham entities to launder money and
 19 pay other Enterprise members, resulting in net operating losses for MindGeek but
 20 substantial compensation for other Enterprise members.
 21         577. Accordingly, the racketeering activity consisted of multiple, related acts
 22 perpetuated during the Scheme Period that are indictable under 18 U.S.C. § 1591
 23 (relating to sex trafficking), 18 U.S.C. § 2552 (relating to child sexual abuse material
 24 and child pornography), as well as the other predicate acts alleged herein that are
 25 within the scope of 18 U.S.C. §§ 1961(1)(B) and (5).
 26         578. As a direct and proximate cause of Defendants violations of 18 U.S.C. §
 27 1962(a), Plaintiffs have sustained damage to their business or property, including by
 28
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  1 reason of the predicate acts constituting the pattern of racketeering activity set forth
  2 above.
  3         579. Plaintiffs’ damages include, but are not limited, to costs incurred to
  4 remove non-consensual, sexually explicit videos and photographs of themselves
  5 from MindGeek’s websites, including attorney’s fees, consulting fees, and copyright
  6 fees; termination of employment, and other lost income; deprivation of employment
  7 opportunities; and loss of their image.    The Enterprise’s misappropriation and
  8 misuse of Plaintiffs’ images damaged the commercial value of Plaintiffs’ image.
  9 Further, the Enterprise received an improper financial benefit in the form of
 10 advertising revenue sold based on views of pornographic videos containing
 11 Plaintiffs’ image, which were hosted on MindGeek’s tubesites without Plaintiffs’
 12 consent.
 13         580. As a result of the violation of 18 U.S.C. § 1962(a), Plaintiffs have
 14 suffered substantial damages in an amount to be proven at trial.     Plaintiffs are
 15 entitled to recover from Defendants the amount in which they have been damages, to
 16 be trebled in accordance with 18 U.S.C. § 1964(c), together with interest, costs,
 17 attorneys’ fees incurred by reason of the Enterprise’s violations of 18 U.S.C. §
 18 1962(a), and disgorgement of Defendants’ illicit proceeds.
 19                                        COUNT IX
 20                            (Violation of 18 U.S.C. § 1962(d))
 21                                 (Against All Defendants)
 22         581. Plaintiffs incorporate by reference and reallege each and every
 23 allegation contained above, as though fully set forth herein.
 24         582. As set forth herein, during the Scheme Period, each Defendant willfully,
 25 knowingly, and unlawfully conspired to, and did further the efforts of the Enterprise
 26 to, perpetrate the scheme against Plaintiffs through a pattern of racketeering activity
 27 in violation of 18 U.S.C. §§ 1962(c) and 1962(a).
 28
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  1         583. In furtherance of the conspiracy, and to effectuate its objectives, each
  2 Defendant and Enterprise member agreed that the following predicate acts, among
  3 others, would be committed by one or more of the members to the conspiracy: (a)
  4 sex trafficking in violation of 18 U.S.C. § 1591; (b) sexual exploitation of children in
  5 violation of 18 U.S.C. § 2252; (c) money laundering of illicit proceeds in violation of
  6 18 U.S.C. §1957; and (d) use of mail and wires in connection with a scheme to
  7 defraud users that MindGeek is a legitimate business and that it distributes and
  8 monetizes only legal, consensual, and verified content, when in fact MindGeek
  9 recruits, solicits, produces, maintains, distributes, and monetizes sex trafficking in
 10 violation of 18 U.S.C. §§ 1341 and 1343, as set forth in 18 U.S.C. § 1961(1)(B).
 11         584. Specifically, the following predicate acts were performed at the
 12 direction of, and/or were foreseeable to, Defendants for the purpose of executing the
 13 scheme to (a) solicit, entice, and recruit users to upload to MindGeek’s tubesites
 14 videos and photographs of sexually explicit conduct, including of children and adults
 15 engaging in non-consensual sex acts and non-consensual posting of sex acts, (b)
 16 knowingly benefit from thousands of such videos and photographs posted to
 17 MindGeek’s tubesites, (c) knowingly possess and distribute child pornography, and
 18 (d) deceive users that MindGeek is a legitimate business.
 19         585. It was specifically intended and foreseen by Defendants that the
 20 Enterprise would engage in and conduct activities which affected interstate
 21 commerce.      Each Defendant was aware of the various racketeering schemes,
 22 assented to the efforts of the Enterprise to carry out these acts, and acted in
 23 furtherance of the conspiracy.
 24         586. The pattern of racketeering consisted of multiple acts of racketeering by
 25 each Defendant.     The activities of Defendants were interrelated, not isolated, and
 26 were perpetrated for the same or similar purposes by the same persons.       These
 27 activities extended for several years up to the commencement of this action.
 28
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  1 Defendants’ conduct constitutes a conspiracy to violate 18 U.S.C. §§ 1962(a) and
  2 1962(a), in violation of 18 U.S.C. § 1962(d).
  3        587. Plaintiffs have been injured in their business and property as a direct and
  4 proximate cause of Defendants’ conspiracy to violate 18 U.S.C. § 1962(c) and
  5 1962(a), and the overt acts taken in furtherance of that conspiracy.
  6        588. Plaintiffs have been injured in their business and property as a direct and
  7 proximate cause of Defendants violations of 18 U.S.C. § 1692(d), including injury by
  8 reason of the predicate acts constituting the pattern of racketeering activity set forth
  9 above.
 10        589. Plaintiffs’ damages include, but are not limited, to costs incurred to
 11 remove non-consensual, sexually explicit videos and photographs of themselves
 12 from MindGeek’s websites, including attorney’s fees, consulting fees, and copyright
 13 fees; termination of employment and other lost income; deprivation of employment
 14 opportunities; and loss of their image.    The Enterprise’s misappropriation and
 15 misuse of Plaintiffs’ images damaged the commercial value of Plaintiffs’ image.
 16 Further, the Enterprise received an improper financial benefit in the form of
 17 advertising revenue sold based on views of pornographic videos containing
 18 Plaintiffs’ image, which were hosted on MindGeek’s tubesites without Plaintiffs’
 19 consent.
 20        590. As a result of violations of 18 U.S.C. § 1962(d), Plaintiffs have suffered
 21 substantial damages in an amount to be proven at trial.     Plaintiffs are entitled to
 22 recover from Defendants the amount in which they have been damaged, to be trebled
 23 in accordance with 18 U.S.C. § 1964(c), together with interest, costs, and attorneys’
 24 fees incurred by reason of the Enterprise’s violations of 18 U.S.C. § 1962(d), and
 25 disgorgement of Defendants’ illicit proceeds.
 26
 27
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  1                                        COUNT X
  2                           (Public Disclosure of Private Facts)
  3                          (Against The MindGeek Defendants)
  4         591. Plaintiffs incorporate by reference and reallege each and every
  5 allegation contained above, as though fully set forth herein.
  6         592. By maintaining, streaming, distributing, reuploading, and
  7 monetizing videos and images of sexually explicit conduct, including non-consensual
  8 sexual acts and child pornography, of plaintiffs on its websites, including but not
  9 limited to Pornhub, MindGeek publicly disclosed private facts about plaintiffs.
 10         593. Before this disclosure, the videos and images of non-consensual sexual
 11 acts and child pornography of plaintiffs were private and not known to the public.
 12         594. The videos and images of sexually explicit conduct, including non-
 13 consensual sexual acts and child pornography, of Plaintiffs made known to the
 14 public are highly offensive and objectionable to a reasonable person.
 15         595. MindGeek disclosed the videos and images of sexually explicit
 16 conduct, including non-consensual sexual acts and child pornography, of Plaintiffs
 17 with knowledge that they are highly offensive or with reckless disregard of
 18 whether they are highly offensive.
 19         596. The videos and images of sexually explicit conduct, including non-
 20 consensual sexual acts and child pornography, of Plaintiffs are not of legitimate
 21 public concern.
 22         597. Plaintiffs have suffered substantial physical, psychological, financial,
 23 and reputational harm, as well as other damages, as the result of MindGeek’s public
 24 disclosure of the videos and images of sexually explicit conduct, including non-
 25 consensual sexual acts and child pornography, of Plaintiffs.
 26         598. MindGeek’s conduct was malicious and/or the MindGeek acted with the
 27 intent to vex, injure, or annoy, or with a conscious disregard of the Plaintiffs’ rights
 28
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  1 and Plaintiffs are entitled to injunctive relief, and compensatory and punitive
  2 damages.
  3                                        COUNT XI
  4                              (Intrusion Into Private Affairs)
  5                           (Against The MindGeek Defendants)
  6         599. Plaintiffs incorporate by reference and reallege each and
  7 every allegation contained above, as though fully set forth herein.
  8         600. By maintaining, streaming, distributing, reuploading, and monetizing
  9 videos and images of non-consensual sexual acts and child pornography of plaintiffs
 10 on its websites, including but not limited to Pornhub, MindGeek intentionally
 11 intruded upon the solitude or seclusion, private affairs or concerns of plaintiffs.
 12         601. The intrusion was substantial, and of a kind that would be highly
 13 offensive to an ordinarily reasonable person.
 14         602. Plaintiffs have suffered substantial physical, psychological, financial,
 15 and reputational harm, as well as other damages, as the result of MindGeek’s
 16 intrusion into Plaintiffs’ private affairs.
 17         603. Because MindGeek has engaged in conduct of an oppressive,
 18 fraudulent, and malicious nature, Plaintiffs are entitled to punitive damages.
 19                                        COUNT XII
 20                             (Placing Plaintiff In False Light)
 21                           (Against The MindGeek Defendants)
 22         604. Plaintiffs incorporate by reference and reallege each and
 23 every allegation contained above, as though fully set forth herein.
 24         605. By maintaining, streaming, distributing, reuploading, and monetizing
 25 videos and images of non-consensual sexual acts and child pornography of plaintiffs
 26 on its websites, including Pornhub, MindGeek made a public disclosure of a fact
 27 about plaintiffs.
 28
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  1         606. The fact disclosed was false and portrayed Plaintiffs in a false
  2 light. Namely, Plaintiffs were placed before the public in a false light because
  3 viewers and at least some users of the websites, including but not limited to Pornhub,
  4 may have, and likely did, believe that Plaintiffs voluntarily appeared in the videos
  5 and images, willingly engaged in pornography, and made money as “actors” off
  6 of the posting of the videos and images.
  7         607. The false light in which Plaintiffs were placed would be highly
  8 offensive to a reasonable person.
  9         608. MindGeek had knowledge of or acted in reckless disregard of the falsity
 10 of the publicized fact and the false light in which Plaintiffs would be placed.
 11         609. As a result of MindGeek’s wrongdoing, Plaintiffs have suffered
 12 substantial physical, psychological, financial, and reputational harm, as well as other
 13 damages.
 14         610. Because MindGeek has engaged in conduct of an oppressive,
 15 fraudulent, and malicious nature, Plaintiffs are entitled to punitive damages.
 16                                        COUNT XIII
 17              (Common Law Misappropriation Of Name And Likeness)
 18                          (Against The MindGeek Defendants)
 19         611. Plaintiffs incorporate by reference and reallege each and
 20 every allegation contained above, as though fully set forth herein.
 21         612. By maintaining, streaming, distributing, reuploading, and monetizing
 22 videos and images of non-consensual sexual acts and child pornography of Plaintiffs
 23 on their websites, including but not limited to Pornhub, MindGeek appropriated
 24 Plaintiffs’ identities and pictures.
 25         613. The appropriation of Plaintiffs’ identities and pictures was
 26 for MindGeek’s own purposes or benefit, commercially or otherwise. MindGeek
 27 financially benefitted from these videos and images.
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  1         614. Plaintiffs did not consent to this appropriation.
  2         615. Plaintiffs have suffered substantial physical, psychological, financial,
  3 and reputational harm, as well as other damages, as the result
  4 of MindGeek’s appropriation of Plaintiffs’ identities and pictures.
  5                                      COUNT XIV
  6 (Misappropriation Of Name And Likeness In Violation of Cal. Civil Code 3344)
  7                         (Against The MindGeek Defendants)
  8         616. Plaintiffs incorporate by reference and reallege each and
  9 every allegation contained above, as though fully set forth herein.
 10         617. By maintaining, streaming, distributing, reuploading, and monetizing
 11 videos and images of non-consensual sexual acts and child pornography of Plaintiffs
 12 on its websites, including by not limited to Pornhub, MindGeek knowingly
 13 appropriated Plaintiffs’ identities and pictures.
 14         618. The appropriation of Plaintiffs’ identities and pictures was
 15 for MindGeek’s own purposes or benefit, commercially or otherwise. MindGeek
 16 financially benefitted from these videos.
 17         619. Plaintiffs did not consent to this appropriation.
 18         620. Plaintiffs have suffered substantial physical, psychological, financial,
 19 and reputational harm, as well as other damages, as the result of
 20 MindGeek’s appropriation of the Plaintiffs’ identities and pictures.
 21                                       COUNT XV
 22    (Distribution Of Private Sexually Explicit Materials in Violation of California
 23                                  Civil Code § 1708.85)
 24                          (Against The MindGeek Defendants)
 25         621. Plaintiffs incorporate by reference and reallege each and
 26 every allegation contained above, as though fully set forth herein.
 27         622. By maintaining, streaming, distributing, reuploading, and monetizing
 28
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  1 videos and images of sexually explicit conduct, including non-consensual sexual acts
  2 and child pornography, of Plaintiffs on its websites, including but not limited to
  3 Pornhub, MindGeek intentionally distributed videos and images of the Plaintiffs.
  4         623. The distributed material exposed an intimate body part of Plaintiffs
  5 and/or shows Plaintiffs engaged in sexually explicit conduct, including exposure of
  6 an intimate body part, or an act of intercourse or oral copulation.
  7         624. Plaintiffs did not consent to MindGeek’s online and widespread
  8 distribution of the videos and images depicting them.
  9         625. Plaintiffs had a reasonable expectation that the material would remain
 10 private.
 11         626. MindGeek knew that the Plaintiffs had a reasonable expectation that the
 12 material would remain private.
 13         627. Plaintiffs have suffered substantial physical, psychological, financial,
 14 and reputational harm, as well as other damages, as a result of MindGeek’s
 15 intentional distribution of the Plaintiffs’ videos and images.
 16                                      COUNT XVI
 17                                       (Negligence)
 18                         ( Against The MindGeek Defendants)
 19         628. Plaintiffs incorporate by reference and reallege each and
 20 every allegation contained above, as though fully set forth herein.
 21         629. MindGeek had a duty to use ordinary care and to prevent injury to
 22 Plaintiffs.
 23         630. By maintaining, streaming, distributing, reuploading, and monetizing
 24 videos and images of non-consensual sexual acts and child pornography of Plaintiffs
 25 on its websites, failing to take down videos and images upon request but merely
 26 disabling the link, and by reuploading illegal content, among other wrongdoing
 27 detailed herein, MindGeek breached the duty of care to Plaintiffs.
 28
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  1            631. MindGeek’s breach of its duty of care caused harm to Plaintiffs.
  2            632. Plaintiffs have suffered substantial physical, psychological, financial,
  3 and reputational harm, as well as other damages, as the result of MindGeek’s breach
  4 of the duty of ordinary care.
  5
                                            COUNT XVII
  6
                                        (Unjust Enrichment)
  7
                                      (Against All Defendants)
  8
               633. Plaintiffs incorporate by reference and reallege each and
  9
      every allegation contained above, as though fully set forth herein.
 10
               634. MindGeek benefitted financially and profited from videos and images
 11
      depicting Plaintiffs on MindGeek’s websites, including, but not limited to, Pornhub,
 12
      by marketing, selling, and exploiting these videos and images and by permitting
 13
      users to upload these videos and images without the Plaintiffs’ knowledge and
 14
      consent.
 15
               635. Visa benefitted financially and profited from videos and images
 16
      depicting Plaintiffs on MindGeek’s websites, including, but not limited
 17
      to, Pornhub, by receiving transaction fees paid by MindGeek when users used Visa
 18
      credit cards to pay to view this content without the Plaintiffs’ knowledge and
 19
      consent.
 20
               636. By profiting from these videos and images, Defendants have become
 21
      unjustly enriched at the expense of the Plaintiffs in an amount to be determined at
 22
      trial.
 23
                                           COUNT XVIII
 24
                    (Violation Of Cal. Bus. & Prof. Code §§ 17200 and 17500)
 25
                                      (Against All Defendants)
 26
               7.    Plaintiffs incorporate each and every allegation set forth above as if
 27
      fully set forth herein.
 28
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  1          637. Defendants have engaged in unlawful, unfair, and fraudulent business
  2 acts and practices by participating in a venture engaged in trafficking that
  3 intentionally produced, recruited, funded, disseminated, and monetized the
  4 dissemination of CSAM materials, sex abuse, trafficking content, and other non-
  5 consensual content on its site.
  6          638. Defendants fraudulently deceived its users that they were monetizing,
  7 distributing, and advertising legitimate, legal content, when in fact defendants’
  8 websites were riddled with videos of rape, child pornography, sex trafficking, and
  9 other non-consensual content.      Defendants knowingly had inadequate age and
 10 consent verification systems in place that enabled users to upload child pornography
 11 to Defendants’ websites.      This conduct constitutes an unlawful, unfair, and
 12 fraudulent business act and practice.
 13          639. Plaintiffs are entitled to preliminary and permanent injunctive relief
 14 restraining the Defendants from committing further unfair trade practices and
 15 mandating the full disclosure of Defendants’ personal and financial interests in
 16 causing Plaintiffs’ harm.
 17                                       COUNT XIX
 18                                     (Civil Conspiracy)
 19                                 (Against All Defendants)
 20
             640. Plaintiffs incorporate each and every allegation set forth above as if
 21
      fully set forth herein.
 22
             641. As set forth herein, Defendants conspired and acted in concert to
 23
      commit unlawful acts.     Each of the Defendants shared the same conspiratorial
 24
      objective, which was to maintain, stream, reupload, monetize, and distribute CSAM
 25
      and other non-consensual content and/or to benefit financially from such distribution.
 26
             642. Defendants’ conspiratorial scheme was carried out by the commission
 27
      of the wrongful and overt acts set forth above, including, but not limited to:
 28
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  1             (a) recruiting, commissioning, paying for, soliciting content produced
  2                   through human trafficking and slavery;
  3             (b) producing CSAM and nonconsensual sexual content through
  4                   MindGeek owned production companies;
  5             (c) partnering with known traffickers;
  6             (d) advertising MindGeek tubesites prior to playing videos containing
  7                   CSAM or otherwise illegal and trafficked content;
  8             (e) generating substantial advertisement revenue based on CSAM and
  9                   otherwise illegal and trafficked content;
 10             (f) pushing all content posted on any of its tubesites regardless of its
 11                   initial sourcing to its other tubesites which it falsely portrayed as
 12                   posted by a user other than MindGeek;
 13             (g) modifying effective content and duplicating to optimize search
 14                   engine optimization (“SEO”), including to make content appear as
 15                   if it was user made;
 16             (h) creating playlists that target viewers interested in child
 17                   pornography and other illegal content;
 18             (t)    featuring categories on their websites that target users interested in
 19                   child pornography and other sexual abuse, trafficking and
 20                   nonconsensual materials;
 21             (u)    directing users to describe their videos using categories like “teen”
 22                   to drive traffic;
 23             (v) maintaining the webpage and thumbnails for disabled videos so that
 24                   the MindGeek Defendants can continue to generate traffic and
 25                   revenue from that illegal content;
 26             (w) maintaining a search and tagging system—which include tags such
 27                   as   “passed out teen,” and “sleeping pills”—to make it easier for
 28
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  1                    users to find and view videos of child and adult sex abuse, sex
  2                    trafficking, and other non-consensual content;
  3               (x) providing guidance to its global network of sex traffickers on how
  4                    to upload videos of sex trafficking and evade criminal
  5                    liability while complying with MindGeek’s purposefully
  6                    loose restrictions, including by maintaining public list of “banned
  7                    words”—i.e., words to avoid in the title of videos;
  8               (y) providing its global network of sex traffickers VPN services
  9                    to allow them to cover up their unlawful conduct by obscuring the
 10                    sex traffickers’ locations and identities;
 11               (z) pushing all content posted on any of its tubesites regardless of its
 12                    initial sourcing to its other tubesites which it falsely portrayed as
 13                    posted by a user other than MindGeek;
 14               (aa) modifying effective content and duplicating to optimize SEO
 15                    including to make content appear as if it was user made;
 16               (bb) allowing anyone to anonymously upload and download videos on
 17                    its tubesites, so that it would be extremely difficult for victims to
 18                    have their videos permanently removed, thus
 19                    increasing MindGeek’s advertising revenue and profits;
 20               (cc) allowing removed videos to reuploaded to its site; and
 21               (dd) allowing all videos to be downloaded which facilitated the reupload
 22                    by different users with different titles.
 23        643. At all relevant times, Defendants’ conduct was willful and done with
 24 legal malice and knowledge that it was wrongful.
 25        644. As a direct, proximate result of the operation and execution of the
 26 conspiracy, Plaintiffs have been injured and suffered damages in an amount to be
 27 proven at trial.
 28
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  1                                  PRAYER FOR RELIEF
  2         WHEREFORE, plaintiffs demand judgment in their favor and against the
  3 Defendants, jointly and severally:
  4         A.     Awarding plaintiffs compensatory damages in an amount to be
  5 determined at trial;
  6         B.     Awarding plaintiffs restitution for all monies defendants earned
  7 marketing, selling, and exploiting plaintiffs’ videos, pictures, and images;
  8         C.     Awarding plaintiffs punitive damages;
  9         D.     Awarding plaintiff their attorney fees and costs and expenses for
 10 litigating this case;
 11         E.     Awarding plaintiffs treble damages;
 12         F.     Awarding plaintiffs pre-judgment and post-judgment interest;
 13         G.     Awarding plaintiffs injunctive relief;
 14         H.     Granting such other and further relief as this Court deems just and
 15 equitable.
 16                              DEMAND FOR JURY TRIAL
 17         Plaintiffs demand a jury trial for all triable issues of fact.
 18
 19 DATED:       June 17, 2021              Respectfully submitted,
 20                                         BROWN RUDNICK LLP
 21
 22
 23                                         By: /s/ Michael J. Bowe
 24                                             Michael J. Bowe
                                                (pro hac vice application forthcoming)
 25
 26                                               Attorneys for Plaintiffs

 27
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